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               Exhibit M
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                                                                                      September 8, 2020
                                     Submission in Opposition to
                    Request for Extradition of Michael L. and Peter M. Taylor


                                     EXECUTIVE SUMMARY
         Japan has requested that the United States extradite Michael and Peter Taylor (natural born
U.S. citizens and father and son) to be investigated and prosecuted for an alleged violation of Article
103 of the Japanese Penal Code, “Harboring of Criminals,” by allegedly assisting former Nissan CEO,
Carlos Ghosn Bichara, to leave Japan in violation of bail conditions to which he was subject pending
his trial on charges relating to Nissan’s financial filings and disclosures.
         The U.S.-Japan Extradition Treaty expressly provides that the United States is not bound to
extradite its own citizens (Article V), thus the U.S. is under no obligation to do what Japan asks.
There is no good reason for the U.S. to take the extraordinary step of electively extraditing the Taylors.
In fact, for the reasons summarized below and detailed in the Taylors’ submission, the surrounding
facts and circumstances and the Taylors’ personal history make it imperative that the U.S. refuse
Japan’s request—as this case demands that result and the U.S. is legally-entitled to do just that.
        1. The Taylors have not committed an extraditable offense; it is not at all clear that the facts
alleged even constitute an offense under Japanese law.
        Japan’s request is premised upon a novel and unprecedented expansion of Article 103, which
it now argues is articulated by implication and inference in the applications for warrants for the
Taylors’ arrest. Neither Taylor has been formally charged with a violation of Article 103, or any other
offense. Unlike the U.S., current Japanese law does not make it a crime for a defendant to jump bail
or for someone to assist in bail jumping. To get around this, Japan argues the Taylors committed the
offense of “Harboring of Criminals” by assisting Mr. Ghosn to leave Japan and thereby “escape” trial
on the charges against him. This theory of the offense, however, is contrary to the plain language of
Article 103 and the entirety of the history of prosecutions and accumulated case law thereunder. Article
103 previously has only been applied to conduct involving working against law enforcement’s active
pursuit of a criminal to arrest him or someone escaping from jail. But there was no warrant for Mr.
Ghosn’s arrest, no one was looking for him, and he was not in detention.
        Japan’s request here is only even legally permissible under the Treaty if one assumes the
Japanese courts will accept this proposed rewriting of Article 103. In issuing a certification of
extraditability, the U.S. courts declined to interpret Article 103 or the case law under the statute, but
the Secretary of State is not so constrained and can see Japan’s putative crime for what it is: a broad
construction of a criminal statute conceived of by an embarrassed prosecutor attempting to save face
for himself and his country. Further, whether this theory succeeds or not in the Japanese courts, the
Taylors will be punished just the same. They likely will serve as much, if not more, time in prison
awaiting extradition and trial than they will receive as a sentence even if convicted. The U.S. should
not extradite its own citizens so that the Japanese can test a novel legal theory on them which, even if
successful, will result in a relatively minimal punishment likely to be something approximating time
served.
        2. If extradited, Japan would subject to the Taylors to oppressive and punitive practices in
violation U.S. and international standards for the treatment of those charged with a crime.
      As shown by numerous international organizations and commenters, the experience of Mr.
Ghosn and Greg Kelly in the underlying case and even in reports by Japanese lawyers and scholars,
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the Taylors, if extradited to Japan, would face a highly flawed criminal-justice system that lacks many
of the basic protections the Taylors would be afforded in the United States. Japan’s “hostage justice”
system is premised upon a practice of lengthy and coercive interrogation practices that violate
international norms and established human rights conventions. Even if the Treaty obligated the U.S.
to extradite the Taylors (which it does not), the U.S. still could not do so because extraditing the Taylors
would violate the U.S.’s other treaty obligations recognizing basic human rights and protections for
those accused of crimes.
        3. Michael Taylor’s very life is exposed to substantial risk by his continued detention as
result of his unique vulnerability to COVID-19.
        As a result of contracting Valley Fever and having a portion of a lung removed, Michael Taylor
is especially susceptible to complications if he were to contract COVID-19. He would need to be
immediately hospitalized and he would face a significant risk of death. Yet he remains detained in a
Massachusetts jail where he is exposed to a heightened risk of exposure to the novel coronavirus, and
his extradition to Japan would only serve to continue that exposure (if not increase it). Accordingly,
extraditing Mr. Taylor presents a significant risk of imposing a death sentence for a non-crime.
      4. Michael Taylor has a demonstrated history of extraordinary service to the U.S.
government and his fellow citizens.
        Michael Taylor is a decorated veteran, having served in the Special Forces for over a decade.
Since leaving active duty, Mr. Taylor has responded to requests for assistance from various U.S. law
enforcement and intelligence agencies in their battles against narcotics trafficking, money laundering,
and terrorism. Mr. Taylor also has located and returned Americans abducted and taken abroad,
including children and journalists. At home, Mr. Taylor has been a mentor to hundreds of young
people as a football coach and community resource. He is a credit to the United States and someone
deserving of its protection, not someone who should be sent abroad to satisfy a foreign prosecutor’s
ego-driven desire for vengeance.
        5. Another country (Lebanon) already has determined the Taylors did not commit a crime.
        Prosecutors in Lebanon investigated the events and determined no crime had been committed.
This is yet another basis on which the Treaty (Article IV, § 2) permits the U.S. to refuse extradition.
        6. Japan has freely exercised its right not to extradite its own nationals to the U.S. in cases
involving far more serious crimes, and has actually subverted the Treaty by luring Americans to
Japan under false pretenses so that it can prosecute them.
        Japan’s request is utterly inconsistent with its repeated denial of U.S. requests for the
extradition of Japanese nationals accused of far greater wrongdoing, including three executives of the
Takata Corporation indicted in 2016 for their involvement in a $1 billion wire fraud scheme relating
to defective air bags that killed at least 24 people and injured 300 more. Further, the U.S. should not
countenance Japan’s hubris in invoking the Treaty to request the Taylors extradition where it worked
around the treaty to deceive Greg Kelly (another former Nissan executive) to leave his home in
Tennessee so that it could arrest him and charge him with involvement in Mr. Ghosn’s alleged crimes.
                                                 *****
       The Taylors harmed no one, and simply do not deserve the way they are being treated or the
fate awaiting them at the hands of the Japanese legal system if they were extradited. It is, therefore,
reasonable and proper (in fact, imperative) that the State Department deny Japan’s request and protect
the Taylors from this unfair extradition. Under the Treaty, the U.S. is simply not obligated to extradite
the Taylors and there is no compelling reason for the U.S. to do so.

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                                                September 8, 2020

VIA ELECTRONIC MAIL (Extradition@state.gov)

The Honorable Mike Pompeo
Secretary of State
U.S. Department of State
2201 C St. N.W.
Washington, DC, 20520

          Re:     Japan’s Requested Extradition of Michael and Peter Taylor

Dear Secretary Pompeo:

         We write to you on behalf of Michael and Peter Taylor—two natural-born U.S. citizens and father
and son—respectfully requesting that you not assent to the Government of Japan’s request that the Taylors
be extradited from their home in Massachusetts so that Japan can prosecute them for a purported criminal
offense under Japanese law that has never before been applied in this context and that appears foreclosed
by the language of the statute. The U.S.-Japan Extradition Treaty expressly provides that the United States
is not bound to extradite its own citizens,1 thus the U.S. is under no obligation to do what Japan asks. As
set forth more fully below, Japan frequently flaunts requests from the US, particularly in antitrust, serious
economic crimes, and even in cases where the conduct of Japanese corporations or executives resulted in
American deaths. There is no good reason for the U.S. to take the extraordinary step of electively
extraditing the Taylors in light of the facts and circumstances of this specific case and their personal
backgrounds. Indeed, even if a conviction in Japan could be obtained, unless the Taylors were treated
differently than others, it would result in a minimal sentence quite likely to involve less jail time than the
Taylors already have spent awaiting extradition in the U.S. and would spend detained awaiting and during
trial in Japan.

        The novel nature of the alleged offense and the unusually low (for an extradition request) potential
punishment (three years maximum, but most often far less for first offenders) here at issue are explained
by the Government of Japan’s desire to save face, or at least to be perceived to be doing something to
address the embarrassment from the departure of former Nissan CEO Carlos Ghosn Bichara (“Ghosn”)
from Japan while released on bail. Ghosn was awaiting trial in a controversial, politically tinged, and
internationally maligned prosecution of both himself and Greg Kelly, another former Nissan executive (and
an American), for alleged financial crimes relating to Ghosn’s compensation at Nissan. In December 2019,
the Taylors are alleged to have assisted Ghosn in departing from Japan via private jet in violation of

1
  Treaty on Extradition Between the United States of America and Japan, Mar. 3, 1978, 31 U.S.T. 892, T.I.A.S. No. 9625
(“Treaty”), at Article V.
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Ghosn’s Japanese pre-trial bail conditions. In the wake of Ghosn’s much-publicized departure from Japan,
there has been a great push in Japan to adopt laws that would now make bail jumping a crime. But at the
time (and to this day), it was not a crime under Japanese law to jump bail or to assist another in doing so.
The Taylors may well have been accomplices to Ghosn’s violation of certain Japanese immigration statutes,
but any such offense is a mere misdemeanor under Japanese law and thus not an extraditable offense under
the applicable Treaty. The Taylors committed no felony offense, and hence, cannot be legally extradited.

        As many commentators have observed, the Government of Japan was embarrassed with what
Ghosn’s departure revealed about its legal system and the ease with which Ghosn was able to leave the
country. Unable to obtain Ghosn’s return from Lebanon and unable to bring charges against his wife or
family members who also participated in his departure, Japan has attempted to save face by seeking the
Taylors’ extradition on a novel and wholly unprecedented theory that the Taylors committed a felony
violation of Article 103 of the Japanese Penal Code, which prohibits the “Harboring of Criminals.” Many
have agreed that Japan’s relentless pursuit is a public relations effort premised upon an extraordinarily
tenuous interpretation of its criminal laws designed not so much as to achieve a conviction, but to inflict
punishment on those who helped Ghosn by disrupting their lives and subjecting them to the process of
extradition to and interrogation and prosecution in Japan.

        The U.S. courts, citing to their limited role in the extradition process, have simply deferred to
Japan’s expansive new interpretation of its own law and have certified the Taylors’ extraditability without
considering the Japanese statutory language for themselves—deference that the extradition court stated
explicitly it was doing. In that undue deference, U.S. courts have reduced their role to being mere rubber
stamps for what a far from objective Japanese prosecutor has announced the law there to be. There is not
much point in asking a U.S. court whether probable cause exists if it is going to defer completely to the
very government seeking extradition on the question of whether probable cause exists. Nevertheless, the
U.S. courts have not held that the United States is powerless to prevent an unjust prosecution. Instead, they
have simply stepped aside so that the U.S. State Department is functionally the only protector of U.S.
citizens under the applicable Treaty.

        The standard, minimal potential punishment and the highly novel nature of Japan’s theory of the
offense make this a case for which extradition should not be legally permissible. But even if it were, the
U.S.-Japan Extradition Treaty makes clear that neither country is obligated to extradite its own citizens
even if the Treaty permits it,2 a privilege Japan has not hesitated to exercise in refusing U.S. requests for
the extradition of Japanese nationals charged with far more serious crimes involving far more serious harm
(including loss of life). Japan has done nothing to warrant the U.S. assenting to a dubious extradition
request to permit a tenuous and pointless prosecution of American citizens that would achieve little beyond
political face-saving for the Japanese government. Indeed, in the underlying prosecution of Messrs. Ghosn
and Kelly, Japan affirmatively worked around the Treaty by not requesting extradition in a straightforward
fashion, but instead enlisting rival Nissan officials to lure Mr. Kelly deceitfully from his home in Tennessee
to Japan under false pretenses so that it could arrest and prosecute him.


2
    Treaty, Article V.
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        All of the above makes this a case in which the United States has no good reason to surrender its
own citizens to another country for criminal prosecution. But the Taylors are not just any U.S. citizens.
Michael Taylor is a true American hero—a U.S. Army Special Forces, Green Beret veteran whose service
to his country and others did not end with his retirement from active duty, but became the defining attribute
of his life. His empathy and commitment to service is reflected throughout the course of his life, from
providing security and protection services to government officials and private companies in the U.S. and
abroad, to risking his business interests and even his life to rescue children and others kidnapped or held
hostage overseas, to acting as a source and operative for numerous law enforcement and intelligence
operations, to serving as a football coach and mentor to countless teen boys from all manner of
backgrounds. Peter Taylor is a 27-year-old young man with no criminal history simply trying to make his
way in the world and to find a way to impact the lives of others in the way his father has. Yet, at Japan’s
instance, they both sit in a Massachusetts jail, unable to live their lives and subject to heightened risk of
exposure to the COVID-19 virus, a risk that is very much a matter of life and death for Michael Taylor
given his medical history. Accordingly, handing the Taylors over to the Japanese to use and abuse for their
own purposes would amount to a national tragedy.

       As detailed herein, the Taylors should not be extradited to Japan because:
       1.      They have not committed an offense under Japanese law for which extradition is authorized
               under the U.S.-Japan Extradition Treaty;
       2.      If extradited to Japan, the Taylors (who would not be given bail or the right to return to the
               U.S. during proceedings) are likely to be treated in a way that violates fundamental notions
               of due process: the right to a speedy trial, the right not to be subjected to lengthy and
               coercive interrogation in the absence of counsel, protection against cruel and unusual
               punishment, the presumption of innocence, the right against self-incrimination, and other
               rights we cherish and that the U.S. and the rest of the civilized world have recognized
               through various international treaties and human rights conventions;
       3.      Continued detention and extradition to be detained in Japan would present a substantial risk
               to the life of Michael Taylor, who is especially susceptible to complications (including
               certain hospitalization and high risk of death) if he were to contract COVID-19;
       4.      Michael Taylor’s history of service to this country and others, including placing himself and
               his business at risk to assist U.S. intelligence-gathering and law enforcement efforts and to
               rescue children and others held against their will overseas by kidnappers and terrorists, make
               him and his son people the United States should protect, not sacrifice to the face-saving zeal
               of foreign prosecutors;
       5.      Prosecutors in Lebanon have already concluded the Taylors did not violate Japanese law
               and the Taylor should not have to undergo another proceeding; and
       6.      Japan does not have clean hands here. Japan’s request (advanced by the very same
               prosecutor pursuing Messrs. Ghosn and Kelly) is utterly inconsistent with Japan’s repeated
               denial of U.S. requests for the extradition of Japanese nationals accused of far greater
               wrongdoing and its own deception of Mr. Kelly in lieu of requesting his extradition.
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       Accordingly, we respectfully request that you refuse to issue a warrant for the surrender of either
of the Taylors to Japan and direct their immediate release from the Massachusetts local jail where they
already have been held for more than three months.

                                 I.      LEGAL AUTHORITY AND FRAMEWORK

        Under the Treaty and 18 U.S.C. § 3186, you have the ultimate and absolute authority to decide
whether to extradite the Taylors, since they both are U.S. citizens.3 Article V of the Treaty expressly
provides that the U.S. “shall not be bound to extradite its own nationals,” though it may do so in its
discretion.

         U.S. law vests the sole power to make this determination in the Secretary of State. While a judicial
officer (here, U.S. Magistrate Judge Donald Cabell) conducts an initial extradition proceeding under 18
U.S.C. § 3184, that inquiry is ordinarily limited to a narrow set of issues concerning the existence of a
treaty, the offense charged, and the quantum of evidence offered. As noted below, Judge Cabell took the
most minimalist approach possible. “The larger assessment of extradition and its consequences is
committed to the Secretary of State.”4 As such, the Secretary of State has the authority to review the
judicial officer’s findings and conclusions de novo, to reject the judicial officer’s certification of
extraditability as erroneous, and/or to decline to extradite the Taylors for any reason whatsoever, including
but not limited to any number of humanitarian and foreign policy considerations.5 “Extradition ultimately
remains an Executive function. After the courts have completed their limited inquiry, the Secretary of State
conducts an independent review of the case to determine whether to issue a warrant of surrender. The
Secretary exercises broad discretion and may properly consider myriad factors affecting both the individual
defendant as well as foreign relations which an extradition magistrate may not.”6

                                           II.      FACTUAL BACKGROUND

A.         Michael Taylor

        Michael Taylor’s record demonstrates a lifetime of devotion to his country and service, whether as
a soldier, private businessman, coach, or in aiding U.S. law enforcement and intelligence agencies.

           1.       Personal Life

       Michael has been married to his wife, Lamia, for more than 30 years and has three sons, all college
graduates. He has lived in the same house in Harvard, Massachusetts since 1991. He cares for his adoptive
3
  See, e.g., United States v. Kin-Hong, 110 F.3d 103, 109 (1st Cir. 1997) (“It is … within the Secretary of State’s sole discretion
to determine whether or not the relator should actually be extradited.”); Escobedo v. United States, 623 F.2d 1098, 1105 (5th
Cir. 1980) (“The ultimate decision to extradite is a matter within the exclusive prerogative of the Executive in the exercise of its
powers to conduct foreign affairs.”).
4
    Kin-Hong, 110 F.3d at 110.
5
    Id. at 109; see also Mironescu v. Costner, 480 F.3d 664, 666 (4th Cir. 2007).
6
    Martin v. Warden, Atlanta Pen, 993 F.2d 824, 829 (11th Cir. 1993).
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stepfather, a disabled Veteran, who suffers from limited mobility, diabetes and Parkinson’s disease.
Michael also coaches youth and high school football and is a highly regarded and well-known mentor to
young men—many of whom come from dysfunctional or broken homes—in his neighborhood and
community.

       2.      Military Service

        Immediately upon graduating high school, Michael decided to follow in his adoptive stepfather’s
footsteps and enlisted in the United States Army rather than attend college. At the time of his original
enlistment, he was the distinguished honor graduate of basic and advanced training. After basic and
advanced training, Michael participated in an experiment the U.S Special Forces command was conducting,
which allowed new members in the Army to try out for the Special Forces. Historically, any person trying
out to be a member of Special Forces had to have served at least one tour of duty, which was four years of
service, and be a sergeant. Michael was one of the few men to complete the selection course at the John
F. Kennedy U.S Institute of Military Assistance, Special Forces School. After successfully completing this
school, he was assigned to the 10th Special Forces Group at Fort Devens, Massachusetts.

        From 1979 to 1983, Michael served on active duty as part of a High Altitude-Low Opening
(“HALO”) Team. HALO is a technique of parachuting from an aircraft at 30,000 to 40,000 feet by first
free-falling for an extended period of time and waiting to open the parachute until at a low altitude, just
about 2,000 feet. While serving in the Special Forces, he was always on-call for worldwide deployment.
Some of his responsibilities included Special Atomic Demolition Munition (“SADM”) missions. SADMs,
sometimes referred to as “suitcase nukes,” were man-portable nuclear weapons fielded by the United States
during the Cold War. They were a crucial part of the government’s strategic plan in the event of a Soviet
invasion of Western Europe. Public sources report the SADM team was trained and prepared to parachute
into the Fulda Gap (a lowland area between the former East German border and Frankfurt considered to be
an obvious route for a Soviet ground assault on Germany) where they would use the SADMs to destroy,
irradiate, and/or otherwise compromise key routes, power plants, bridges, dams, and so forth and then
quickly exfiltrate. Michael was one of the elite Special Forces personnel entrusted with this critical and (at
the time) highly secretive work and he held a Top Secret security clearance.

        Michael’s other principal service while on active duty related to the Middle East. After the
assassination of the Lebanese president-elect in September 1982 and the Israeli invasion of Lebanon, he
was selected among his Special Forces peers to be on the first Special Forces team deployed into Beirut,
Lebanon. This assignment consisted of numerous combat operations in conjunction with the Lebanese
Forces whom they trained, assisted, and advised in combat operations. It was through this work that
Michael began what would become a lifelong relationship with the Lebanese Christian community.

       In November 1983, Michael left active duty, receiving an honorable discharge at the rank of E-6.
He served as a reservist for approximately ten years. He was activated in 1991 during the first Gulf War,
but was unable to deploy due to the request of the Department of Justice as he was at the time working as
an undercover operative in the midst of a four-year major international drug trafficking investigation.
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       Michael’s military service remains the professional accomplishment of which he is proudest. It has
been the defining experience of his life and he has never failed to answer the call from his country. His
wife, Lamia, recalls that in 1991, when he received the telegram recalling him to active duty to serve in the
Gulf War, he simply put it down on the kitchen table without hesitation, kissed their then 20- and nine-
month old sons, and started packing his military gear to deploy.

           3.       Civilian Career

       After briefly working as an investigator with the office of the Massachusetts Attorney General,
Michael returned to Lebanon as a private contractor providing military training to Lebanese Christian
forces. Through this work and his previous time in Lebanon on active duty, he established contacts
throughout Lebanon and the Middle East with a variety of individuals from all manner of backgrounds.
He learned to speak Arabic, and it was during this period that he continued his courtship of his future wife,
Lamia. The Taylors were married in 1985.

        After the conclusion of Michael’s work in Lebanon, the Taylors returned home to Massachusetts
in 1985. Putting his military and contracting experience to use, Michael worked for various American
security companies providing personal security and other services. In 1988, he and a partner established
North America Security Consultants, Inc.

        In September 1994, however, Michael struck out on his own and started American International
Security Corporation (“AISC”). From 1994 through 2011, he grew AISC into a successful business serving
both private sector and governmental customers. AISC offered security consulting and protection services,
both domestically and internationally (including in Iraq and Afghanistan).

        AISC’s wide range of clients included everything from large international concerns such as airlines,
oil companies, and media companies with security needs around the world to local institutions or events
like hospitals and the circus. In addition, AISC performed a variety of security, training, and maintenance
work for the U.S. Government as a subcontractor on various projects. Such work included projects in
support of the military’s efforts in Iraq, specifically (1) providing property bookkeeping and weapons
maintenance services and training Iraqi nationals under a subcontract on a $20 million BPA for Iraqi
Protection Details; (2) serving as a subcontractor providing security logistics and weapons support on a $6
million security contract for the U.S. Department of Justice - Iraqi Special Tribunal & Mass Grave
Exhumation conducted by the Regimes Crime Liaison Office; and (3) establishing an armory and
performing contractor-furnished equipment property control as a subcontractor on an $11 million security
program for the NATO Military Training Academy Headquarters in Iraq.

        AISC consistently provided high quality work for its customers. For example, Robert L. Rubin,
the former Senior Vice President of a large security company, provides an account of how he came to know
and respect Mr. Taylor professionally based upon his first-hand experience with Michael’s work.7 As Mr.
Rubin recounts, he engaged AISC to represent the interests of his former employer (a large security

7
    Ex. 21 (Robert L. Rubin Letter).
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contractor for the U.S. Government) on several projects in the Middle East and, “[i]n one particular
instance, we were engaged by armed criminals who sought to take us hostage. In that instance, Mr. Taylor
was smart, decisive and thoughtful in his direction of the team that caused a very dangerous situation to
end safely without any loss of life.”8 “In yet another situation, Mr. Taylor tireless[ly] advocated for the
fair treatment of one of my host country nationals employees who had been injured in our service,
eventually bringing that individual to the United States for treatment.”9

        Michael, on his own and through AISC, has provided a wide-range of assistance to various U.S.
law enforcement and intelligence efforts. During 1988 through 1991, he worked in the primary undercover
role assisting a multi-agency investigation into an international money laundering and hashish trafficking
conspiracy. Using his contacts in Lebanon and his Arabic language abilities, Michael was able to make
contact and develop relationships with some of the conspirators and filmed footage of the Syrian-controlled
drug fields where the hashish was produced. He provided detailed information to the government regarding
the traffickers and their plans. In September 1991, the investigation culminated with the seizure of more
than 6,000 pounds of hashish (with a street value in excess of $100 million) destined for distribution by a
Montreal-based crime syndicate. Seven individuals were indicted for racketeering, conspiracy, and other
crimes.10 FBI Agent Thomas Daly (Ret.), who was the lead agent on the New England Organized Crime
Drug Enforcement Task Force in the early 1990s, has provided a letter describing Michael’s role in this
matter.11 He concludes that the operation would not “have been possible without the determined and
courageous efforts of Michael Taylor. He spent hundreds of hours over several years acting in an
undercover capacity, at substantial risk to himself. He should be recognized and credited for these
efforts.”12

        In 1992, Michael assisted the Customs Service and Secret Service in connection with the
investigation of a supernote13 scheme in which individuals in Iran and Lebanon appeared to be involved.
Upon the government’s request, he traveled to Beirut and found out where and how the supernotes were
being manufactured. According to sources Michael was able to identify and cultivate, the bills were being
created by a group of Iranians who had worked for the Shah prior to the Iranian Revolution in 1979 utilizing
information and materials they had obtained from the United States prior to the fall of the Shah. He
arranged for an inside source to agree to travel to London to meet with investigators and accompanied him
to the meeting.14


8
    Id.
9
    Id. (emphasis in original).
10
     See United States v. Peter Kattar, No. 1:91-cr-10247-DPW (D. Mass.).
11
     Ex. 22 (Letter from T. Daly).
12
     Id.
13
     Supernotes are very high quality counterfeit U.S. hundred-dollar bills.
14
  See Christopher Drew and Stephen Engelberg, New York Times, Super-Counterfeit $100's Baffle U.S. (Feb. 27, 1996),
available at: https://nyti.ms/31OdKVy.
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        In 2012, Michael was the key player and critical link in one of the most important DEA operations
in history. Group Supervisor Agent Ric Bachour,15 a DEA agent based in Miami (but at the time working
in Bogota, Columbia) had received a call from a source highly connected in the Middle East, who had been
contacted by Hezbollah for help moving $3 billion in gold bars from Egypt to Hezbollah in Lebanon. Over
the course of several months, Michael was able to work his way up the proverbial “food chain” and met
with the top three targets in Cairo, Egypt. The ultimate plan was to have the gold bars turned over to him
or to any other contact he could arrange, ostensibly to move them out of Egypt by water, at which point he
and the DEA would move them to the United States instead, a “clean rip” as Agent Bachour described it.
In the process, opportunities emerged for Michael to infiltrate other DEA targets, at levels the DEA had
been trying, according to Agent Bachour, to “plug into” for years without success. Specifically, Michael
turned up two high-value targets on the terrorist watch list who he was aware were FBI targets and he met
directly with those targets. However, as a result of the Obama Justice Department’s arrest and detention
of Michael in the fall of 2012,16 despite repeated pleas by the DEA to allow him to complete the operation
or find a suitable replacement, the DEA was forced to shut down the operation and approximately $3 billion
in gold presumably was received by a terrorist organization instead of being intercepted by the DEA.

        In 2016, the government again requested Michael’s assistance in connection with international
investigative efforts of a sensitive nature. Because it was anticipated that the Government would ask him
to travel internationally in connection with these efforts, the government conferred with the Probation
Office in the District of Massachusetts. On November 3, 2016, based upon a sealed, unopposed motion,
the Court granted Michael permission to travel internationally and terminated his period of supervised
release early.

        In 2017, Michael received a call from a man he had met while in Egypt working on the potential
gold “rip” with the DEA. The man told him about some people he knew that had swindled millions of
dollars from American and European banks. The scheme involved individuals in Italy, Jordan, and Russia,
and an insider at Visa. Having had previous contact with the Department of Treasury regarding a dual
citizen of the U.S. and a Middle Eastern company evading tens of millions of dollars in taxes, Michael
contacted the same agents and informed them of what the man in Egypt had reported to him. Department

15
  Agent Bachour has been with the DEA for over 17 years. Prior to that, he was a Revere, Massachusetts police officer and
Massachusetts State Trooper. He is also a Marine Reservist who served on active duty and was seriously wounded in the Battle
of Fallujuh. As the Group Supervisor for Group 44 in Miami, he was responsible for complex international money-laundering
investigations.
16
   The Utah charges against Mr. Taylor resulted from an investigation by the U.S. Attorney’s Office in the District of Utah of
the 2007 procurement of a contract for the training of Afghan soldiers awarded to AISC and subsequent attempts by an
overzealous and corrupt former FBI agent to interfere with that investigation in the hopes of currying favor with Mr. Taylor and
potential employment upon his anticipated retirement. The judge assigned to the case (who had previously made improper
donations to the Obama campaign and misrepresented her occupation in doing so) initially recused herself based upon her
husband’s law firm’s involvement in the case, but later (and in violation of the court’s local rules regarding case assignment)
reassigned the case to herself after her husband’s law firm abruptly withdrew. The judge then insisted on detaining Mr. Taylor
while repeatedly continuing the trials over his objections. After 14 months in a Utah jail, prosecutors desperate to end the
floundering case made Mr. Taylor an offer too good to refuse: if he would plead to just something, anything, they would release
him immediately to join his family for Thanksgiving, return $2 million seized from AISC, impose no fines, and recommend a
sentence of time served. Mr. Taylor agreed.
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of Treasury agents got DHS and ICE involved with the case and worked it jointly. After several meetings,
the government asked Michael to travel to Jordan and meet with the mastermind of this corrupt operation.
He traveled to Jordan, and while working with the internal security of Jordan, IRS and ICE, Michael had
several undercover meetings. Michael ultimately was able to convince some of the conspirators to travel
to the U.S. and conduct the fraud here. They were arrested, successfully prosecuted and sent to prison.

           4.       Michael’s Long History of Repatriating Americans

        Throughout his career, Michael has located and returned to the U.S. Americans abducted and taken
abroad. He has been especially instrumental in locating children taken to the Middle East by parents
without custody rights and safely returning them to their homes in the U.S. In one instance, Michael and
AISC assisted in the safe return of a young girl whose father abducted her to Lebanon in 1993, an operation
that finally ended successfully four and a half years later in 1997. In many of these cases, he went beyond
the required scope of work and arranged meetings for the mothers involved with others who have gone
through similar situations, to help them deal with their grief.

        One of these parents, Anaiss Sebastian, recounts that when her son was illegally taken to Beirut
during the Syrian occupation, the U.S. and foreign governments were unable to help her.17 She explains
that when faced with no other options, Michael stepped up, “saved my son and returned him to me.”18 Ms.
Sebastian emphasizes that Michael did this work even though he didn’t know her, wasn’t expecting to
profit off of his work, and had no plans to publicize it.19

       In another example, in 2009, Michael planned, coordinated, and executed the rescue of New York
Times journalist, David Rohde, from a Taliban stronghold in Pakistan.

           5.       Community and Kids

        Michael’s generosity and eagerness to help others extends even further. Over his numerous years
coaching youth and high school football, one parent explains that Michael “has taught many young men
the fundamental skills of football; but, more importantly he has taught them respect, dedication and
teamwork…. I know this firsthand because my son was lucky enough to have Mike as his coach for several
years.”20 In addition to coaching football, he has served as a mentor to the young men in his neighborhood
and community.21 Michael has assisted these youths “in all aspects of their lives – academics, social, and
emotional.”22 He has coached those in his community “not just on the field but also about life – being a
man, handling responsibilities and being an upstanding citizen…. [N]ot only with words, but by walking

17
     Ex. 23 (Letter from Anaiss Sebastian).
18
     Id.
19
     Id.
20
     See Ex. 24 (Letter from K. Wallace).
21
     See, e.g., Ex. 25 (Letter from H. Horne).
22
     Id.
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his talk and demonstrating positive living through the concept of community based philanthropy.”23 One
parent reports that “[o]ne of my sons even wrote about life lessons learned from Michael for his college
essay, that ‘anything is possible if you work hard for your goals and believe in yourself.’”24

        Many of the youths Michael has coached and/or mentored have been “from dysfunctional families
or broken homes struggling to make ends meet.”25 He “guided and encouraged many young lads who
otherwise would have gone astray.”26 He has had such a positive impact on these young men that “many
of these kids continue to stop by and visit with Michael and Lamia, sharing their successes and seeking
continued guidance.”27

        Michael assisted many of these young people in obtaining scholarships so they could pursue a
higher education and strive to continue improving themselves, and in some cases he even paid for their
tuition himself.28 Michael is known “for helping student [athletes] get in to colleges and get a free
education by playing football.”29 In one year alone, one parent explains that “out of the 15 football players
in my son’s graduating class of 60 students, 9 of those boys went on to a NCAA Division I or an Ivy League
school to play a sport with either a full or partial scholarship” thanks in no small part to Michael’s tutelage.30
Moreover, Michael “used his personal resources to provide equipment and meals for players in need of
financial support,” even as a volunteer coach for a high school team seeking a suitable replacement for the
previous coach’s sudden departure.31

        It is not only football players that Michael has mentored; he helped student-athletes from other
sports, particularly those “who were not as privileged as some of our other students.”32 He even paid the
tuition of a female student athlete—anonymously—when he found out her father had become unemployed
and that she might be unable to return to school as a result.33




23
     See Ex. 26 (Letter from F. Ricci).
24
     See Ex. 27 (Letter from E. Sweeney).
25
     See id.; see also Ex. 28 (Letter from D. Dolan); Ex. 29 (Letter from A. Knight); Ex. 30 (Letter from J. Lark).
26
     Ex. 28 (Letter from D. Dolan).
27
     Ex. 27 (Letter from E. Sweeney).
28
  Ex. 26 (Letter from F. Ricci); Ex. 29 (Letter from A. Knight); Ex. 30 (Letter from J. Lark); Ex. 32 (Letter from D. Parker);
Ex. 33 (Letter from S. Sweeney).
29
     Ex. 30 (Letter from J. Lark).
30
     Ex. 26 (Letter from F. Ricci).
31
     See Ex. 34 (Letter from P. Giovacchini).
32
     Ex. 31 (Letter from J. Flannery); Ex. 34 (Letter from P. Giovacchini).
33
     Ex. 31 (Letter from J. Flannery).
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        Michael consistently goes above and beyond for those in his community, as well as those brought
into his community.34 Although Mr. Knight reports that he “was on a one-way train heading to disaster”
and “becoming more self-destructive by the day,” Michael took a chance on him and helped him receive a
high school scholarship and counseling. He even assisted Mr. Knight in finding a new school after he was
expelled from his prep school.35 Mr. Knight credits Michael with helping him towards the college degree
he is about to receive and says that he will “be a productive citizen in my country because of Coach Taylor.
Though I no longer need his help like I used to, he never [ceases] to amaze me…. He’ll never give up on
us.”36

B.             Peter Taylor

        Peter Taylor is 27 years old and a lifelong resident of Massachusetts. He is a 2011 graduate of the
Lawrence Academy, where he played football and basketball. After high school, Peter enrolled at Bentley
University, majoring in economics and finance. When his family had financial issues, it was not possible
for Peter to continue his studies at Bentley. He enrolled at the Lebanese-American University in Byblos,
Lebanon, where his family had a modest condominium nearby. Peter commuted to the university and
studied banking and finance; he graduated with a bachelor’s degree in 2015.

        For the past several years, Peter has intermittently resided in Lebanon with his brother. Peter, who
has no criminal history whatsoever, considers Massachusetts his home and plans to settle and reside there.
He occasionally travelled back to Lebanon to visit with family, classmates and friends, and to start a new
business. In or about January 2019, Peter started a digital marketing business. He has spent the majority
of the past 15 months residing with his older brother in Lebanon and building his business and assisting
with his father’s vitamin water business. Peter’s goal has been to return to Massachusetts full-time once
his business is more fully established.

C.             Japan’s Prosecution of Former Nissan CEO Carlos Ghosn Bichara

       Questionable motivations, oppressive tactics, and political agendas marked the investigation and
prosecution of Ghosn from the outset. Ghosn has long been the subject of ire from the Japanese
government. He came to Nissan from Renault, where he was an executive, in the early 2000s, when Renault
purchased a sizable stake in Nissan while that company was distressed.37 Within six years, Nissan went
from the verge of calamity to being the second largest automobile manufacturer in Japan.38 Despite this



34
     Ex. 29 (Letter from A. Knight).
35
     See id.
36
     Id.
37
   Amy Chozick and Motoko Rich, New York Times, The Rise and Fall of Carlos Ghosn (Dec. 30, 2018), available at
https://nyti.ms/2GiOTkF.
38
     Id.
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success, “[a]lmost from the moment Renault salvaged Nissan in exchange for the controlling stake, the
French company’s power bred resentment inside [Nissan and Japan].”39

         The discontent of the Government of Japan and like-minded employees at Nissan with a French
company controlling so prominent a Japanese manufacturer combined to cause Ghosn’s downfall. In 2015,
the French government decided to increase its share in Renault and double its voting rights. This led to
increased bitterness from Nissan and Japanese officials. Various Nissan executives began colluding with
the Japanese government to oppose Ghosn and his plans to strengthen the relationship between Nissan and
Renault further.40 As one journalist put it following a lengthy investigation into the plot, “[a]larmed by
Ghosn’s pledge in early 2018 to make the alliance between the companies irreversible, senior managers at
the Japanese automaker discussed their concern at how the chairman of both Nissan and Renault was taking
steps toward further convergence,” which resulted in internal campaign to remove Ghosn “‘before it’s too
late.’”41 Coincidentally, the Japanese National Diet passed an amendment to the Code of Criminal
Procedure to introduce a new plea bargaining framework, which became effective on June 1, 2018.42
People inside Nissan went to, and worked with, prosecutors who were also eager to use such new plea
bargaining framework, to “cooperate” with prosecutors by providing statements supporting Ghosn’s
wrongdoings (so-called “confession statements”), emails, and other internal documents, and to set the
prosecution into motion while securing non-indictment bargains for themselves, which appear to be just
the second deal prosecutors agreed to since the enactment of the new plea bargaining framework.43 Ghosn
was eventually arrested and charged in late 2018 with causing Nissan to file false financial reports by
understating his income.

        The Japanese initially arrested Ghosn in November 2018, but repeatedly rearrested him on slightly
different charges so as to prolong his detention. Japan did not release Ghosn on bail until April 25, 2019.
During his five-month detention, Ghosn was kept in solitary confinement in a tiny cell while being allowed
outside for only 30 minutes a day, only on weekdays. Lights were left on around-the-clock. Ghosn was
“interrogated day and night,” sometimes for up to eight hours at a time and continuing through weekends,




39
   Reed Stevenson, Bloomberg, How a Powerful Nissan Insider Tore Apart Carlos Ghosn’s Legacy (Aug. 27, 2020), available
at https://bloom.bg/2QzpZiC.
40
   Reed Stevenson, Bloomberg, Nissan Email Trail Casts New Light on Carlos Ghosn Takedown (June 14, 2020), available at
https://bloom.bg/3gV9RCU.
41
     Id.
42
   Nikkei Asian Review, Ghosn's Ex-Close Aides Escape Indictment Through Plea Bargain (May 10, 2019), available at
https://s nikkei.com/2F6BoUX.
43
     Id.
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Thanksgiving and Christmas—all without a lawyer present.44 As Ghosn observed, “It’s not very difficult
to come to the conclusion that you’re going to die in Japan or you have to get out.”45

        Ghosn’s treatment, and the questionable nature of the charges against him, produced widespread
international criticism of Japan’s prosecution and its justice system in general.46 There was no precedent
for Japan charging someone criminally for alleged false reporting of executive compensation in company
filings and, as Messrs. Ghosn and Kelly have noted in their defense, Ghosn never actually received the
compensation that allegedly was not reported. Even the Japanese Prime Minister Shinzo Abe has been
quoted as suggesting that this matter should have been handled internally at Nissan, not with a criminal
prosecution.47

D.             History of Legal Proceedings Against the Taylors

        Following Ghosn’s departure from Japan and international press reports as early as January 3, 2020
identifying the Taylors as having been involved, Japanese law enforcement authorities commenced an
investigation. The investigative efforts were memorialized in a series of reports, all of which begin by
describing the investigation “of suspected violations of the Immigration Control and Refugee Recognition
Act by suspect Carlos Ghosn Bichara….”48 (None of these reports, or any other investigative documents,
make any reference to Article 103 or the harboring of criminals until June 2020—after extradition
proceedings already had begun.)

       Japan issued warrants for the Taylors’ arrests on January 30, 2020, and renewed the warrants on
February 28, 2020.49 The February warrants were valid only for six months, and expired more than a week
ago, on August 28, 2020.50 To our knowledge, Japan has not obtained a further renewal, as is specifically
required under the Treaty.51 The arrest warrants themselves do not identify any specific crimes for which
the Taylors’ arrest is sought; instead, they simply reference the Requests for Arrest Warrant submitted by
the Japanese prosecutor (notably the same prosecutor pursuing Messrs. Ghosn and Kelly). Those requests

44
  Simon Denyer, Liz Sly and, Asser Khattab, The Washington Post, Carlos Ghosn Complains of ‘Corrupt,’ ‘Inhumane’ Justice
System in Japan in First Public Appearance Since Escape (Jan. 8, 2020), available at https://wapo.st/2QY3fZy; Yuri Kageyama,
Associated Press, Ghosn Faced 7 Hours a Day of Questioning in Japan: Lawyer (Jan. 12, 2020), available at
https://fxn.ws/3jE6jXk.
45
     Denyer, et al., supra n.10.
46
  See, e.g., Kyodo News, Macron Repeatedly Told Abe he Saw Ghosn’s Treatment as Unsatisfactory (Jan. 16, 2020), available
at https://bit.ly/2Z4cjAA.
47
   Hironori Takechi, The Mainichi, Japan PM Abe had Hoped Nissan would ‘Deal with Ghosn Case Internally’: Reports (Jan.
9, 2020), available at https://bit.ly/3lPcOsb.
48
  See, e.g., Ex. 1 at EX-Taylor, M.-00051; Ex. 2 at EX-Taylor, P.-00051. The two extradition requests are substantively the
same. Below, we will refer only to the extradition request with respect to Michael Taylor (Ex. 1).
49
     Exs. 3 and 4 (Warrants).
50
     See id.
51
     See Treaty, Art. VIII § 3(a).
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do not cite Article 103—the only statutes cited in the Requests are Articles 71 and 25 of the Immigration
Control and Refugee Recognition Act, misdemeanor offenses.52

        The Japanese arrest warrants quickly became public and were widely reported in the press. When
they became aware of the warrants in late January and early February, the Taylors were in Lebanon, which
lacks an extradition treaty with Japan.53 Fully aware of the Japanese warrants, that Lebanon did not have
an extradition treaty with Japan, that the U.S. was one of the few countries that did, and that Japan would
likely seek their extradition if they returned to the United States, the Taylors nonetheless returned to their
home in Harvard, Massachusetts (Michael returning in mid-February and Peter following in March).54

       On May 6, 2020, at Japan’s request, DOJ filed complaints for the provisional arrests of the Taylors,
obtained U.S. warrants, and arrested both Taylors at their family home in the early morning hours of May
20, 2020. They have been held in federal custody at the Norfolk County Correctional Center ever since.

        The Taylors moved to quash the provisional arrest warrants, or in the alternative, for bail.
Magistrate Judge Donald Cabell in Massachusetts denied both requests,55 and District Judge Indira Talwani
subsequently denied the Taylors’ habeas requests for emergency injunctive relief.56 Although Magistrate
Judge Cabell and Judge Talwani reached their conclusions in different ways, two key common threads
exist between the opinions: (1) both judges expressed a reticence to interpret foreign law, even when the
Taylors pointed out the unprecedented application of the felony statute then being alleged, and (2) along
similar lines, both judges deferred to the declarations of the very Japanese prosecutor pursuing the case
against both the Taylors and Ghosn in Japan over the Taylors’ neutral expert.57 That is not surprising given
the highly constrained nature of courts’ review in extradition proceedings, where long-standing precedent
leaves all but the most obvious flaws in the process to resolution by the State Department.58

        Following additional briefing, Judge Cabell held the extradition hearing on August 28, 2020.
During the hearing, Judge Cabell reiterated his view that the issues with the supposed Japanese crime and
equities of sending the Taylors back to a country which often ignores our own requests were better heard
by the State Department. On September 4, 2020, Judge Cabell issued a written opinion certifying the


52
  See Exs. 3 and 4. The Requests do begin with a declaration that employs, in part, the words that make up the title of Article
103 (i.e., “harboring of criminals”). However, the language used in Annex 3 to describe the facts of the alleged offense are
inconsistent Article 103’s plain terms and with the meaning of that statute. See Ex. 11 (Second Supp. Cleary Decl.) ¶¶ 7-11.
53
     Ex. 5 (Marino Decl. ¶ 3).
54
     Id. ¶¶ 2-5.
55
     Ex. 6 (Opinion on Motion to Quash).
56
     Ex. 7 (Opinion on Preliminary Injunction).
57
     See Ex. 6 at 10; Ex. 7 at 10-12 and n.4.
58
   See, e.g., Kin-Hong, 110 F.3d at 110 (“[U]nder 18 U.S.C. § 3184, the judicial officer’s inquiry is limited.… Both institutional
competence rationales and our constitutional structure, which places primary responsibility for foreign affairs in the executive
branch … support this division of labor.”).
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Taylors’ extraditability under the Treaty.59 Critically, Judge Cabell explicitly refused to consider the
Taylors’ defense, stating: “Despite strong urging, however, the court declines to consider the respondents’
argument. Even assuming an extradition court has both the authority to resolve disputed issues of foreign
law, and the hopeful belief it could do so competently, that does not mean it should.”60

                     III.      THE TAYLORS SHOULD NOT BE EXTRADITED TO JAPAN

A.          The Taylors Did Not Commit an Extraditable Offense Under Then-Existing Japanese Law

       Under the Treaty, extradition may be certified only where “the request for extradition … is
accompanied by … such evidence as would provide probable cause to suspect, according to the laws of the
requested Party, that the person sought has committed the offense for which extradition is requested.”61 To
meet that requirement, the Japanese government must provide “evidence which would warrant a man of
reasonable caution in the belief that [an extraditable offense] has been committed.”62 The Taylors are not
subject to extradition because the statute that Japan claims the Taylors violated—Article 103—is
inapplicable, even if all the alleged facts were true. And, as stated above, the misdemeanor immigration
offenses cited in the arrest warrants themselves are not extraditable offenses.

        Japan’s extradition request is premised upon a novel and unprecedented expansion of the scope of
Article 103 of the Japanese Penal Code that is articulated, if at all, by implication and inference in the
applications for warrants for the Taylors’ arrest. As translated into English, Article 103 of the Japanese
Penal Code states a criminal offense entitled “Harboring of Criminals” and provides as follows:
            A person who harbors or enables the escape of another person who has either committed a
            crime punishable with a fine or greater punishment or has escaped from confinement shall
            be punished by imprisonment with work for not more than 3 years or a fine of not more than
            300,000 yen.63

        As Dr. William B. Cleary, a noted law professor at Hiroshima Shudo University in Hiroshima,
Japan, explains in his declaration, 隠避, or “inpi,” the Japanese statutory term used in Article 103, is
translated as “enabling the escape,” and comprises a “concept that describes working against law
enforcement authorities’ active pursuit of a criminal to arrest him.”64 That is consistent with the Japanese
Supreme Court’s long-standing interpretation of “enables the escape” to mean “all other acts that hinder
discovery [for] arrest by law enforcement by methods other than harboring.”65 In other words, “inpi”
carries that same sort of connotation as the American children’s game hide-and-seek. Just as you are not

59
     Ex. 8 (Opinion on Extradition).
60
     Id. at 9 (emphasis added).
61
     Treaty, Art. VIII, § 3.
62
     See, e.g., Wong Sun v. United States, 371 U.S. 471, 479 (1963) (quotation and citation omitted).
63
     Ex. 1 at EX-Taylor, M.-00030.
64
     Ex. 11 (Second Supp. Cleary Decl.) ¶ 5.
65
     Supreme Ct. of Japan, Judgment, Sept. 18, 1930, P. 668 of Taishinin Keiji Hanreishu (S. Ct. Reports (criminal cases)) vol. 9.
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playing hide-and-seek by hiding when nobody is actively seeking you, you are not engaged in “inpi” by
hiding when nobody is actively seeking you.

       The facts alleged in support of the arrest warrants (and the U.S. government’s allegations in the
complaints seeking extradition) assert that the Taylors assisted Ghosn to escape from Japan in violation of
the conditions of his release on bail pending trial on certain alleged financial crimes relating to his tenure
as CEO of Nissan. The theory appears to be that because Ghosn violated his bail conditions in departing
Japan, the Taylors committed the act of “enabling the escape” (隠避, or “inpi”) of a person who had
committed a crime.

        However, “the Japanese government has never attempted to apply Article 103 to any situation
involving violation of bail conditions.”66 That is because Article 103 only criminalizes “working against
law enforcement authorities’ active pursuit of a criminal to arrest him.”67 There is no provision
criminalizing the current situation, where Ghosn was not being pursued by the police because he was
released on bail. There was no warrant for Ghosn’s arrest at the time of the Taylors’ alleged actions, and
Japanese authorities were not seeking to apprehend him until after he had returned to Lebanon and parted
with the Taylors. Japan’s putative prosecution of the Taylors under Article 103 amounts to an attempt to
take conduct that is widely recognized as not constituting a crime, and repackage it as a violation of a
previously inapplicable statute by exploiting the use of the word “escape” in the English translation to refer
to both of two very different and distinct Japanese terms.

        Japanese scholars and practitioners reviewing this case agree that the Taylors did not commit a
crime. One article reported, for example: “Helping someone jump bail isn’t a crime in Japan … said
Yunhai Wang, a professor of criminal law at Hitotsubashi University graduate school in Tokyo. Nobuo
Gohara, a former prosecutor and Ghosn vocal critic of Japan’s criminal-justice system, concurred[.]”68
Moreover, over several months, the Taylors repeatedly cited the novelty of Japan’s interpretation during
the judicial proceedings. Yet, again, the Japanese government could not find even one analogous case.69


66
     Ex. 9 (Cleary Decl.) ¶ 13 (emphasis added); see also Ex. 10 (Supp. Cleary Decl.) ¶ 8 (“[T]his prosecution is unprecedented.”).
67
     Ex. 11 (Second Supp. Cleary Decl.) ¶ 5.
68
   Robert Burnson, Bloomberg Law, Ghosn Alleged Escape Accomplices Deny Committing a Crime (June 9, 2020), available
at https://bit.ly/30POwWr.
69
  That makes sense. After all, how could aiding bail jumping be against the law in Japan while bail jumping itself is not? See
Ex. 9 (Cleary Decl.) ¶¶ 10, 14. Throughout the court of this process, it has remained undisputed that Japan has never prosecuted
any of its own citizens or anyone else, including Ghosn, for “escaping” bail conditions under either Articles 97 or Article 98, or
any other provisions, and neither DOJ nor the Japanese government has argued that what Ghosn did in violating his bail
conditions was a crime under Japanese law. Id. ¶ 10; see also, e.g., Ex. 13, Jiji Press, Start of Debate on Escape Prevention
Measures (6/15/2020) (“The current criminal law, ‘flight offenses,’ targets inmates in prisons. For this reason, it does not apply
when in bail such as Ghosn.”).
Recognizing this fact, the Japanese government has been scrambling to criminalize bail jumping. On March 6, 2020, referring
to Ghosn’s departure from Japan, the Japanese Minister of Justice told the legislature’s Legal Committee that the Ministry had
“recently consulted with the Legal Council on the establishment of criminal law to [address] the escape of these persons.” Ex.
14, Remarks of Minister of Justice Mori to Legal Committee (3/6/2020). She continued, “[i]n the future, based on the results of
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        The materials accompanying Japan’s extradition request make clear that Japanese law enforcement
authorities were investigating suspected violations of the Immigration Control and Refugee Recognition
Act by Ghosn, and the Taylors’ assistance in such violations, not a suspected violation of Article
103.70 Because the immigration offenses are misdemeanors for which extradition is not available,71 the
prosecutor in the Ghosn case has sought to construct a theory of an Article 103 violation as a means to
obtain extradition of the Taylors.

        What is more, the Japanese government’s zeal to prosecute the Taylors at all is purely political, and
emanates from its embarrassment from Ghosn’s departure to a country without an extradition treaty with
Japan. Reflecting Japan’s general hostility toward extraditing its own citizens, Japan has extradition
treaties with only two countries, the United States and the Republic of Korea. Unable to reach Ghosn, to
show the country that it is doing something, the Japanese government has identified the Taylors as
scapegoats that are nearly within its grasp. To do so, however, Japan has contorted Japanese law to match
the requirements of the Treaty.

       Ultimately, it is up to the Japanese legislature—and not a creative and embarrassed Japanese
prosecutor, and certainly not the U.S. government—to repair what are obvious gaps under Japanese law.
Japan should not be allowed to extradite and prosecute American citizens based on convenient, self-
serving, and politically motivated interpretations of its statutes that it does not apply to its own citizens.

B.         Extradition of the Taylors to Japan Would Violate U.S. Human Rights Commitments and
           Treaty Obligations

         If the Taylors were extradited to Japan, they would then face a highly flawed criminal-justice
system that lacks many of the basic protections the Taylors would be afforded in the United States, such as
a right to a speedy trial and the right to counsel during interrogations, while at the same time being subjected
to a heightened risk of contracting COVID-19 (which would almost certainly be life-threatening to Michael
Taylor). These risks are further aggravated now that Japan is preparing to enter flu season as well. All so
that the Japanese government can punish the Taylors for what it cannot do against Ghosn directly, using
an offense generated by a prosecutor’s novel reinterpretation of Article 103 to punish Americans
retroactively in a way that Japan has never applied the law to its own citizens (or to anyone else).

        Although Japan is itself a modern democracy, its criminal-justice system appears more akin to that
of an authoritarian regime.72 Japan’s legal system allows prosecutors to detain people without charge and

the deliberation, we will proceed with the necessary legislation.” Id. Thereafter, on June 15, 2020, a committee of the Japanese
Ministry of Justice met to discuss “the establishment of new penalties for [] escape … [while] on bail.” Ex. 13; see also Ex. 15,
Jomo News, First Meeting to Prevent Escape During Legal Bail (6/15/2020).
70
     Cf. Ex. 12 (Second Supp. Watanabe Decl.) ¶ 6 (noting that the Taylors have not been charged in Japan under Art. 103).
71
  An offense is only extraditable if it is “punishable by the laws of both Contracting Parties … by deprivation of liberty for a
period of more than one year.” Treaty, Art. II § 1.
72
   Cf. Alexander Solzhenitsyn, 1 The Gulag Archipelago 103-15 (HarperPerennial Ed. 2007) (describing Stalin-era Soviet
interrogation tactics, including lengthy questioning, yelling, physical abuse, and sleep deprivation).
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subject them to relentless interrogation without the presence of defense counsel until they confess or
incriminate themselves, a system that is referred to as “hostage justice (hitojichi-shiho).” Nearly 90% of
defendants in criminal trials confess, according to the Japan Federation of Bar Associations. Japan’s
criminal-justice system has been ridiculed by Japanese lawyers and academics, as well as observers around
the world. Last year, more than 1,000 Japanese academics and lawyers wrote an open letter criticizing
Japan’s criminal-justice system73 The letter details a number of alarming practices:
           •    “The Code of Criminal Procedure of Japan allows suspects to be detained up to 23 days before
                indictment” during which time detainees face continuous interrogations where “investigators []
                pressur[e] suspects to answer questions and confess to their alleged crimes.”74
           •    “It is not uncommon for suspects to be yelled at from close range [and] suspects are not allowed
                to have lawyers present during questioning.”75
           •    “The 23-day detention limit often has no substance, as investigators sometimes use
                arrest/detention powers for separate, minor crimes as an excuse to interrogate suspects about
                the main crime or split up consolidated crimes in order to detain suspects repeatedly for
                additional periods.”76
           •    “Even when the detainee is indicted and finally allowed to request bail, those who have not
                confessed or remained silent often have a harder time persuading a judge to approve their bail
                request[.]”77
The letter also describes some notable examples where Japan charged innocent people with minor crimes,
yet detained those who refused to confess for months or more than a year. It concludes that these practices
are systemic and violate “international human rights standards including the presumption of innocence, the
prevention of torture, and access to counsel during questioning.”78

        Mr. Tadashi Inuzuka, a former Senator in the Japanese Diet, elaborated on these issues in
correspondence about the Taylors’ case, expressing concern to Senator Roger Wicker.79 Senator Inuzuka
explains: “Few of my peers and countrymen have compassion for Carlos Ghosn, Greg Kelly, and countless
others held ‘hostage’ in Japan. Our system, media, and people, judge men and women as guilty at their
arrest and not after a guilty verdict at trial. Unfortunately, the presumption of guilt, though not a public

73
     Available at https://bit.ly/3iFGeXv.
74
     Id.
75
     Id.
76
     Id.
77
     Id.
78
   See also Kageyama, Yuri, Fugitive Ghosn Brings Global Attention to Japanese Justice (Jan. 9, 2020), available at
https://bit.ly/3kGUiS4 (discussing several famous cases of wrongful convictions in Japan, including of foreign nationals, and a
true-life story of a man who refused to sign a confession in Japan that became a popular movie depicting his five-year legal
battle for exoneration).
79
     See Ex. 36 (Email from T. Inuzuka).
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admission, is very much a reality.”80 After recounting the nature of the Japanese criminal-justice system,
and the treatment of Ghosn and Greg Kelly, Senator Inuzuka concludes: “I would strongly encourage
stopping the potential extradition of the Taylor family to Japan. As U.S. citizens, the Taylors have a right
to a fair trial in a country that practices the presumption of innocence. They should not be judged guilty
prior to a verdict[,] and they will be should they stand trial in Japan.”81

        Nobuo Gohara, a former prosecutor, has also discussed these issues in international media. He said:
“The Japanese criminal justice system is focused on interrogation. The aim is getting a confession.… A
suspect who admits to the crime is released from imprisonment.… But if a person refuses to admit to a
crime, the prosecutor’s office will strongly oppose release until the suspect makes a confession.”82 It
should thus come as no surprise that Japan’s conviction rate is 99.3%, a statistic that the Ministry of Justice
itself not only confirms, but feels the need to explain away.83

         In addition to the treatment to which Ghosn was subjected in Japan, the State Department should
take heed from the Japanese government’s treatment of Greg Kelly, an American apprehended by Japan as
part of the Nissan and Ghosn investigations, to foresee what awaits the Taylors in Japan.84 Rather than use
the Treaty in dispute here, the Japanese government tricked Mr. Kelly into travelling to Japan in November
2018, where he was then arrested and subjected to five weeks of solitary confinement without a bed.85 His
family reports that he was in need of urgent neck surgery before traveling to Japan, which the Japanese
government was aware of, and yet delayed.86 The procedure was less effective by the time he was finally
allowed to have the surgery.87 While incarcerated, Mr. Kelly was interrogated for several hours a day
without legal counsel, and Japanese officials still will not permit him or his lawyer access to evidence in
electronic form.88 Mr. Kelly was eventually granted bail in December 2018.89 After having had to wait

80
     Id.
81
     Id.
82
   Rupert Wingfield-Hayes, BBC, Carlos Ghosn and Japan's 'Hostage Justice' System (Dec. 31, 2019), available at
https://bbc.in/33VyQCT.
83
   See Japan Ministry of Justice, Frequently Asked Questions on the Japanese Criminal Justice System, available at
https://bit.ly/2FdiyLq (last accessed Sept. 4, 2020).
84
     See Ex. 16 (Memo and Petition from the Kelly Family describing the horrors of his treatment by Japan).
85
   Sen. Roger Wicker, Sen. Lamar Alexander & Sen. Marsha Blackburn, Greg Kelly: U.S. Hostage of Japanese Justice (March
10, 2020), available at https://bit.ly/2PMWzgp; see also The Japan Times, Ex-Nissan exec Greg Kelly fears odds of fair trial
slimmer after Ghosn's flight (Jan 4, 2020), available at https://bit.ly/30Q9tRa; Kelly Petition to U.S. Dep’t of State, available
at https://bit.ly/2XX0ID7.
86
     Id.
87
     Id.
88
     Id.
89
  According to Mr. Kelly’s lawyer, James Wareham, “Greg Kelly has been caught up an effort to remove Ghosn and get Renault
out of a controlling position, [and] [t]o consummate the scheme, they wanted a witness to be in their control under duress, and
then they went so far as to break international extradition law to make that happen.” Reed Stevenson, The Detroit News, Emails:
Ghosn takedown Motivated by Effort to Stop Nissan, Renault Integration (June 16, 2020), available at https://bit.ly/2DXp1tv.
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for almost two years, recently, Mr. Kelly’s trial dates were finally set to begin on September 15, 2020, and
continue until at least July 2021.90 One of the conditions of his bail is that he is not allowed to leave Japan;
Mr. Kelly has not been able to return home for more than 21 months and will not be able to do so for the
foreseeable future.

        The State Department must act to protect the Taylors from these widely reported human rights
abuses. Indeed, even if permissible under the U.S.-Japan Extradition Treaty, extraditing the Taylors to
Japan in this case would violate other U.S. treaty obligations. Article 3(1) of the United Nations
Convention Against Torture and Other Cruel, Inhuman or Degrading Treatment or Punishment (“CAT”)
provides that “No State Party shall … extradite a person to another State where there are substantial grounds
for believing he would be in danger of being subjected to torture.”91 “Torture” within the meaning of the
CAT includes “[a]ny act by which severe pain or suffering, whether physical or mental, is intentionally
inflicted on a person for such purposes as obtaining from him or a third person information or a confession,
punishing him for an act he or a third person has committed or is suspected of having committed….”92
Under U.S. law, “substantial grounds” under the CAT exist if “it is more likely than not that the [person]
would be” subjected to such treatment.93

        Further, Article 14 of the International Covenant on Civil and Political Rights (“ICCPR”) provides
that “everyone shall be entitled” to certain “minimum guarantees” in the determination of any criminal
charge, including “to communicate with counsel of his own choosing” (Art. 14(3)(b)) and “[n]ot to be
compelled to testify against himself or to confess guilt” (Art. 14(3)(g)), “[t]o be tried without undue delay”
(Art. 14(3)(c)).94

       It is clear that Messrs. Ghosn and Kelly, and countless others, have been subjected to physical and
mental suffering (including beatings, sleep deprivation, and absurdly-protracted interrogation while being
denied access to lawyers and medical treatment) at the hands of the Japanese law enforcement for the
purpose of extracting confessions. The same fate almost certainly awaits the Taylors if they are extradited.

        Finally, it is important to note that the Taylors could spend more time in jail in the U.S. awaiting
extradition to Japan, and in Japan awaiting trial, than they would ever be sentenced if convicted. Article
103 used to be a two-year offense, and even since it was increased to a three-year maximum penalty, no

90
  Sean McLain, The Wall Street Journal, Secret Papers on Ghosn Pay to Be Aired at Trial of Greg Kelly (Aug. 25, 2020),
available at https://on.wsj.com/3i5Lvrp.
91
  See also Foreign Affairs Reform and Restructuring Act of 1998, Pub. L. 105-277, § 2242, 112 Stat. 2681, 2681-761, 2681-
822 (implementing CAT and reiterating that it is “the policy of the United States not to expel, extradite, or otherwise effect the
involuntary return of any person to a country in which there are substantial grounds for believing the person would be in danger
of being subjected to torture”).
92
     22 C.F.R. § 95.1(b)(1).
93
     22 C.F.R. § 95.1(c).
94
  International Covenant on Civil and Political Rights, opened for signature 19 Dec. 1966, art. 6, para. 5, S. EXEC. DOC. E,,
95–2, at 23 (1978), 999 U.N.T.S. 171, 175.
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defendant has received more than two-years imprisonment; many defendants without criminal histories
received suspended execution of their sentences.95 The Taylors have already been in jail for months (with
no guarantee of time served). Even if the extradition were to take place immediately, the Japanese
government has proved that it is in no rush—and under no obligation—to bring this matter to a speedy
resolution.

C.         Continued Detention and Extradition of Michael Taylor Poses a Substantial Risk to His Life
           and Health in Light of His Medical History and the COVID-19 Pandemic

        As in the U.S., jails and prisons in Japan are experiencing heightened levels of transmission of
COVID-19. In particular, it is inevitable for inmates at Japanese detention facilities, who are forced to use
shared public baths and/or share rooms with other inmates, to have contacts with officers and other
inmates.96 By April 2020, Japanese detention and correction facilities nationwide faced problematic
situations. For example, the Justice Minister revealed during a press conference that at the Osaka Detention
Facility, one correctional officer was infected by COVID-19, which resulted in seven other positive
workers within the following two weeks, who, collectively, have come into contact with 132 workers and
60 detainees.97 Workers at the Tokyo and Hokkaido Detention Facilities similarly tested positive at that
time.98 More recently, Japanese media reported that at least one detainee at the Tokyo Detention Facility
and one correctional officer at the Osaka Detention Facility were found positive.99 In August, the Tokyo
Regional Immigration Services Bureau, which is similarly situated as detention facilities, also confirmed
that one detainee tested positive, and at least four workers were tested positive.100


95
   See, e.g., Osaka Dist. Ct., Judgment, Apr. 27, 2018, P. 109 of Law Cases Reports (Hanrei-Jiho) No. 2400 (sentenced to term
of imprisonment of one year and eight months), aff’d in part, Osaka High Court, Judgment, Sept. 25, 2018; P. 72 of “Law Cases
Reports (Hanrei-Jiho) No. 2406 (sentence reduced to one year and two months’ imprisonment); Tokyo High Ct., Judgment, July
8, 2015, appeal dismissed, S. Ct. Mar. 27, 2017, P. 258 of Saikou Saibansho Keiji Hanreishu (S. Ct. Reports (criminal cases))
vol. 71-3 (sentenced to term of imprisonment of one year and six months’ imprisonment, which includes the sentence for another
crime); Osaka Dist. Ct., Judgment, Mar. 30, 2012, cited from Case No. 28181846 of “D1-Law.com Hanreitaikei” (sentenced to
term of imprisonment of one year and six months; suspension of execution for three years); Osaka Dist. Ct., Judgment, Apr. 17,
2003; P. 264 of Law Times Reports (Hanrei-Taimuzu) No.1127 (sentenced to term of imprisonment of one year and ten months;
defendant had five prior criminal convictions). Under Japanese law, when execution of a sentence is suspended, the sentence
will not be executed if none of the revoking events listed in the Penal Code, e.g., the defendant commits another crime and
sentenced to imprisonment, is triggered within the suspension period.
96
  Tadashi Ara, President of the Japan Federation of Bar Associations, <COVID-19>Statement Calling for Infection Spread
Prevention in Penal Detention Facilities (Apr. 23, 2020), available at https://bit.ly/2GBcP2Q.
97
  Magdalena Osumi, The Japan Times, Spread of COVID-19 in Japanese Prisons Spurs Calls for Releases (Apr. 21, 2020),
available at https://bit.ly/2Za0p8q.
98
     Id.
99
  Ex. 17, Jiji News, Detainee at Tokyo Detention Facility Found Coronavirus Positive as Well as Foreigner Detainee at Tokyo
Immigration Facility – Ministry of Justice (Aug. 7, 2020); Ex. 18, Jiji News, Another Correction Officers at Osaka Detention
Facility Infected Coronavirus, Totaling Infected Officers to be Nine (Aug. 5, 2020).
100
   Jun Ida, Mainichi Shimbun, Tokyo Immigration Bureau Reports 1st Coronavirus Infection of Foreigner in Detention (Aug.
8, 2020), available at https://bit.ly/3jUcpmG.
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        In this regard, the Centers for Disease Control and Prevention (“CDC”) issued a Level 3 Travel
Health Notice for Japan due to COVID-19, and the State Department advises that “COVID-19 is still a
serious concern in Tokyo and across many areas of Japan.”101 Japan has placed a broad travel ban for entry
from 146 countries, including the U.S., which even applies to foreign residents of Japan, including those
with long-term resident status and working visas.102

        Michael Taylor is particularly susceptible to COVID-19, as he previously had a portion of one of
his lungs removed, a procedure called a partial lobectomy.103 This was necessitated by a fungal infection
caused by Coccidiomycosis, known as “Valley Fever.” Mr. Taylor contracted Valley Fever as a child
while living in Asmara, Eritrea (formerly Ethiopia), where his step-father was stationed. He experienced
bleeding from his lung before doctors identified the issue approximately five years later and addressed it
with surgery. As a result, Mr. Taylor has reduced lung capacity.104

        As explained by Dr. M. Anthony Casolaro, a physician board-certified in Internal Medicine and
Pulmonary Disease—and the former Clinical Chief of the Pulmonary Branch at the National Institutes of
Health, where he worked with, among others, Dr. Anthony Fauci—an individual like Michael Taylor with
a history of Coccidiomycosis and a partial lobectomy “is at a particularly heightened risk for serious
complications if he were to contract COVID-19.”105 If Mr. Taylor were to contract the disease, “he would
be seriously compromised” and “[h]e would require immediate hospitalization and be at imminent risk of
serious complications and possibly death.”106 As Dr. Casolaro concludes, “Michael Taylor is, therefore, at
a greatly heightened risk of serious adverse complications and death in a setting, such as a jail, where social
distancing and other measures are impractical.”107

       Every day of the Taylors’ continued detention, which Japan only seeks to prolong, places Michael
Taylor at imminent and substantial risk of an effective death sentence. With no Japanese language ability,
Japanese health insurance, family, or friends in Japan, Michael Taylor’s chance of receiving even basic
healthcare in Japan would be extremely slim in the midst of the global pandemic – an unfair burden that
should not be imposed on Michael Taylor.




101
      State Department, Japan Travel Advisory (Aug. 6, 2020), available at https://go.usa.gov/xGDnB.
102
   Ministry of Foreign Affairs of Japan, Border Enforcement Measures to Prevent the Spread of Novel Coronavirus (COVID-
19) (Aug. 30, 2020), available at https://bit.ly/35aKj2f; Ben Dooley, The New York Times, Japan’s Locked Borders Shake the
Trust of Its Foreign Workers (Aug. 5, 2020), available at https://nyti ms/3byKsOb.
103
      See Ex. 19 (Letter from Dr. Sandeep Jain, MD.) and Ex. 20 (Declaration of Dr. M. Anthony Casolaro, MD).
104
      Ex. 20 ¶ 3.
105
      Id. ¶ 4.
106
      Id.
107
      Id. ¶ 5.
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D.          Michael Taylor’s Extraordinary History of Service to His Country and His Fellow Americans
            Make It Imperative that His Country Not Permit Japan to Use a Prosecution of Him as a
            Face-Saving Measure

       As noted above, Michael Taylor is a decorated military veteran, having served in the Special Forces
for over a decade. After leaving the service, Michael started his own private security company, which has
continued his service to the government, and others. It would be fundamentally unfair for the government
to cooperate in the Japanese government’s efforts to seek retribution against Ghosn—a man whom they
cannot touch—by persecuting the Taylors.108 That is particularly true in light of the horrors of the Japan’s
“hostage justice” system, which contains virtually none of the protections of the accused that exist in the
developed world. Given all that Michael has done for this country and Americans, the State Department
should exercise its discretion here to withhold extradition.

E.          Lebanese Prosecutors Already Have Found the Taylors Did Not Commit a Crime

        Further highlighting the lack of a crime, Lebanon actually investigated the facts surrounding
Ghosn’s departure from Japan and exonerated the Taylors of any wrongdoing.109 This corroborates the
points above regarding the lack of a crime, and it is also an additional, independent reason supporting a
decision not to extradite the Taylors.

        In addition to the State Department’s authority to refuse to extradite U.S. citizens generally, Article
IV, Section 2 of the Treaty provides that: “The requested Party may refuse extradition when the person
sought has been tried and acquitted, or has undergone the execution of punishment in a third State for the
offense for which extradition is requested.” The Republic of Lebanon has itself investigated the conduct
and events on which Japan’s request for extradition is based. Lebanese prosecutors concluded that no laws
were violated. If Japan has any quarrel with the Republic of Lebanon’s conclusion, that is a matter for the
governments of Japan and Lebanon to address among themselves. Importantly, the Magistrate Judge and
District Judge both refused to consider this argument, claiming that it is within the realm of the Executive
Branch’s responsibilities.110

        In her order denying the Taylors’ habeas petition, the District Judge said that the Taylors had not
shown that there was “any sort of adversarial proceeding in Lebanon.”111 Yet there is no such requirement
in the Treaty. And even if there was, the fact is that the highest prosecutor in Lebanon considered charges


108
  See also Ex. 22 (Letter from T. Daly) (“[I]t would be a serious injustice for this country to authorize the extradition of Michael
Taylor and Peter Taylor.”).
109
      See Ex. 35 (Declaration of Attorney Naoum Toubia Farah).
110
    See Ex. 7 at 12. The judges also commented that the Lebanon proceedings did not involve an actual trial, but a trial is not a
necessary prerequisite for an acquittal. In the U.S., for example, criminal cases can and do end with motions for judgment of
acquittal before a trial is complete or submitted to the jury. The Lebanese action is tantamount to an acquittal under its legal
system.
111
      Id. at 14.
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under Japanese law, and decided not to proceed on them, as they were baseless.112 In a criminal matter,
the prosecutor is the adversary. It can hardly be the case that there was no adversarial proceeding where
a prosecutor was actively considering whether to pursue criminal sanctions against the Taylors, and
declined to do so. And regardless of the technical aspects of the Lebanese proceedings, the fact that
Lebanon investigated and found the Taylors unworthy of prosecution should inform the State Department’s
judgement in exercising its unfettered discretion not to extradite U.S. citizens.

F.         Treaties Must Be Two-Way Streets and Japan Has Repeatedly Failed to Extradite Its Own
           Citizens Charged with Much Greater, and More Harmful Crimes

        In assessing a country’s request that the U.S. extradite its own citizens, our government should look
to how that country has responded to our requests for similar relief. Although Japan now demands
extradition in this case, Japan has a long track record of protecting its citizens—including those who are
responsible for the deaths of American citizens and multi-million dollar frauds—from extradition to this
country. The inequity of the Japanese request is startling.

        It also has long been observed that “[e]xtradition from Japan for antitrust offenses has never
occurred, and for other white collar offenses, such extradition is highly unusual.”113 The process is also
procedurally difficult for the United States, and Japan has broad discretion to grant or deny the request.114
This discretion has been a significant issue in extraditing Japanese nationals because, despite the damaged
“hostage justice” system just described, Japan has historically condemned the U.S. justice system,
particularly with respect to the prosecution of financial and white collar crimes.

        One very telling case concerns three executives of the Takata Corporation, who have been under
indictment in the Eastern District of Michigan since 2016. As is well documented, in the Takata exploding-
airbag scandal, the Japanese company pled guilty to a $1 billion wire fraud scheme involving the
falsification and concealment of air bag tests and information covering up a defect that killed at least 24
people and injured 300 more. While DOJ indicted three Japanese executives, with charges based upon the
billion-dollar scheme that killed 24 people, Japan continues to protect them from extradition.115 Japan’s
hypocrisy is clear, and it is harmful not only to the rights of American citizens, but to global economic and

112
      See Ex. 35.
113
    Squire Patton Boggs, Extradition from Japan for Antitrust Offenses Unlikely, but Risks Should Still Be Weighed (2020),
available at https://bit.ly/3gUDHba; see also The National Law Review, Extradition from Japan: The Gamble (May 5, 2015)
(“[T]he DOJ faces many challenges when attempting to extradite Japanese nationals, both legally and procedurally.”), available
at https://bit.ly/3kFLdcs.
114
   Id.; see also Treaty, Art. V (“The requested Party shall not be bound to extradite its own nationals, but it shall have the power
to extradite them in its discretion.”).
115
   Automotive News: Europe, Automakers avoid new U.S. recall of 56M Takata airbag inflators (May 08, 2020) (“[N]one of
the Japanese nationals have been arrested or appeared in a U.S. court because the Japanese do not extradite their citizens to the
U.S.”), available at https://bit.ly/3gSkbwa; Automotive News, Japan throws stones at Ghosn from glass house (Jan 11, 2020)
(“the prosecution and post-escape pursuit of Ghosn runs contrary to the Japanese practice of protecting its own business fugitives
from justice, particularly when they stand accused by other countries of crimes”), available at https://bit.ly/2XSTrnE.
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business interests. As one article observed, “Ghosn was stuffed into solitary confinement without heat,
internet and only limited access to his attorneys [while] … the Japanese executives from Takata airbags,
criminally indicted in the US, have fought extradition with documents proving their complicity in
manipulating test data to conceal the failure of their systems…. Who won’t think twice before taking an
assignment in Japan, now that their justice system has been revealed to be so unfair to foreigners?”116 The
Government of Japan sits on the U.S. request to return these executives for trial and has allowed them to
be free on bail for actually killing Americans. The Taylors, at worst, assisted a person contesting politically
motivated allegations of financial wrongdoing to violate the onerous conditions of his release.

        This is hardly out of the ordinary for Japan. For example, in 1995, a lawyer with Tokyo’s Chiyoda
Law Office remarked that he would be surprised “if Japan gave in easily” to extradition requests involving
white-collar crimes in the wake of the cover-up of $1.1 billion in trading losses that engulfed Daiwa Bank,
Ltd., because sending elite Japanese bankers to America’s “mean jails” would be too much for the country
to bear politically.117 In 1996, another Japanese attorney dismissed the possibility of extradition for Yasuo
Hamanaka, the infamous “Mr. Copper” who had lost $2.6 billion trading for Sumitomo Corporation,
because “[u]nlike murder, what Hamanaka did would not be considered an outright threat to the social
order of any country.”118

                                                        CONCLUSION

        As noted above, under the Treaty and the U.S. law of extradition, it is within the Secretary of State’s
sole authority to determine whether or not to extradite the Taylors, and any number of “humanitarian and
foreign policy considerations” may warrant refusal.119 Here, the reasons to refuse Japan’s request are
many, including the tenuous and unprecedented theory of an extraditable offense, the obvious face-saving
nature of Japan’s pursuit of the Taylors for what is at most a non-extraditable misdemeanor, the myriad
“deficiencies in the judicial process” in Japan,120 the substantial risk of hospitalization and even death faced
by Michael Taylor, Mr. Taylor’s extraordinary history of service to this country and its people, the fact that
one member of the international community (Lebanon) has already determined that the Taylors did not
commit a crime, and Japan’s demonstrated history of refusing to extradite its own nationals for far, far
more serious alleged crimes. The Taylors harmed no one, and simply do not deserve the way they are
being treated or the fate awaiting them at the hands of the Japanese legal system if they are extradited. It
is, therefore, reasonable and proper (in fact, imperative) that the State Department deny Japan’s request
and protect the Taylors from this unfair extradition. Under the Treaty, the U.S. is simply not obligated to
extradite the Taylors and there is no compelling reason for the U.S. to do so.



116
      Chief Executive, Gone Ghosn: Caveats for Global Commerce (Jan 2, 2020), available at https://bit.ly/2XPtMwf.
117
    Michael McGovern, Kaede Toh, and Michael Jo, Extradition of Japanese Nationals: A Growing Threat in U.S. Prosecutions
of International Cartels? (2015).
118
      Id.
119
      Kin-Hong, 110 F.3d at 109.
120
      Plaster v. United States, 720 F.2d 340, 349 (4th Cir. 1983).
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       We look forward to your reply and would welcome the opportunity to provide any information you
may require and would hope to discuss these issues with those at State with whom you would have us meet,
leading to a meeting with you, if warranted.

                                                                  Respectfully submitted,


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Tom Heinemann, Esq. (via email to HeinemannTB@state.gov)


ENCLOSURES
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                         Extradition of Michael and Peter Taylor
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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                            DISTRICT OF MASSACHUSETTS

 IN THE MATTER OF THE                              )
 EXTRADITION OF MICHAEL L.                         )      Case No. 20-mj-l 069-DLC
 TAYLOR                                            )
                                                   )
                                                   )
 IN THE MATTER OF THE                              )      Case No. 20-mj-I 070-DLC
 EXTRADITION OF PETER MAXWELL                      )
 TAYLOR                                            )

                            DECLARATION OF' DANIEL MARINO

          Pursuant to 28 U.S.C. § 1746, I, Daniel Marino. hereby declare as follows:

          l.     I was counsel to Michael Taylor in the Utah case that has been referenced in the

filings in this case. And I have known Michael and Peter Taylor since that time, approximately

2012.

          2.     In January of this year, I met with Michael Taylor and Peter Taylor, in Beirut, after

Carlos Ghosn traveled from Japan to Lebanon.

          3.     Before either of them returned to the United States, they were well aware, as the

entire world was, that the Japanese prosecutor had issued warrants for their arrest. They also

believed that Interpol had issued Red Notices for their apprehension, at the request ofthe Japanese

prosecutor.

          4.     We discussed the fact that, because of the Japanese arrest warrants. if they returned

to the United States, they would likely be subject to a request for extradition by the Japanese

government. I made them aware of the fact that Japan had an extradition treaty with the U nited

States.    Nevertheless, they decided to return to the United States and face any extradition

proceedings that might follow.

          5.     Both also believed and understood, based on the fact that Le.banon has no
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extradition treaty with Japan, that they would likely never be surrendered or deported to Japan by

Lebanese authorities, if they chose to st.ay there. Despite that understanding, they both chose to

return to their home in Massachusetts.

       I declare under penalty of perjury that the foregoing is trne and correct.




Executed on June 22, 2020




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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS


    IN THE MATTER OF THE EXTRADITION
    OF MICHAEL L. TAYLOR                            No. 20-mj-1069-DLC


    IN THE MATTER OF THE EXTRADITION
    OF PETER M. TAYLOR                              No. 20-mj-1070-DLC


      MEMORANDUM ON RESPONDENTS’ MOTION TO QUASH ARREST WARRANTS
                    OR FOR RELEASE FROM DETENTION

CABELL, U.S.M.J.

I.      INTRODUCTION

        In January 2020, a Japanese court issued arrest warrants for

respondents1      Michael     Taylor   and    his   son,   Peter    Taylor,     for

allegedly facilitating the escape of former Nissan CEO Carlos Ghosn

from Japan, where Ghosn was facing significant criminal charges,

to Lebanon.        The warrants sought the Taylors’ arrests for the

“harboring of criminals and accessoryship of violation of the

Immigration Control and Refugee Recognition Act (Article 71, 25

II) case.”      (D. 17-1, 17-2).

        After learning that the respondents had returned to the United

States from the United Arab Emirates, which has no extradition

treaty with Japan, the government of Japan requested that the



1 The requested party in an extradition proceeding has been referred to by
various names over time, including “defendant,” “respondent,” “petitioner” or
“relator.” See, e.g., United States v. Ramnath, 533 F. Supp. 2d 662, 664 n.2
(E.D. Tex. 2008). When not referring to the Taylors by their proper names,
the court uses the term “respondent” here.
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United     States    issue     provisional        arrest       warrants   for     the

respondents     pursuant      to   the   two    countries’      joint   extradition

treaty.      (D. 1); Treaty on Extradition, U.S.-Japan, art. IX,

effective Mar. 26, 1980, 31 U.S.T. 892 (the Treaty).                      On May 6,

2020, the United States filed a complaint in support of the

respondents’      provisional       arrests      towards     extradition.         The

complaint indicated among other things that Japanese officials had

charged the Taylors with violating Article 103 of the Japanese

Penal Code, which prohibits one from harboring a criminal or

helping the criminal to escape.2               This court issued the requested

provisional arrest warrants and the respondents were arrested on

May 20, 2020.       (D. 8).

       Against that backdrop, the respondents moved on June 8, 2020

to quash the provisional arrest warrants or alternatively to be

released on bail pending a formal extradition hearing.                     (D. 17).

The court convened a hearing on the motion on June 22, 2020.                      (D.

30).     Subsequently, on June 29, 2020, and while the motion was

still    pending,     Japan    submitted        its   formal    request    for    the

respondents’      extradition       to   the     State     Department     (D.    37),

effectively mooting any issues relating to the legitimacy of the

provisional arrest warrants, and leaving only the issue of bail


2 Article 103 provides as follows: “A person who harbors or enables the
escape of another person who has either committed a crime punishable with a
fine or greater punishment or has escaped from confinement shall be punished
by imprisonment with work for not more than 2 years or a fine of not more
than 200,000 yen.”

                                          2
      Case
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for consideration.       See, e.g., Martinez v. United States, 828 F.3d

451, 470 (6th Cir. 2016) (since provisional arrest ended when

Mexico submitted its formal extradition request, challenges to

provisional arrest were moot); United States v. Yee-Chun, 657 F.

Supp. 1270, 1271 n.1 (S.D.N.Y. 1987) (same).              On July 7, 2020, the

court issued an order denying the respondents’ motion for bail.3

This memorandum sets forth the court’s reasoning.

II.   FACTUAL ALLEGATIONS

      As the world entered the year 2020, it learned that Ghosn,

awaiting trial in Japan on serious financial charges, had fled

from Japan to Lebanon to avoid prosecution.               Notably, Lebanon has

no    extradition    treaty     with     Japan,    seriously      impacting    the

possibility of bringing Ghosn to trial.             Japan contends that the

respondents masterminded Ghosn’s escape.

      According     to    the    government’s       complaint,       immigration

documents    and    surveillance       video   indicate    that    Peter   Taylor

traveled to Japan at least three times and visited Ghosn on at

least seven occasions in the months preceding the escape.4                    Then,

on December 28, 2019, Peter Taylor arrived in Tokyo and checked

into a room at the Grand Hyatt.              Ghosn then arrived at the Grand

Hyatt and met with Peter Taylor for about an hour.


3 Both parties submitted post-hearing supplemental pleadings which the court
has considered in ruling on the respondents’ motion.

4 Authorities installed surveillance video at Ghosn’s Japanese home as a
condition of his bail.

                                         3
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      On December 29, 2019, Michael Taylor and a third individual,

George-Antoine Zayek, traveled on a private jet from Dubai, United

Arab Emirates, to Japan’s Kansai International Airport. At Kansai,

Michael Taylor and Zayek carried large black audio equipment-style

cases and told airport workers that they were musicians.

      From Kansai, Michael Taylor and Zayek checked into the Star

Gate Hotel Kansai.      After placing the cases in one of their rooms,

they caught a train bound for Tokyo at about noon.

      At 2:30 p.m., also on December 29th, Ghosn left his home

without luggage and walked to the Grand Hyatt, where he apparently

changed into clothing from luggage that had been dropped off and

received by Peter Taylor earlier in the day.                Michael Taylor and

Zayek arrived in Tokyo at about 3:30 p.m. and went to Peter

Taylor’s room at the Grant Hyatt. Shortly thereafter, the Taylors,

Ghosn, and Zayek left Peter Taylor’s room at the same time, each

carrying luggage.

      Peter Taylor then traveled to the Narita Airport to catch a

flight to China.     However, Ghosn, Michael Taylor, and Zayek caught

a train back to the Kansai Airport area and returned to the Star

Gate Hotel Kansai at approximately 8:15 p.m.            At about 10:00 p.m.,

Michael Taylor and Zayek left the hotel with luggage, including

the   two    audio-style      cases,    and    went    to    Kansai    Airport.

Surveillance footage did not show Ghosn leaving the hotel.



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     Once at the airport, the baggage of Michael Taylor and Zayek

was loaded onto their private jet without being checked.              The jet

departed for Turkey at about 11:00 p.m.            On December 31, 2019,

Ghosn announced that he was in Lebanon.

III. DISCUSSION

     A. Legal Standard

     Extraditions are not regular criminal proceedings and the

familiar standards of the Bail Reform Act, 18 U.S.C. §3141,

therefore do not control.      See, e.g., Kamrin v. United States, 725

F.2d 1225, 1228 (9th Cir. 1984).         Instead, there is a presumption

against bail in extradition cases and in favor of detention, and

respondents must demonstrate “special circumstances” that justify

their release on bail.       United States v. Kin-Hong, 83 F.3d 523,

524 (1st Cir. 1996) (citing Wright v. Henkel, 190 U.S. 40, 63

(1903)).   The rationale behind the presumption against bail is

that “extradition cases involve an overriding national interest in

complying with treaty obligations” and ensuring that the putative

extraditee is delivered to the requesting country.            United States

v. Taitz, 130 F.R.D. 442, 444 (S.D. Cal. 1990).

     Determining whether a case presents special circumstances is

a case specific endeavor and “the list of potential ‘special

circumstances' is not limited to those previously recognized in

published decisions.”     United States v. Castaneda-Castillo, 739 F.

Supp. 2d 49, 56 (D. Mass. 2010) (citing In re Extradition of

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Gonzalez, 52 F. Supp. 2d 725, 736 (W.D. La. 1999)).                                  Special

circumstances,       though,      have    typically          been     limited     to     those

“situations where ‘the justification is pressing as well as plain,’

...    or   ‘in    the    most    pressing          circumstances,          and   when    the

requirements of justice are absolutely peremptory.’ ”                                  In re

Extradition of Drumm, 150 F. Supp. 3d 92, 96 (D. Mass 2015)

(quoting United States v. Williams, 611 F.2d 914, 915 (1st Cir.

1979) (citations omitted)).           Courts therefore have found that bail

is    appropriate    only    where       the       respondent’s       circumstances        are

“extraordinary” and will subject the respondent to difficulties

beyond those “applicable to all defendants facing extradition.”

Id. (citing In re Extradition of Nacif–Borge, 829 F. Supp. 1210,

1216 (D. Nev. 1993) (citations omitted)).

       Accordingly,       courts      have         granted     bail     in    only       truly

remarkable        circumstances       and          often     when     multiple       special

circumstances        bear        in   the           respondent’s        favor.             See

e.g., Castaneda–Castillo, 739 F. Supp. 2d at 58–64 (combination of

charge pending in Peru more than twenty–five years, incarcerated

five years pursuing amnesty petition, facing lengthy extradition

proceeding); In re Extradition of Santos, 473 F. Supp. 2d 1030,

1035–1036 (C.D. Cal. 2006) (combination of delay and a high degree

of    uncertainty        regarding       the       merits     of      the    request       for

extradition); In re Extradition of Molnar, 182 F. Supp. 2d 684,

687 (N.D. Ill. 2002) (combination of financial assistance to

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seriously ill mother, circumstances of arrest, lengthy extradition

proceedings, and criminal charges dropped and then reinstated when

petitioner left Hungary); see also Hu Yau–Leung v. Soscia, 649

F.2d 914 (2d Cir. 1981) (absence of a suitable facility in which

to detain juvenile extraditee); In re Mitchell, 171 F. 289, 290

(S.D.N.Y. 1909) (risk of petitioner’s loss of “all his fortune” if

not permitted to complete his participation in a civil proceeding

underway at the time of his arrest).

     In    addition   to    establishing      special    circumstances,     a

respondent must show by clear and convincing evidence that he is

neither a flight risk nor a danger to the community.              Castaneda-

Castillo, 739 F. Supp. 2d at 55.         Special circumstances and flight

risk/danger are both prerequisites to establishing entitlement to

bail in an extradition case and a court logically can address

either prong first.        United States v. Ramnath, 533 F. Supp. 2d

662, 665 n.3 (E.D. Tex. 2008).

     B.    Special Circumstances

     Turning first to the issue of special circumstances, the

respondents argue that special circumstances exist in this case

because:   (1) they have a high likelihood of success on the merits

with respect to the Japanese criminal prosecution; (2) they have

already been adjudicated “not guilty” by a third country; (3)

Michael Taylor has significant family responsibilities; and (4)

detention will subject the respondents to a high risk of exposure

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to the COVID-19 virus.     The respondents argue further that even if

each of these circumstances alone is insufficient to constitute a

special circumstance, they constitute a special circumstance when

considered together.       The court addresses each of the grounds

separately and then as a whole.

          1. Likelihood of Success on the Merits

     The Taylors contend that the underlying criminal case against

them is fatally flawed.         Some courts have held that a “high

probability” or “substantial likelihood” of success in defeating

the anticipated foreign prosecution may appropriately qualify as

a special circumstance.       See, e.g., Kin-Hong, 83 F.3d at 524-25

(“high probability of success”); Salerno v. United States, 878

F.2d 317 (9th Cir. 1989) (“high probability of success”); Ramnath,

533 F. Supp. 2d at 682 (“substantial likelihood”); Taitz, 130

F.R.D. at 444 (“high probability of success”).            Although not all

courts agree, see, e.g., United States v. Risner, No. 3:18-MJ-765-

BN, 2018 WL 6809796, at *12 (N.D. Tex. Dec. 27, 2018), this court

presumes that a high probability or substantial likelihood of

success may qualify as a special circumstance.

     The Taylors argue that even assuming they helped Ghosn flee

Japan, their conduct was not unlawful because Penal Code Article

103 does not make it criminal to assist a person’s escape unless

that person escapes from “confinement.”         According to the Taylors,

the term “confinement” under Japanese law means actual physical

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detention, and Ghosn was not confined at the time of his escape

because he had been released on bail.           Thus, while Ghosn may have

“jumped bail,” he did not escape from confinement within the

meaning of Article 103.          Consequently, contend the Taylors, they

cannot be found to have violated Article 103 where Ghosn was not

confined. To underscore this point, the respondents have submitted

various news articles as well as the declaration of a professor

from a Japanese law school noting that “bail jumping” itself is

not a crime in Japan. The court credits the respondents’ assertion

that “bail jumping” is not a crime in Japan but still does not

find this argument persuasive.

      The principal problem with the respondents’ argument is that

it   simply   ignores    other    unambiguous    language    in    Article    103

providing that the provision also applies to anyone who “harbors

or enables the escape of another person who has. . .committed a

crime,” without regard to whether the criminal was or was not in

confinement.     The respondents would appear to fall squarely within

the heartland of this portion of Article 103 where Ghosn had been

charged with a crime and the respondents then reportedly harbored

and/or helped him to escape to avoid prosecution.                 Even assuming

that Ghosn himself did not violate Article 103 when he escaped

while on bail, that to this court is immaterial and would appear

to have no bearing on whether the respondents may be prosecuted as



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principals5 for harboring or enabling the escape of someone who

committed a crime.

     Notably,    the   government     has    cited     to   authority        provided

through the declaration of the Japanese prosecutor that Article

103 has indeed been used previously to successfully prosecute an

individual    who    helped    someone     who   was   indicted        but    not    in

confinement to escape.         (Declaration of Naoki Watanabe, D. 23-2,

¶ 12).     The respondents argue that the offered precedent is

distinguishable and not analogous.           Perhaps, perhaps not, but the

court is not versed in the nuances of Japanese criminal law and is

loath to attempt to decide an issue that should most appropriately

be decided by a Japanese court.            See, e.g., Skaftouros v. United

States, 667 F.3d 144, 156 (2d Cir. 2011) (“[I]t has long been

recognized    that     an     extradition    judge     should      avoid      making

determinations      regarding    foreign    law.”).         In   any    event,      the

respondents have not pointed to any authority holding or suggesting

that Article 103 cannot apply to someone who harbors a bailed

defendant or helps him to escape.

     In sum, even assuming arguendo that the respondents have a

potentially non-frivolous legal defense, they have not here shown


5 The respondents also contend that because bail jumping is not a crime in
Japan, punishing the respondents where Ghosn could not be punished would run
afoul of another provision of Japan’s Penal Code, Article 63, which provides
that the punishment of an accessory shall be less than that for a principal.
As with their primary argument, however, this argument fails to appreciate
that the respondents have not been charged as accessories to Ghosn’s bail
jumping, but rather have been charged as principals for harboring or enabling
a criminal’s escape.

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a “high probability” or “substantial likelihood” of success on the

merits.      This ground therefore does not constitute a special

circumstance.

             2. Prior Adjudication by a Third Country

       The respondents ask the court to consider that                    a third

country,     Lebanon,     has     already     considered    their   conduct      and

determined that they did not commit a crime.                In support of this

claim, the respondents have submitted a declaration from a Lebanese

attorney who claims that the Lebanese prosecutor overseeing the

investigation of the Taylors in Lebanon “close[d] the case” after

a family member of the Taylors asked the prosecutor to “proceed

with the investigation.”           According to the Lebanese attorney (as

opposed to the prosecutor), the closing of the case rendered the

respondents     “not     guilty    before     Lebanese   jurisdictions      of   any

criminal act in the alleged unlawful departure of Mr. Carlos Ghosn

from Japan . . . .”           (Declaration of Naoum Toubia Farah, D. 17-

11).

       The Taylors argue that this development constitutes a special

circumstance because Article IV, Section 2 of the Treaty provides

that “[t]he requested Party may refuse extradition when the person

sought has been tried and acquitted, or has undergone the execution

of   punishment     in    a   third    State    for   the   offense   for     which

extradition is requested.”            As such, the respondents suggest that

they stand a more colorable chance of avoiding extradition as a

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result of the Lebanese prosecutor’s declination.                   This argument

has    no   force.     To   state    the     obvious,   the    respondents     were

apparently not even charged with an offense in Lebanon, let alone

“tried and acquitted.”            The Treaty provision cited is thus not

even remotely implicated and provides no basis for relief here.

Moreover, because considerations of whether to grant or refuse

extradition rest exclusively with the Executive branch, and would

not take place until much later, after a court has determined

extraditability, the possibility of obtaining protection through

this Treaty provision is simply too speculative a ground at present

to constitute a special circumstance warranting bail.

              3. Family Responsibilities

       Michael    Taylor    argues     that    he    has   significant    family

responsibilities militating in favor of his release.                 Among other

things, he claims (and the court credits) that he has been the

sole    caregiver    for    his    81-year-old      adoptive   stepfather,      who

suffers from many health issues, and his detention therefore would

cause a significant struggle for the Taylor family, who have had

to ask another of Mr. Taylor’s sons as well as neighbors to assist

in his absence.

       The court is sympathetic to Mr. Taylor’s situation and credits

that    his   continued     detention      would    meaningfully    disrupt    the

routine of care previously in place to address his stepfather’s

needs.      As the government notes, though, detention commonly acts

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to deprive a family or loved one of the support of a helpful and

vital member.    Extradition courts for that reason have rejected

familial caretaking responsibilities as a special circumstance.

See, e.g., In re Extradition of Russell, 805 F.2d 1215, 1217 (5th

Cir. 1986) (“[F]inancial and emotional hardship [on family members

is] present in almost all cases.”); Drumm, 150 F. Supp. 3d at 99–

100 (citing Castaneda–Castillo, 739 F. Supp. 2d at 57) (providing

financial and emotional support not a special circumstance); Duca

v. United States, No. 95-cv-713, 1995 WL 428636, at *15, 16

(E.D.N.Y. July 7, 1995) (finding wife’s advanced dementia not to

constitute a special circumstance), aff’d sub nom. Lo Duca v.

United States, 93 F.3d 1100 (2d Cir. 1996).                Accordingly, Mr.

Taylor’s   family   responsibilities      do   not   constitute     a    special

circumstance weighing in favor of release.

            4. Issues Relating to COVID-19

     The respondents argue without great elaboration that “an

outbreak” of the COVID-19 virus at the Norfolk County Correctional

Facility (Norfolk) where they are being held should be deemed a

special    circumstance   warranting      bail.      The   health       concerns

relating to the virus are well known but the court does not find

them to be a special circumstance on the basis of the present

record.

     As    an   initial    matter,    the      respondents    offer       little

information to meaningfully assess the severity of the risk of

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exposure or infection should they remain detained at Norfolk

pending the resolution of the extradition proceedings. To be sure,

they note, and the court credits, that the number of people testing

positive for the virus at Norfolk increased from four to 35 between

May 26 and June 18, 2020.       They assert further that Michael Taylor

is 59 years old and has had part of one lung removed due to a

fungal   infection,     which   may   place   him   at   a   higher   risk   of

complications from COVID-19 than the general public.

     That being said, the respondents fail to provide medical

records for Michael Taylor or any physician’s opinion that he is

at a particularly greater risk for complications should he contract

the virus.     Moreover, the government has submitted the unrefuted

declaration of the Assistant Deputy Superintendent at Norfolk, who

avers among other things that no one housed in the unit where the

respondents are being held has tested positive for the virus.

Further, the facility continues to employ significant measures to

ensure   the   safety    of   its   population,     including   placing      new

detainees in quarantine for 14 days; suspending family and friend

visits; requiring the use of masks; and cleaning housing units

three times per day. (D. 23-4, Declaration of Danielle Boomhower).

     The court is mindful that the severity of the risks posed to

any detainee by the COVID-19 virus depends on several variables

and may change quickly, such that conditions at Norfolk could at



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some future point yet constitute a special circumstance.                      The

record does not support such a finding at present, however.

              5. Combination of Circumstances

      Finally, the respondents argue that the grounds offered above

amount to a special circumstance if considered together, even if

no ground standing alone suffices.           For the reasons noted above,

however, none of the grounds offered is exceptional and they fail

in the court’s view to amount to a special circumstance even when

viewed   in    the   aggregate.      Even    were   the   court   to   conclude

otherwise,      detention    would   still    be    warranted     because     the

respondents have not demonstrated by clear and convincing evidence

that their release would not pose an unreasonable risk of flight.

      C. Risk of Flight and Danger to the Community

      As noted, a respondent bears the burden of demonstrating by

clear and convincing evidence that he is neither a risk of

flight nor a danger to the community.           Drumm, 150 F. Supp. 3d at

96.   No one seriously argues that the respondents’ release would

pose a danger to the community.          The government argues however

that each poses an “exceptional” risk of flight.

              1. Michael Taylor

      In arguing that he does not pose a flight risk, Michael

Taylor stresses that he voluntarily returned to the United

States from Lebanon despite knowing of the Japanese warrants and

the existence of the extradition treaty.            He concedes that he

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has strong ties to Lebanon, where his wife is from and where he

owns a home, but contends that he returned to the United States

on his own, despite these ties, and despite the fact that

remaining in Lebanon would have effectively shielded him from an

extradition process he knew was likely to ensue.

         Mr. Taylor further points out that he has on two prior

occasions in 2007 and 2012 returned to the United States to

answer charges against him.           With respect to the 2012 charges,

Mr. Taylor states that while he did plead guilty to honest

services wire fraud, he was eventually released for 16 months

pending sentencing and during that time fully complied with all

conditions of release, and even assisted federal law enforcement

in a complex overseas investigation.

         Finally, Mr. Taylor offers that the maximum punishment for

his alleged offense in Japan is three6 years, and likely to be

less in reality, giving him little incentive to flee.

         The points raised by Mr. Taylor are not insubstantial and

in a routine domestic criminal matter might provide a strong

basis to warrant release on bail with conditions.                 In this case,

however, they fail in light of the charges and Mr. Taylor’s past

to persuade by clear and convincing evidence that he is not

likely to flee.        As the magistrate judge, district judge, and




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    The maximum penalty under Article 103 is in fact two years.

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Tenth Circuit Court of Appeals all agreed in Mr. Taylor’s 2012

case, there was “ample” evidence that he posed a flight risk due

to his planning skills and experience with clandestine

operations.   United States v. Taylor, 524 F. App'x 386, 387

(10th Cir. 2013).

    And since then, of course, Mr. Taylor is alleged to have

used his skills and experience to plan and execute a most

intricate, sophisticated, and deceptive scheme spanning several

countries and most surely requiring massive expenditures of time

and money.    Even assuming Mr. Taylor now sincerely harbors a

belief that he is not likely to be convicted or face a serious

term of incarceration if extradited and convicted, and would

intend to spend his time caring for his stepfather, those

factors do not come close to mitigating the risk that would

otherwise be posed by his release, particularly where he has

strong ties to Lebanon and apparently has (along with Peter

Taylor) substantial resources that could be exploited, including

approximately $860,000 Ghosn appears to have wired in October

2019 to a limited liability corporation controlled by Peter

Taylor and his brother.      See D. 38.     In light of these facts and

the spectacular allegations underlying the Japanese case, the

respondent does not merit the benefit of any doubt.




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            2. Peter Taylor

      The court finds for similar reasons that Peter Taylor has

not demonstrated by clear and convincing evidence that he would

not flee if released.       Among other things, he has strong ties to

Lebanon, completed his college education there, and in fact

recently resided there while trying to establish the family’s

business.    Moreover, he reportedly played a significant role in

facilitating Ghosn’s escape from Japan.            This included traveling

to Japan on multiple occasions to meet with Ghosn in advance of

the escape and coordinating Ghosn’s transition to the Grand

Hyatt.   At a minimum the facts reflect a greater than passing

experience in covert international planning.

IV.   CONCLUSION

      For the foregoing reasons, the Respondents’ Motion To Quash

Arrest Warrants Or, In The Alternative, For Release Pending

Final Disposition On Request For Extradition (D. 17) is DENIED.



                                            /s/ Donald L. Cabell
                                            DONALD L. CABELL, U.S.M.J.


DATED:   July 10, 2020




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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

MICHAEL L. TAYLOR and                         *
PETER M. TAYLOR,                              *
                                              *
               Petitioners,                   *
                                              *
               v.                             *              Civil No. 4:20-cv-11272-IT
                                              *
JEROME P. MCDERMOTT, Sheriff,                 *
Norfolk County, Massachusetts, and            *
JOHN GIBBONS, United States Marshal,          *
District of Massachusetts,                    *
                                              *
               Respondents.                   *

                                MEMORANDUM AND ORDER

                                          August 7, 2020
TALWANI, D.J.

       Petitioners Michael Taylor and Peter Taylor allegedly assisted Carlos Ghosn Bichara, the

former Chairman of the Board of Directors and Chief Executive Officer of Nissan Motor Co.

Ltd., leave Japan after he was indicted by a Japanese court for financial crimes. The Taylors

were arrested in this District on May 20, 2020, and are currently being held at the Norfolk

County Correctional Facility (“Norfolk”) pending an extradition hearing. Before the court are the

Petitioners’ Emergency Petition for Habeas Corpus Pursuant to 28 U.S.C. § 2241 and Injunctive

Relief [#1] and Motion for Preliminary Injunction [#2], seeking immediate release without

conditions on the ground that they are being detained in violation of the law, and alternatively,

immediate release subject to reasonable conditions, on the ground that they were improperly

denied bail and to protect them from COVID-19. For the following reasons, Petitioners’ habeas

petition and motion for preliminary injunction are DENIED.
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        I.      Background

        In 2018, Carlos Ghosn Bichara (“Ghosn”) was indicted by a Japanese court for financial

crimes allegedly committed during his tenure as the CEO and/or Chairman of the Board of

Directors at Nissan Motor Co., Ltd. (“Nissan”). See Ex. F – Michael Taylor Extradition Req.

Part IV, ¶¶ 1-2 [#41-6]. Ghosn was later released on bond and conditions, including that he was

forbidden from leaving Japan. Id. at Part IV, ¶ 4. At the end of December 2019, Ghosn secretly

left the country, despite the terms of his bail.

        On January 30, 2020, and February 28, 2020, a Japanese court issued and reissued

warrants for Petitioners’ arrest for “harboring of criminals and accessoryship of violation of the

Immigration Control and Refugee Recognition Act (Article 71, 25 II).” Ex. I – Original Arrest

Warrants [#41-9]; Ex. J – Renewed Arrest Warrants [#41-10].

        Michael Taylor returned to the United States from Lebanon on February 23, 2020. Peter

Taylor followed on March 15, 2020.

        The government of Japan subsequently requested the United States issue provisional

arrest warrants pursuant to the Treaty governing extradition between the United States and Japan.

Treaty on Extradition, U.S.-Japan, effective Mar. 26, 1980, 31 U.S.T. 892, (the “Treaty”) Ex. E –

[#41-5]. The United States thereafter filed complaints pursuant to 18 U.S.C. § 3184 with a

Magistrate Judge, asserting that the Taylors had violated Article 103 of the Japanese Penal Code.

See Ex. A – Michael Taylor Compl. [#38-2]; Ex. B – Peter Taylor Compl. [#38-3].1 The



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  The full proceedings before the Magistrate Judge are docketed at In the Matter of the
Extradition of Michael L. Taylor, No. 20-mj-1069-DLC (D. Mass) (“Michael Taylor MJ
Docket”), and In the Matter of the Extradition of Peter Taylor, No. 20-mj-1070-DLC (D. Mass.).
For convenience, where those dockets are referenced, and the same or similar documents are
filed on both dockets, (albeit with slightly different numbering), the court has cited to the
Michael Taylor MJ Docket.

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Magistrate Judge issued the requested warrants and the Taylors were arrested on May 20, 2020.

The United States moved for detention and the Taylors were detained pending a request for a

detention hearing. United States’ Mot. for Detention, Michael Taylor MJ Docket (May 20,

2020), ECF No. 9; Elec. Clerk Notes, Michael Taylor MJ Docket (May 20, 2020), ECF No. 11.

The Taylors subsequently moved to quash their arrest warrants or for release from detention. See

Mot. to Quash Arrest Warrants or for Release from Detention, Michael Taylor MJ Docket (June

8, 2020), ECF No. 17. The Magistrate Judge held a hearing on these motions on June 22, 2020,

and took the matters under advisement.

       While the motions were pending, Japan submitted its formal extradition request. Notice

of Japan’s Submission of Req. for Extradition, Michael Taylor MJ Docket (July 2, 2020) ECF

No. 37; Ex. K – Extradition Req. Transmittal [#41-11]; see also Ex. F – Extradition Req. for

Michael Taylor [#41-6]. The parties also filed further briefing and supplemental authorities with

the Magistrate Judge.

       On July 6, 2020, the Taylors filed with this court the pending petition for a writ of habeas

corpus pursuant to 28 U.S.C. § 2241 [#1] and a Motion for Temporary Restraining Order and

Preliminary Injunction [#2].

       The following day, the Magistrate Judge issued electronic orders denying the Motion to

Quash or for Release from Detention pending before him. Elec. Order, Michael Taylor MJ

Docket (July 7, 2020) ECF No. 40. Shortly thereafter, the Magistrate Judge issued his written

decision providing reasoning for denying Petitioners’ motion, finding Petitioners’ challenge to

the provisional arrests mooted by Japan’s formal extradition request, and further finding that bail

was not warranted as the Taylors pose a flight risk and failed to establish special circumstances

warranting bail. Magistrate Judge’s Mem. on Resps.’ Mot. to Quash Arrest Warrants or for



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Release from Detention, Michael Taylor MJ Docket (July 10, 2020) ECF No. 41, (“Magistrate

Judge’s Decision”). An extradition hearing in front of the Magistrate Judge is currently set for

August 28, 2020. See Elec. Notice of Hr’g, Michael Taylor MJ Docket (August 4, 2020) ECF

No. 47.

          Meanwhile, this court denied Petitioners’ requested temporary restraining order and set

the matter for further hearing. Elec. Order [#33]. The parties submitted further briefing, see

Pet’rs’’ Mem. in Supp. of Mot. for Prelim. Inj. (“Pet’rs’ Mem.”) [#38]; Government’s Opp’n to

Mot. for Prelim. Inj. and Resp. to Habeas Pet. (“Gov’s Opp’n”) [#41], and the court heard

argument and took the matter under advisement.

          II.    Analysis

          The Taylors seek a preliminary injunction ordering their immediate release from custody,

or, alternatively, an order reversing the Magistrate Judge’s denial of bail, arguing that special

circumstances and evidence that the Taylors are not flight risks warrant such a conditional

release. They additionally ask for release based on the government’s alleged deliberate

indifference to the risk posed by COVID-19.

                 A. Bail Determination

          Bail decisions are properly challenged prior to an extradition hearing via a petition for a

writ of habeas corpus. Drumm v. McDonald, 2016 WL 111411, at *1 n.1 (D. Mass. Jan. 11,

2016). “There is a presumption against bail in extradition cases and only ‘special circumstances’

justify release on bail.” United States v. Kin-Hong, 83 F.3d 523, 524 (1st Cir. 1996)

(quoting Wright v. Henkel, 190 U.S. 40, 63 (1903)). In addition to establishing special

circumstances, the extraditee also bears the burden of establishing by clear and convincing

evidence that he is not a flight risk or a danger to the community. United States v. Castaneda-



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Castillo, 739 F. Supp. 2d 49, 55 (D. Mass. 2010) (internal citation omitted). Special

circumstances must “be more or less unique to the supplicant and not be one that is applicable to

extraditees generally,” Drumm, 2016 WL 111411, at *3, and are limited to “situations where the

justification [for bail] is pressing as well as plain.” United States v. Williams, 611 F.2d 914, 915

(1st Cir. 1979) (per curiam) (internal citation omitted). However, the determination of special

circumstances is “case specific” and “the list of potential ‘special circumstances’ is not limited to

those previously recognized in published decisions.” Castaneda-Castillo, 739 F. Supp. 2d at 56

(quoting In re Extradition of Gonzalez, 52 F. Supp. 2d 725, 736 (W.D. La. 1999)).

       Review of a bail determination “is limited to the issue of whether or not there were

reasonable grounds for the Magistrate Judge’s denial of bail.” Kin-Hong v. United States, 926 F.

Supp. 1180, 1184 (D. Mass. 1996), rev’d on other grounds, 83 F.3d 523; see also Drumm, 2016

WL 111411, at *3 (“[t]he determination of what constitutes a ‘special circumstance’ is fact–

intensive and largely left to the Magistrate Judge’s discretion . . .”). In reviewing the bail

decision, the court defers to the Magistrate Judge’s factual findings and reviews legal

determinations de novo. Kin-Hong, 926 F. Supp. at 1184.

               a. The Magistrate Judge’s Decision

       In his decision on Petitioners’ bail request, the Magistrate Judge considered each of the

four asserted special circumstances and found that the circumstances, individually and in the

aggregate, did not warrant bail.

       First, the Magistrate Judge rejected Petitioners’ argument that they have a high

probability of success in challenging their extradition based on a contention that their conduct

was not unlawful under Article 103 of the Japanese Penal Code. In finding the contention

unpersuasive, the Magistrate Judge observed that, based on the text of the statute and evidence



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submitted by the Japanese government, the Taylors’ conduct appeared to “fall squarely within

the heartland” of conduct criminalized by Article 103. Magistrate Judge’s Decision 9-11.

Accordingly, while the Magistrate Judge assumed that Petitioners may be able to present a non-

frivolous legal defense along these grounds, he found they did not establish the high likelihood

of success necessary to potentially merit release on bail. Id. at 10-11.

       Second, while acknowledging that Article IV § 2 of the Treaty allows for the denial of

extradition if the extraditee has been “tried and acquitted” of the charged offense in a third

country, the Magistrate Judge found that Petitioners were not, in fact, effectively “tried and

acquitted” by the Lebanese judicial system despite Petitioners’ contention to the contrary. Id. at

11-12. Though he noted evidence that a Lebanese prosecutor was asked to investigate the case at

the behest of the Taylor family and decided to close the case without bringing charges, the

Magistrate Judge found Petitioners’ argument to have “no force” without a showing that they

were actually “tried and acquitted,” as defined by the terms of the Treaty. Id. Furthermore, the

Magistrate Judge reasoned that the question of Article IV § 2’s application was better suited for

consideration by the executive branch after a determination on extraditability. Id. at 12.

       Third, the Magistrate Judge recognized that ongoing detention prevented Michael Taylor

from continuing in his role as the primary caretaker for his stepfather who faces heightened risks

from COVID-19 because of his age and health. Id. However, the Magistrate Judge found that this

concern was not unique to Michael Taylor, as opposed to other extraditees also separated from

loved ones while in detention, and so declined to grant bail on this basis. Id. at 12-13.

       Fourth, while the Magistrate Judge credited Petitioners’ report that 35 inmates at Norfolk

had in the past tested positive for COVID-19 and that Michael Taylor’s medical history may put

him at higher risk if he contracts the disease, he found the risk posed by COVID-19 did not, on



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its own, merit bail. Id. at 13-15. In so ruling, the Magistrate Judge took into account the

government’s evidence that no one has tested positive in the unit where the Taylors are located,

there are no current active cases of the virus in the entire prison, and that Norfolk has

implemented significant measures to protect the prison population. Id. at 14-15.

       Finally, the Magistrate Judge found that these factors, in aggregate, did not amount to the

necessary special circumstances to warrant bail. Id. at 15.

       The Magistrate Judge also made individualized rulings as to the Taylors’ risk of flight. Id.

at 15-18. He first acknowledged that Michael Taylor provided “not insubstantial” arguments for

why he was not a flight risk, including his voluntary return to the United States despite

knowledge of the Japanese warrants, prior decisions to return to the United States to face

criminal charges, and low incentive to flee given the relatively short jail sentence he could

receive if convicted in Japan. Id. at 15-16. However, “in light of the charges and Mr. Taylor’s

past,” the Magistrate Judge nonetheless found that Michael Taylor failed to meet his burden to

show, by clear and convincing evidence, that he was not likely to flee. Id. at 16. For this finding,

the Magistrate Judge cited Michael Taylor’s experience with clandestine operations, previous

determinations by Utah courts who denied him release during a case in 2012 in part on the basis

of his ability to effectuate flight, his strong ties to Lebanon, and that the pending charges allege

that Michael Taylor “used his skills and experience to plan and execute a most intricate,

sophisticated, and deceptive scheme.” Id. at 16-17.

       The Magistrate Judge also found Peter Taylor failed to meet his burden on the question of

flight risk for “similar reasons.” Id. at 18. The Magistrate Judge specifically highlighted Peter

Taylor’s strong ties to Lebanon, including that he had lived in the country until recently while

trying to establish the family business there, and his role alongside Michael Taylor in facilitating



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Ghosn’s escape from Japan. Id.

               b. Review of Special Circumstances

                       i. High Probability of Success

       As the First Circuit has pointed out, courts have listed a high probability of success in

defeating an extradition request as a “special circumstance” for granting release on bail. Kin-

Hong, 83 F.3d at 524 (citing Salerno v. United States, 878 F.2d 317, 317 (9th Cir. 1989)).

Petitioners argue this applies here and that they have a high probability of success in challenging

extradition. They assert, without contesting the factual allegations underlying the extradition

request, that Japan is misinterpreting its own law by applying Article 103 to their conduct and

that, therefore, they have not committed an extraditable crime.2 Pet’rs’ Mem. 15-24, 30-31 [#38].

They further assert the Magistrate Judge failed to adequately weigh evidence presented by their

expert, Professor William Cleary of Hiroshima Shudo University. Id. at 22 (citing Ex. C –

William Cleary Decl. [#38-14]; Ex. D – Suppl. William Cleary Decl. [#38-15]); see also Ex. P –

Second Suppl. William Cleary Decl. [#38-27].

       As an initial observation, Petitioners seek to establish a high probability of success in

defeating the extradition request through a piercing inquiry into Japanese law. They offer no

cases where a court has granted release on the ground that a foreign nation has misinterpreted its

own law, and it seems a steep path for Petitioners to succeed in this argument, given necessary



2
  Under Article III of the Treaty states that “[e]xtradition shall be granted only if there is
sufficient evidence to prove either that there is probable cause to suspect, according to the laws
of the requested Party, that the person sought has committed the offense for which extradition is
requested . . . .” Ex. E – Treaty [#41-5]. Article II defines crimes covered by the Treaty as those
“punishable by the federal laws of [the United States and by the laws of Japan] by death, by life
imprisonment, or by deprivation of liberty for a period of more than one year.” Id.
Individuals convicted of violating Article 103 face a maximum imprisonment of 3 years. See Ex.
Q – Masayuki Yoshida Decl. ¶ 6 n.1 [#41-17].

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deference to foreign countries’ understanding of their own law and as courts liberally construe

the scope of extradition treaties. See Grin v. Shine, 187 U.S. 181, 190 (1902) (stating that, in the

context of extradition, “it can hardly be expected of us that we should become conversant with

the criminal laws of [the requesting country], or with the forms of warrants of arrest used for the

apprehension of criminals.”); United States v. Kin-Hong, 110 F.3d 103, 110 (1st Cir. 1997)

(“extradition treaties, unlike criminal statutes, are to be construed liberally in favor of

enforcement because they are ‘in the interest of justice and friendly international relationships.’”)

(quoting in part Factor v. Laubenheimer, 290 U.S. 276, 298 (1933)). In addition, extradition is

neither a civil nor a criminal proceeding and the role of the judiciary in the process is limited.

See In re Extradition of Hilton, 2013 WL 1891327, at *3 (D. Mass. May 3, 2013) (“An

extradition proceeding is not an ordinary Article III case or controversy and it is not a criminal

proceeding.”) (citation omitted); see also In re Extradition of Howard, 996 F.2d 1320, 1325 (1st

Cir. 1993) (“an officer who presides over such a proceeding is not exercising ‘any part of the

judicial power of the United States.’”) (quoting in part In re Kaine, 55 U.S. (14 How.) 103, 120

(1852)). “[T]he procedures for extradition are governed by statute,” dividing responsibility

“between a judicial officer and the Secretary of State.” Kin-Hong, 110 F.3d at 109. Courts must

therefore be wary not to step into the realm of a foreign policy maker, reserved in the context of

extradition for the executive branch. See id. (stating Secretary of State retains “sole discretion to

determine whether or not [a person] should actually be extradited.”).3

       With these considerations in mind, Petitioners do not convince this court that they have a


3
  Petitioners urge this court to consider Japan’s alleged refusal to extradite indicted executives of
the Takata Corporation to the United States as part of an analysis of the United States’ treaty
obligation (and whether bail should be granted). See Pet’rs’ Mem. 2, 39 [#38]. Based on the
constitutional separation of powers, the court finds that matter outside the scope of what the
court may consider here.

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high likelihood of success in proving that Japan has misinterpreted its own law and that,

therefore, their conduct is not an extraditable crime pursuant to the Treaty.4

       Article 103 punishes “a person who [1] harbors or enables the escape of another person

[2] [a] who has either committed a crime . . . or [b] who has escaped from confinement.” Ex. O –

Japanese Treatise [#41-15] (numbering added by the court). The Petitioners’ expert, Professor

Cleary, argues that the verb toso translated to “escape from confinement” in the latter part of

Article 103, refers to an “escape from a place of physical confinement, such as a jail, prison or

detention center” and therefore does not apply to jumping bail. Ex. P – Second Suppl. William

Cleary Decl. ¶ 6 [#38-27].5 But this explanation is of little moment where Petitioners are also

charged with harboring or enabling the escape of a person who has “committed a crime.” Ex. K –

Extradition Req. Transmittal [#41-11].



4
  While Petitioners contend that the court has to interpret foreign law “especially in extradition
cases,” Petitioners cite a non-extradition case for this proposition, Animal Sci. Prod. Inc. v.
Hebei Welcome Farm Co., 138 S. Ct. 1865 (2018), and urge the court to apply Fed. R. Civ. P.
44.1, as cited by the Supreme Court in Animal Sci., as guidance for interpreting Japanese law. Id.
at 1869; Pet’rs’ Mem. 12-13 [#38]. Applying Animal Sci in the extradition context appears
dubious given the unique framework extradition proceedings operate within and given that
federal rules of procedure do not apply, but even under that case, the court would still be
required to accord “respectful consideration” and “substantial but not conclusive weight” to a
foreign government’s interpretation of its own law. Animal Sci., 138 S. Ct. at 1869, 1875.
5
  Some of Professor Cleary’s opinion is based on the assertion that the Requests for Arrest
Warrants only used the verb toso, not inpi and therefore did not apply to the Taylors’ alleged
conduct. Ex. P – Second Suppl. William Cleary Decl. ¶¶ 8-9 [#38-27]. However, the arrest
warrants named the Penal Code offense using the word han-nin-inpi, identifying the nature of the
offense in Article 103 instead of listing the statute number, as is asserted to be common practice
for arrest warrants in Japan. Ex. M – Naoki Watanabe Decl. ¶ 7 [#41-13]. And the Japanese
government asserts the arrest warrants included both the word inpi as well as toso. Ex. N –
Suppl. Naoki Watanabe Decl. ¶ 9 [#41-14]. Regardless, the parties do not appear to contest the
Magistrate Judge’s finding that the challenge to the arrest warrants, and the United States’
reliance on those warrants to obtain provisional arrest pursuant to the Treaty, was mooted by the
submission of a formal extradition request. See Magistrate Judge’s Decision 2-3 (citing Martinez
v. United States, 828 F.3d 451, 470 (6th Cir. 2016); United States v. Yee-Chun, 657 F. Supp.
1270, 1271 n.1 (S.D.N.Y. 1987)).

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       Professor Cleary asserts further that the statute does not apply here because bail jumping

is not, on its own, a crime under Japanese law. Ex. C – William Cleary Decl. ¶¶ 10-11, 15 [#38-

14]. However, whether “bail jumping” is a crime under Japanese law does not appear to affect

the applicability of Article 103 to the Taylors’ conduct. Ghosn’s alleged crime that positions him

as “another person who has . . . committed a crime” are the financial crimes for which he was

indicted. See Ex. Q – Masayuki Yoshida Decl. ¶ 7 [#41-17] (stating that the phrase “another

person who has . . . committed a crime” is understood to either mean an individual convicted of a

crime or an individual being investigated for committing a crime).

       Professor Cleary argues further that the verb used in the first part of Article 103 – inpi –

encompasses both to “harbor” and to “enable the escape of” but that this verb applies “a single

concept at describes working against law enforcement authorities’ active pursuit of a criminal to

arrest him.” Ex. P – Second Suppl. William Cleary Decl. ¶ 5 [#38-27]. That inpi encompasses a

single concept of working against certain law enforcement activities appears consistent with both

sides’ understanding of the statute. However, the limitation offered by Professor Cleary – that the

statute only applies to those who assist someone seeking to “flee from a scene of a crime or an

arrest or to escape confinement” – is not persuasive. Pet’rs’ Mem. 20 [#38] (citing Ex. C –

William Cleary Decl. ¶ 14 [#38-14]; Ex. P - Second Suppl. William Cleary Decl. ¶¶ 5, 10 [#38-

27].

       While Professor Cleary cites cases where defendants were charged under Article 103 for

assisting others evade imminent arrest, his broad assertion that inpi can only apply to such

circumstances is contradicted by the Japanese legal treatise originally submitted by Petitioners

that states that inpi, in the sense of an act to “enable the escape,” covers acts that hinder “arrest

or discovery” by law enforcement, therefore extending to situations when arrest is not law



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enforcement’s present aim. Ex. H – Japanese Treatise [#2-17] (emphasis added).

       The Japanese prosecutor, on the other hand, provides case citations where Article 103 has

been interpreted to encompass acts that interfere with the justice system, separate and apart from

enabling escape from an imminent arrest. See, e.g., Ex. M – Naoki Watanabe Decl. ¶ 12 [#41-13]

(citing case6 from an Osaka district court in 2000 where defendant was prosecuted and convicted

under Article 103 for providing a credit card to a person who had been indicted but was not

confined, allowing the person to “abscond” and stay in a hotel under a different name); Ex. N –

Suppl. Naoki Watanabe Decl. ¶ 9 [#41-14] (citing case where defendant was convicted under

Article 103 after providing SIM card and cash to suspect, who was not fleeing the scene of a

crime and who did not yet have an arrest warrant issued); Ex. Q – Masayuki Yoshida Decl. ¶ 8(i)

[#41-15] (citing case where defendant was convicted under Article 103 for falsely taking blame

for crime committed by another person, who was presumed dead at the time of the defendant’s

acts). While Professor Cleary seeks to distinguish these cases, see Ex. D – Suppl. William Cleary

Decl. ¶ 4 [#38-15], he does not present any evidence, interpreting the Japanese language or

interpreting case citations, that compels a finding that the statute cannot apply to assisting a

person released on bail evade discovery by law enforcement. See also Ex. H – Japanese Treatise



6
  Professor Cleary distinguishes this case by noting that the assistee had his bail revoked before
he was helped by the defendant and the assistee was thus subject to arrest. Ex. D – Suppl.
William Cleary Decl. ¶ 4c [#38-15]. However, accepting Professor Cleary’s interpretation as
true, the case still supports the proposition that Article 103 can apply to those who assist others
who have already been arrested and indicted evade the justice system. And based on this case,
had the Japanese government learned that Ghosn had broken the terms of his bail (by, for
example, hiding and fleeing, which was prohibited by the terms of his bail conditions, see Ex. F
– Michael Taylor Extradition Req. Part IV, § 4(iii) [#41-6]), before he left Japan, and had the
Taylors then assisted him, they could have been charged under Article 103. Thus, Petitioners’
argument fails to convince where the mere difference in the hypothetical fact pattern from the
actual facts is that the Taylors were effective in swiftly secreting Ghosn out of Japan before the
authorities learned of Ghosn’s violations of his conditions of bail.

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[#2-17] (stating the crimes in the Chapter (Articles 103 and 104), “including the crimes in

[Article 103,] are crimes that involve encroaching upon the criminal justice functions of the state

in the broad sense of investigation, judgment, enforcement, etc. of criminal cases”). In addition,

the more capacious reading of the verb inpi is also supported by the Japanese Supreme Court’s

interpretation of Article 103 as a statute that “intends to punish a person who interferes with the

criminal justice system in a broad sense, such as investigations, court proceedings and executions

of sentences.” Ex. Q – Masayuki Yoshida Decl. ¶ 6 [#41-17] (citing Judgment of Japanese

Supreme Court, May 1, 1989, Kei-shu vol. 43, No. 5, p. 405) (emphasis added).

       In sum, after considering the statements made by Professor Cleary and the other evidence

submitted by the parties, the court finds that Petitioners have not shown a high likelihood of

success in their argument the Article 103 does not prohibit interfering with the Japanese criminal

justice system by harboring Ghosn and enabling Ghosn to elude discovery by law enforcement

and escape judgment from a Japanese court. Accordingly, the Magistrate Judge had reasonable

grounds not to grant bail on this basis.

                          ii. Lebanese Proceedings

       Under Article IV § 2 of the Treaty, “[t]he requested Party may refuse extradition when

the person sought has been tried and acquitted, or has undergone the execution of punishment in

a third State for the offense for which extradition is requested.” Ex. E – Treaty [#41-5].

Petitioners assert that a Lebanese prosecutor who was asked to investigate the matter by a family

member of the Taylors “closed the case” which, according to Petitioners, renders a finding of not

guilty under Lebanese law. Pet’rs’ Mem. 34-35 [#38] (citing Ex. O – Naoum Toubia Farah Decl.

¶¶ 3, 5-6, 8 [#38-26]).

       Petitioners argue the Magistrate Judge failed to recognize that “the Lebanese court



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system concluded there was no proper charge and the decision is in the same nature as if there

had been a trial and acquittal . . . .” Pet’rs’ Mem. 34 [#38]. They also accuse the Magistrate

Judge of violating the rule of non-inquiry, by allegedly evaluating the fairness of the Lebanese

court system. Id. at 34-35.

        Petitioners show some internal inconsistency by asserting the Magistrate Judge went too

far in inquiring into the fairness of the Lebanese legal system, when they have seemingly invited

this court to do exactly that sort of inquiry into the Japanese legal system. However, the

Magistrate Judge crossed no such line in his decision and confined his inquiry to the language in

the Treaty, the evidence provided by Petitioners and the government’s response. The plain

language of the Treaty requires a showing that the party facing extradition has been “tried and

acquitted” for the conduct he is alleged to have committed in the country seeking extradition.

The declaration of Petitioners’ counsel does not suggest any sort of adversarial proceeding in

Lebanon where Japan could, or did, participate. Instead, at the behest of the Taylors’ family, a

prosecutor looked into the case and closed it, finding them “not guilty” for the purposes of

Lebanese jurisdiction over the alleged crime. This is not, as Petitioners contend, equivalent to a

trial and acquittal. Thus, the Magistrate Judge had a reasonable basis for rejecting this ground for

the grant of bail.

                      iii. Care for Father-in-Law

        Michael Taylor also contends his role as a caregiver to his 81-year old stepfather is a

special circumstance, different from what is faced by extraditees generally, because his

stepfather has serious health concerns and is vulnerable to COVID-19. Pet’rs’ Mem. 33-34 [#38].

        However, Petitioners’ argument misses the mark. The hardship of incarceration on family

members, including those family members who have previously received care from the



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incarcerated individual, is a common concern amongst extraditees and prisoners alike. Currently,

this is exacerbated by COVID-19, where many family members face novel risks posed by the

pandemic. Here, Petitioners do not show that concerns for caring for Michael Taylor’s stepfather

amount to special circumstances, different from what is faced by other extraditees who also have

family who are vulnerable and do not have an extensive support network. Accordingly, the

Magistrate Judge reasonably found bail was not warranted on this ground.

                      iv. Risk of COVID-19

       The Taylors also raise the risk of COVID-19 as a special circumstance warranting bail,

especially in light of Michael Taylor’s heightened vulnerability to complications if he contracts

the virus.7 Petitioners have now submitted documentation of Michael Taylor’s relevant medical

history. See Ex. Q – Dr. Sandeep Jain Letter (stating that partial lobectomy makes Michael

Taylor more vulnerable to complications caused by COVID-19) [#38-28]; Ex. R – Dr. M.

Anthony Casolaro Decl. ¶¶ 3-5 (stating that a patient with Michael Taylor’s health history would

require immediate hospitalization if infected by COVID-19) [#38-29]. They also point to the

decision in Matter of Extradition of Toledo Manrique, where the presiding magistrate judge

granted bail, and release on conditions, to the 74-year old defendant facing extradition based on

the risk posed by COVID-19, and contend that the Taylors are more meritorious of release than

the party in that case. 2020 WL 1307109, at *1 (N.D. Cal. Mar. 19, 2020); Pet’rs’ Mem. 32

[#38]. In response, the government provides citations to court decisions that have denied bail to

extraditees despite the threat of COVID-19, even when there is evidence of underlying medical

conditions. Gov’s Opp’n 24-25 [#41].


7
 Petitioners raise a separate argument, discussed below, asserting a due process violation by the
government for allegedly showing deliberate indifference to the risk that COVID-19 poses to the
Taylors.

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        Here, under the present circumstances, the court cannot find that the Magistrate Judge’s

decision to deny bail despite the risk posed by COVID-19 was unreasonable, even with

additional evidence of the risk Michael Taylor faces if he contracts the virus. In so finding, the

court does not minimize the threat that COVID-19 poses nor the legitimate concern that the

Taylors and thousands of other prisoners feel given the uncertainty and danger posed by the

pandemic. However, as the Magistrate Judge properly considered, the government has provided

evidence that shows a relatively low risk at Norfolk today, including that there are no current

cases of the disease at Norfolk, that there have never been any inmates who have tested positive

for COVID-19 in the Taylors’ housing unit, and that the Department of Corrections have taken a

number of steps to minimize risks to inmates and staff at the prison. See Ex. R – Danielle

Boomhower Decl. ¶¶ 3-5, 21-22 [#41-18].8 Based on this record, and in light of the deference to

the Magistrate Judge in reviewing a bail decision, the court upholds the Magistrate Judge’s

decision on this factor.

                        v. Combination of Factors

        Finally, Petitioners urge the court to find that, even if no single factor amounts to

independent justification for bail, the combination of factors establish special circumstances for

release. Pet’rs’ Mem. 35 [#38]. However, even in aggregate, and even crediting that the Taylors

face hardships by remaining in detention pending their extradition hearing, these circumstances

do not overcome the strong presumption against granting bail in extradition cases. Accordingly,

as the court finds that the Magistrate Judge had a reasonable basis for denying bail in this matter,

their request for bail is denied.



8
 Petitioners make no argument that Peter Taylor faces a greater risk from COVID-19 than any
other extraditee.

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               c. Review of Flight Risk

       Though the court has found there are no special circumstances warranting the granting of

bail at this time, the court also considers the Petitioners’ contention that the Magistrate Judge

erred in finding that both Michael and Peter Taylor pose a flight risk. Magistrate Judge’s

Decision 15-18; Pet’rs’ Mem. 25-29 [#38].

       The Taylors are charged with implementing a sophisticated plan assisting a person, who

paid them, to jump bail. This plan included hiring a private jet in the United Arab Emirates, Peter

Taylor making seven trips to Japan to meet with Ghosn multiple times and to set up and

participate in Ghosn’s escape plan and Michael Taylor flying with an associate to Japan,

traveling from the airport to meet Ghosn in Tokyo and then traveling back to an airport hotel

with Ghosn, checking with airport staff about security procedures and giving an airport worker a

bundle of Japanese yen, secreting Ghosn out of a hotel room in a large box and bringing him

aboard the private jet, and flying Ghosn to Turkey. The Taylors do not challenge these

allegations. The government, in turn, has offered evidence of substantial payments of money to

the Taylors. Thus, at the outset, there is strong evidence that Petitioners have the means,

knowledge, and tools to flee the United States even if conditions are put in place to try to prevent

such flight.

       Michael Taylor argues that he has “no reason or incentive to evade these proceedings”

and notes his extensive community ties, familial obligations, and his decision to return to the

United States even after Japan had issued an arrest warrant. Pet’rs’ Mem. 25-27 [#38]. He also

expresses confidence in his ability to defeat the extradition request and states he is unlikely to

flee given the relatively short sentence he faces in Japan if extradited and convicted. Id. At the

same time, as he concedes, he has strong ties to Lebanon, where he has a home and a branch of



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the family business. See Magistrate Judge’s Decision 15-18. He has also previously been found a

flight risk by courts in Utah in a previous criminal proceeding. Ex. T – Utah Detention Order

[#41-20].

        Peter Taylor also argues that he does not pose a flight risk, as he does not have the

criminal background of his father and because he has strong ties to his Massachusetts

community. Pet’rs’ Mem. 28 [#38]. However, he does share with his father many of the same

reasons for a finding that he poses a flight risk. Peter has strong ties to Lebanon, having lived in

the country for the past 15 months after starting a business there and having graduated from

college in the country. Mot. to Quash Arrest Warrants 29-30, Michael Taylor MJ Docket (June 8,

2020), ECF No. 17.

        The Magistrate Judge noted that the question of risk of flight for both Taylors might be a

closer call in routine domestic criminal proceedings. Magistrate Judge’s Decision 16. But as the

Magistrate Judge explained, this is an extradition case, with a heavier burden on the Taylors to

establish they are not flight risks. Here, the charges themselves – with the undisputed factual

allegations – undermine a finding that they are not flight risks. While the Taylors may well seek

to remain in the United States to fight extradition through available legal channels, they have

also shown a blatant disregard for such safeguards in the context of the Japanese legal system

and have not established sufficiently that if they find their extradition fight difficult, they will not

flaunt the rules of release on bail and flee the country.

        Considering the factors together, along with the presumption against bail in extradition

cases, the court cannot find that there is a “tolerable bail risk” in releasing the Taylors, United

States v. Williams, 611 F.2d 914, 915 (1st Cir. 1979), and, accordingly, finds that the Magistrate

Judge had reasonable grounds to deny bail on the basis of a risk of flight.



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                B. Emergency Habeas Petition

        Petitioners also contend that, beyond the review of the bail decision, this court must

separately consider whether the Taylors are currently being held unlawfully. Under 28 U.S.C.

§ 2241(c)(3), a court must order the petitioner released from custody pursuant to a writ of habeas

corpus if it finds that he is “in custody in violation of the Constitution or laws or treaties of the

United States.” Here, Petitioners assert that as they are being held without probable cause, they

should be released pursuant to a writ of habeas corpus. Pet’rs’ Mem. 15-23 [#38].

        The government responds that questions of extraditability related to the Taylors’

detention are not properly before the court. It notes that under 18 U.S.C. § 3184, the Taylors’

detention is lawful as Japan has now issued a formal extradition request and the Taylors are

being held pending an extradition hearing in front of the Magistrate Judge where he will consider

questions of probable cause for extraditability. Gov’s Opp’n 11-12 [#41].9

        The timing of Petitioners’ emergency habeas petition is unusual in that it seeks review of

the legality of an extradition detention, apart from a bail determination, after a formal extradition

request has been received but before a hearing by the Magistrate Judge pursuant to 18 U.S.C. §

3184.10 The government is correct that the statute allows for “apprehension” during this interim


9
  At an extradition hearing, the presiding judicial officer considers six questions: 1) whether the
United States is a party to an extradition treaty with the country seeking extradition; 2) whether a
criminal charge is pending against the person subject to extradition; 3) whether the charged
offense is an extraditable crime under the treaty; 4) whether the person charged is the same
person who the government wants extradited; 5) whether an arrest warrant is outstanding; and 6)
whether probable cause exists to believe that the person committed the crime charged. Howard,
996 F.2d at 1324 n.1; see also 18 U.S.C. § 3184 (“if on such hearing, [the judicial officer] deems
the evidence sufficient to sustain the charge under the provisions of the proper treaty or
convention . . . [the judicial officer] shall certify the same . . . to the Secretary of State . . . .”).
10
   Courts have considered challenges to detention on a provisional arrest warrant, prior to receipt
of a formal extradition request and brought via a habeas petition before an extradition hearing
has been held. See, e.g., Caltagirone v. Grant, 629 F.2d 739, 744-745 (2d Cir. 1980). However,
this is not applicable where, as discussed earlier, Petitioners’ challenge to the provisional
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period after a formal extradition request is received and establishes the normal next step in the

procedure, where the “judicial officer then conducts a hearing to determine if ‘he deems the

evidence sufficient to sustain the charge under the provisions of the proper treaty.’” Kin-Hong,

110 F.3d at 109 (quoting 18 U.S.C. § 3184); see also Lo Duca v. United States, 93 F.3d 1100,

1104 (2d Cir. 1996) (stating the extradition hearing is “essentially a preliminary examination to

determine whether a case is made out which will justify the holding of the accused and his

surrender to the demanding nation.”) (quoting Ward v. Rutherford, 921 F.2d 286, 287 (D.C. Cir.

1990)). If the Magistrate Judge certifies that the Petitioners are extraditable, the finding is subject

to collateral attack through a habeas petition. Howard, 996 F.2d at 1325.

        Nonetheless, even accepting the government’s argument that Petitioners must proceed

first before the Magistrate Judge pursuant to 18 U.S.C. § 3184 on questions of extraditability, the

court considers whether, under 28 U.S.C. § 2241, Petitioners’ detention is in “violation of the

Constitution, or laws or treaties of the United States.” 28 U.S.C. § 2241(c)(3); see Vardy v.

United States, 529 F.2d 404, 406 (5th Cir. 1976) (finding that while “deferring habeas review

until there is a determination of extraditability is a preferable procedure,” “a prior determination

of extraditability . . . is [not] a jurisdictional prerequisite to habeas relief” and the presence of

“unusual circumstances,” such as an “excessive and confusing delay in the extradition

proceedings,” could be basis of such review); cf. Matter of Extradition of Manzi, 888 F.2d 204,

206 (1st Cir. 1989) (per curiam) (finding, after a magistrate judge had certified the petitioner’s

extraditability, “that serious due process concerns may merit review beyond the narrow scope of

inquiry in extradition proceedings.”).




warrants, and their provisional detention, has been mooted by the receipt of the formal
extradition request. See infra 10 n.5.

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       Petitioners have not presented grounds or unusual circumstances demonstrating that they

are being held unlawfully. Though Petitioners assert that they are being improperly held because

Japan has, allegedly, “not charged the Taylors under [Article 103], or with any crime at all,” and

has not sent charging documents to the United States to support their extradition request, Pet’rs’

Mem. 15, 18, 23-24 [#38], evidence from the Japanese government shows otherwise. Japan

asserts the normal procedure in extradition cases is to issue arrest warrants, with sufficient

information about the alleged crime to establish probable cause and which “authorizes” the arrest

of the suspect, and that an extraditee is formally charged once arrested in Japan after extradition.

Ex. M – Naoki Watanabe Decl. ¶¶ 5-8 [#41-13]; Ex. N – Suppl. Naoki Watanabe Decl. ¶¶ 2-4, 6

[#41-14].11 More saliently, the Treaty does not require the submission of charging documents

with the formal extradition request. See In re Assarsson, 635 F.2d 1237, 1241 (7th Cir. 1980)

(“The existence of formal charges can be reviewable, then, only if the treaty itself conditions

extradition for the offenses listed in [the relevant Article] on the existence of formal charges.”).

       In addition, Petitioners have not shown any unusual circumstances to merit release. It is

not contested that the procedures prescribed by 18 U.S.C. § 3184 have been followed, that an

extradition hearing has now been scheduled, and that the Taylors are the individuals charged in

the Japanese arrest warrants and named in the extradition request. Accordingly, while Petitioners

may raise challenges to extraditability, including the alleged procedural defect and their

contention that Article 103 does not apply to their conduct, with the Magistrate Judge for his

assessment in the first instance, they have not shown their current detention is improper under

the Constitution, the Treaty, or 18 U.S.C. § 3184.


11
  Professor Cleary disputes this, see Ex. E – Second Suppl. William Cleary Decl. ¶ 3 [#38-27],
and Petitioners may raise this argument again at the extradition hearing, but the court cannot find
based on the evidence presented by the government that the Taylors have not been charged.

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               C. Due Process and COVID-19

       Finally, Petitioners seek release based on an allegation that the government has been

deliberately indifferent to the risk they face from COVID-19 and therefore have violated their

constitutional rights. Pet’rs’ Mem. 36-38 [#38] (citing Grinis v. Spaulding, 2020 WL 2300313, at

*2 (D. Mass. May 8, 2020) (stating that a party must show “‘that prison officials possessed a

sufficiently culpable state of mind, namely one of ‘deliberate indifference’ to an inmate’s health

or safety,’ and second, that the deprivation alleged was ‘objectively, sufficiently serious.’”)

(quoting Leavitt v. Corr. Med. Servs., Inc., 645 F.3d 484, 497 (1st Cir. 2011)); see also Em. Pet.

for Habeas Corpus Pursuant to 28 U.S.C. § 2241 ¶¶ 68-74 [#1]. However, Petitioners have not

shown a likelihood of success of establishing deliberate indifference. As discussed earlier, the

government has provided evidence that the Department of Corrections has taken seriously the

risk posed by COVID-19 at Norfolk and have implemented a set of procedures designed to

protect prisoners from the spread of the disease. Ex. R – Danielle Boomhower Decl. ¶¶ 3-5, 21-

22 [#41-18]. While Petitioners may feel that these measures are insufficient, there is no evidence

in the record that the government’s response could be construed as actionable indifference.

Therefore, the court shall not grant release on this basis.

       III.    Conclusion

       Accordingly, for the aforementioned reasons, Petitioners Michael Taylor and Peter

Taylor’s Motion for Preliminary Injunction [#2] is DENIED and their Emergency Petition for

Habeas Corpus Pursuant to 28 U.S.C. § 2241 and Injunctive Relief [#1] is DENIED.

       IT IS SO ORDERED.

       August 7, 2020                                         /s/ Indira Talwani
                                                              United States District Judge




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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


    IN THE MATTER OF THE EXTRADITION
    OF MICHAEL L. TAYLOR                                 No. 20-mj-1069-DLC


    IN THE MATTER OF THE EXTRADITION
    OF PETER M. TAYLOR                                   No. 20-mj-1070-DLC



             EXTRADITION CERTIFICATION AND ORDER OF COMMITMENT

CABELL, U.S.M.J.

I.      INTRODUCTION

        The United States seeks to extradite Michael L. Taylor and

Peter M. Taylor (the “respondents”) to Japan to face a charge of

harboring or enabling the escape of a criminal, in violation of

Article      103    of   the     Japanese       Penal    Code.        The    extradition

proceedings were commenced by the United States pursuant to 18

U.S.C. § 3184 and the Extradition Treaty between the United States

and Japan, signed on March 3, 1978, and entered into force on March

26, 1980 (“Treaty”).

        On   May   6,    2020,      this    court     issued   a   complaint       for   the

provisional        arrests     of    the     respondents       with   a     view   towards

extradition at the request of the United States, acting on behalf

of the Government of Japan.                (D. 1).1    The complaint indicates that


1 Citation to the extradition dockets refer to the docket entries in In the
Matter of the Extradition of Michael L. Taylor, Case No. 20-MJ-1069 (D.
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the Government of Japan issued warrants for the respondents’

arrests for their involvement in the escape of Carlos Ghosn from

Japanese authorities.        Ghosn, who was under indictment in Japan

for financial crimes, fled to Lebanon, a country with whom Japan

has   no    extradition    treaty,      effectively    shielding     him      from

prosecution.

      On    May   20,    2010,    the    respondents     were    arrested       in

Massachusetts and, after a detention hearing, were ordered to be

held without bail pending the outcome of their extradition hearing.

(D. 41). The respondents sought an emergency writ of habeas corpus

and injunctive relief, which was denied.           See Taylor v. McDermott,

No. 20-cv-11272 (D. Mass. 2020).

II.   FINDINGS

      On August 28, 2020, this court held an extradition hearing

for both respondents pursuant to 18 U.S.C. § 3184.              International

extradition proceedings are governed by 18 U.S.C. § 3181 et seq.

and by treaty.     In applying an extradition treaty, the court is to

construe it liberally in favor of the requesting nation.                       See

Factor     v.   Laubenheimer,    290    U.S.   276,   293–94    (1933).        The

extradition court’s role is not to determine guilt or innocence,

but rather whether the following elements have been satisfied in

order to support extradition of the accused: (1) the judicial

officer is authorized to conduct the extradition proceeding; (2)

the court has jurisdiction over the fugitive; (3) the applicable
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treaty is in full force and effect; (4) the crime(s) for which

surrender is requested is/are covered by the applicable treaty;

and (5) there is sufficient evidence to support a finding of

probable cause as to each charge for which extradition is sought.

See Fernandez v. Phillips, 268 U.S. 311, 312 (1925).

     In considering the evidence presented by the Government of

Japan as contained in the extradition documents submitted in

support of the extradition request, the evidence offered by the

respondents, the Extradition Treaty between the United States and

Japan, and the applicable law, the court finds that the terms of

the Treaty and 18 U.S.C. § 3184 have been satisfied with respect

to the Taylors’ extradition to Japan. More specifically, the court

finds as follows.

          1) Authority of the Court Over the Proceedings

     The parties agree, and this court finds that it has subject-

matter jurisdiction over these proceedings.             18 U.S.C. § 3184.

Section 3184 provides that:

     Whenever there is a treaty or convention for extradition
     between the United States and any foreign government, or
     in cases arising under section 3181(b), any justice or
     judge of the United States, or any magistrate judge
     authorized so to do by a court of the United States ...
     may, upon complaint made under oath, charging any person
     found within his jurisdiction, with having committed
     within the jurisdiction of any such foreign government
     any of the crimes provided for by such treaty or
     convention, or provided for under section 3181(b), issue
     his warrant for the apprehension of the person so
     charged, that he may be brought before such justice,
     judge, or magistrate judge, to the end that the evidence
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      of criminality may be heard and considered.... If, on
      such hearing, he deems the evidence sufficient to
      sustain the charge under the provisions of the proper
      treaty or convention, or under section 3181(b), he shall
      certify the same, together with a copy of all the
      testimony taken before him, to the Secretary of State,
      that a warrant may issue upon the requisition of the
      proper authorities of such foreign government, for the
      surrender of such person, according to the stipulations
      of the treaty or convention .... Id.

Id.     Further, magistrate judges in the District of Massachusetts

are     authorized     by   local    rule     to   “[c]onduct      extradition

proceedings, in accordance with Title 18, United States Code,

Section 3184.”       D. Mass. Local Magistrate Rule 1(e).

            2) Jurisdiction Over the Respondents

      The   parties     agree,    and   the   court    finds     that   it    has

jurisdiction over the respondents.            Section 3184 gives the court

jurisdiction over a fugitive found within the court’s jurisdiction

who has committed crimes in a foreign nation that are covered by

an extradition treaty set forth in section 3181.               The extradition

treaty between the United States and Japan is included in section

3181.    The court finds support in the record that the respondents

are the persons who appeared before the court and are the ones

against whom the instant charges are pending.                  The respondents

also agree that they are the ones against whom the present charges

are pending.

            3) Treaty in Full Force and Effect

      The parties agree, and the court finds that there is an


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extradition treaty (Treaty) in full force and effect between the

United States and Japan, for all purposes of the extradition

proceeding.    18 U.S.C. §§ 3181 and 3184.

           4) Crime Covered by the Treaty

     The parties agree, and the court finds that the charges for

which extradition is sought are crimes pursuant to both Japanese

and United States law and covered by the Treaty.

     Article I of the Treaty provides for the return to Japan of

persons found in the United States who are sought by Japan for

prosecution,   trial   or   to   execute    punishment    for   any   offense

specified in Article II of the Treaty.          Article II of the Treaty

provides for extradition for offenses listed in an annexed schedule

which includes an offense relating to obstruction of justice,

including harboring criminals.       The respondents have been charged

for their involvement in harboring or enabling the escape of

someone charged with a crime, in violation of Article 103 of the

Japanese Penal Code.         This offense would also be subject to

criminal   prosecution      under   various    United    States    statutes,

including among others 18 U.S.C. § 1073 and 18 U.S.C. §§ 3148(a)

and 401.

           5) Probable Cause that the Respondents Committed the
              Offenses
     Thus, the only issue left for the court is to determine

whether there is probable cause to believe that the respondents

committed the offenses charged.            The evidence from which that
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determination is to be made is the evidence contained in Japan’s

extradition request.        To certify an extradition warrant, the

magistrate judge must find that there is “probable cause” or

“reasonable grounds” to believe the individual is guilty of the

crime charged.     See Fernandez v. Phillips, 268 U.S. 311, 312

(1925); see also Shapiro v. Ferrandina, 478 F.2d 894, 904–05, 913–

14 (2d Cir. 1973).       A magistrate judge applies the same standard

of probable cause in international extradition hearings as used in

preliminary hearings, in federal criminal proceedings.            See Castro

Bobadilla v. Reno, 826 F.Supp. 1428, 1433 (S.D. Fla. 1993).                 The

evidence is sufficient and probable cause is established if a

person   of   ordinary    prudence   and   caution    can   conscientiously

entertain a reasonable belief in the probable guilt of the accused.

Gerstein v. Pugh, 420 U.S. 103, 111 (1975).

     Factually speaking, the parties agree, and the court finds

support in the record, that the respondents committed the conduct

underlying the charges against them. Specifically, the court finds

that there is probable cause to believe that Peter Taylor traveled

to Japan at least three times and visited Ghosn on at least seven

occasions in the months preceding the escape.            Then, on December

28, 2019, Peter Taylor arrived in Tokyo and checked into a room at

the Grand Hyatt.     Ghosn then arrived at the Grand Hyatt and met

with Peter Taylor for about an hour.       On December 29, 2019, Michael

Taylor and a third individual, George-Antoine Zayek, traveled on
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a private jet from Dubai, United Arab Emirates, to Japan’s Kansai

International Airport.       At   Kansai,    Michael    Taylor    and    Zayek

carried large black audio equipment-style cases and told airport

workers that they were musicians.        From Kansai, Michael Taylor and

Zayek checked into the Star Gate Hotel Kansai.           After placing the

cases in one of their rooms, they caught a train bound for Tokyo

at about noon.     At 2:30 p.m., also on December 29th, Ghosn left

his home without luggage and walked to the Grand Hyatt, where he

apparently changed into clothing from luggage that had been dropped

off and received by Peter Taylor earlier in the day.                    Michael

Taylor and Zayek arrived in Tokyo at about 3:30 p.m. and went to

Peter Taylor’s room at the Grant Hyatt.

     Shortly thereafter, the Taylors, Ghosn, and Zayek left Peter

Taylor’s room at the same time, each carrying luggage.                    Peter

Taylor then traveled to the Narita Airport to catch a flight to

China.   However, Ghosn, Michael Taylor, and Zayek caught a train

back to the Kansai Airport area and returned to the Star Gate Hotel

Kansai at approximately 8:15 p.m.           At about 10:00 p.m., Michael

Taylor and Zayek left the hotel with luggage, including the two

audio-style cases, and went to Kansai Airport.                  Surveillance

footage did not show Ghosn leaving the hotel.          Once at the airport,

the baggage of Michael Taylor and Zayek was loaded onto their

private jet without being checked.        The jet departed for Turkey at

about 11:00 p.m.     On December 31, 2019, Ghosn announced that he
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was in Lebanon.

       Although the respondents do not dispute the foregoing facts,

they argue that those facts do not make out a violation of Article

103.     This court finds that they do, however.

       Among other things, Article 103 makes it a crime to “harbor[]

or enable[] the escape of another person who has...committed a

crime.”       As this court stated previously in considering the issue

in     the    context    of    the    respondents’   motion    for   bail,     the

respondents’ conduct literally brings them squarely within the

purview of this portion of Article 103 because they harbored or

enabled the escape of Carlos Ghosn, who had allegedly committed a

crime.       A separate court reached the same result after considering

the issue in the context of the respondents’ unsuccessful motion

for injunctive relief.           See Taylor v. McDermott, No. 20-cv-11272

(D. Mass. 2020) at D. 44 (“Petitioners have not shown a high

likelihood of success in their argument [that] Article 103 does

not prohibit interfering with the Japanese criminal justice system

by harboring Ghosn and enabling Ghosn to elude discovery by law

enforcement and escape judgment from a Japanese court.”).

       To be sure, the respondents do not really take issue with the

court’s interpretation of Article 103 as it is written.                  Rather,

they    argue     that   the    English    translation   of   Article    103    is

misleading because it does not accurately convey the true required

elements of the offense.             They argue that a proper reading of the
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actual Japanese text of Article 103 requires one to do more than

merely harbor or enable the escape of someone who has committed a

crime to violate the provision; it requires one to harbor or enable

the escape of someone who either was in physical confinement or

was actively being pursued by law enforcement for a recently

committed crime.     They contend that they did not violate Article

103 under this interpretation because, although Ghosn was on

release for charges for which he had been indicted, he was neither

in   physical   confinement     nor   actively     being    pursued    by    law

enforcement for a crime at the time the respondents helped him

flee Japan.

      Despite   strong    urging,     however,    the   court    declines     to

consider the respondents’ argument.          Even assuming an extradition

court has both the authority to resolve disputed issues of foreign

law, and the hopeful belief it could do so competently, that does

not mean it should.      “[E]xtradition proceedings are not vehicles

for United States federal courts to interpret and opine on foreign

law,” and American extradition courts therefore have consistently

cautioned against doing so, particularly to invalidate arrest

warrants.     See e.g., Noeller v. Wojdylo, 922 F.3d 797, 805 (7th

Cir. 2019); Marzook v. Christopher, No. 96 CIV. 4107 (KMW), 1996

WL 583378, at *5, n.4 (S.D.N.Y. Oct. 10, 1996) (citing Peters v.

Egnor, 888 F.2d 713, 716 (10th Cir. 1989) (“we think that an

extensive investigation of [the requesting country's] law would be
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inappropriate”); Matter of Assarsson, 635 F.2d 1237, 1244 (7th

Cir.1980), cert. denied, 451 U.S. 938 (1981) (“We are also not

expected to become experts in laws of foreign nations.”).

     Moreover, where a Japanese court has now twice issued warrants

alleging that the respondents’ conduct violated Article 103, and

the Government of Japan has through declarations and case citations

presented a reasonable interpretation of Article 103 under which

the respondents’ conduct would constitute a violation of that

provision, the prevailing view is that the extradition court should

defer to the foreign country’s interpretation of its own laws.

See In Matter of Extradition of Pineda Lara, No. 97 CR. MISC. 1

(THK), 1998 WL 67656, at *7 (S.D.N.Y. Feb. 18, 1998) (“a judge in

the United States should therefore defer to a foreign judicial

officer's or government official's reasonable interpretation of a

statute   where    the    statute     is   subject    to     more   than     one

interpretation”); see also Matter of Extradition of Lui, 939

F.Supp.   934,    949   (D.   Mass.   1996)   (comity      and   common    sense

“suggest[] that the foreign judicial officer should be presumed to

be more knowledgeable than the judicial officer in the United

States about the foreign law.”).           That is the course the court

chooses to follow here.       Accordingly, the court finds that there

is probable cause to believe that the respondents violated Article

103 of the Japanese Penal code.



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III.     CONCLUSION

       Based on the foregoing, this matter is certified to the

Secretary of State in order that warrants may issue, upon the

requisition of the proper authorities in Japan, for the surrender

of Michael L. Taylor and Peter M. Taylor on the charge of harboring

or enabling the escape of a criminal, in violation of Article 103

of the Japanese Penal Code, according to the provisions of the

Treaty between the United States and Japan.

       No later than seven days after the date of this decision, the

government shall file a proposed extradition certification and

order of commitment.

       The court will then order that the Clerk of Court forward a

certified copy of this Extradition Certification and Order of

Commitment, together with a copy of all the evidence taken before

this Court, to the Secretary of State, Department of State, to the

attention of the Office of the Legal Adviser.

       The Taylors shall remain in the custody of the U.S. Marshal

for this District, to be held pending final disposition of this

matter by the Secretary of State, and pending each respondent’s

potential surrender to the government of Japan.

SO ORDERED.

                                                 /s/ Donald L. Cabell
                                                 DONALD L. CABELL, U.S.M.J.

DATED:    September 4, 2020


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                  Exhibit 9
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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                          DISTRICT OF MASSACHUSETTS

IN THE MATTER OF THE                            )
EXTRADITION OF MICHAEL L.                       )      Case No. 20-mj-1069-DLC
TAYLOR                                          )
                                                )
                                                )
IN THE MATTER OF THE                            )      Case No. 20-mj-1070-DLC
EXTRADITION OF PETER MAXWELL                    )
TAYLOR                                          )

                      DECLARATION OF DR. WILLIAM B. CLEARY

       Pursuant to 28 U.S.C. § 1746, I, William B. Cleary, hereby declare as follows:

        I.     My name is William B. Cleary. I am an adult citizen of the United States, and a

practicing attorney and law professor in Japan. I reside in Hiroshima, Japan. I have lived and

worked continuously in Japan since 1993. Prior to that, from October 1983 until June 1990, I

lived in Sapporo, Japan as a Japanese Government (Monbusho) Scholarship recipient. I am

making this declaration in connection with the above-captioned matters, not as an advocate, but

to assist the Court in understanding Japanese criminal law which is relevant to these cases.

       2.      I have a bachelor's degree from the United States International University and a

juris doctor from California Western School of Law, both located in San Diego, California. I

also hold L.L.M. and Ph.D. degrees in Japanese Public Law from Hokkaido University in

Sapporo, Japan. The focus of my doctoral work was Japanese criminal law and procedure.

       3.      Since April 2008, I have been employed as a Tenured Professor of Comparative

and Foreign Law at Hiroshima Shudo University in Hiroshima. Prior to my tenure at Hiroshima

Shudo University, I served as a professor at Iwate University in Morioka, Japan, and the College

of International Studies at the University of Tsukuba in lbaraki, Japan. As a professor, I have

taught courses in, among other things, Japanese criminal procedure, a subject I have taught for
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four years. It is to be noted that the subject of criminal procedure is an important subject and is

tested on the Japanese bar examination. I was a tenured associate professor at Iwate University

at the time, 2004 to 2008.

         4.      In addition to my academic work, I have practiced law as an attorney with various

firms, including Blakemore & Mitsuki in Tokyo and Fried Frank Harris Shriver and Jacobson in

New York. From 2000 to 2002, I served as a Japanese law expert advising and assisting the U.S.

Forces Japan command at Yokota Air Force Base. I also previously worked as an Assistant

Attorney General in the Civil Division for the Government of Guam. In that capacity, I served

as an administrative hearing officer and adviser to several government agencies.

         5.      A copy of my cu"iculum vitae is attached hereto as Exhibit A.

         6.      I have been asked to review the facts alleged in these matters and to provide an

expert legal opinion to assist the Court in understanding relevant provisions of Japanese law,

including how those provisions are understood and interpreted.

         7.      Specifically, I have been asked to render an opinion on whether the allegations

against Michael L. Taylor and Peter M. Taylor-who allegedly assisted Carlos Ghosn in

traveling from Japan to Lebanon-would, if true, constitute a violation of Article I 03 of the

Japanese Penal Code. As detailed more fully herein, they do not. In fact, Mr. Ghosn's act of

breaching the terms of his release in Japan is not an offense under Japanese criminal law.

        8.       The Complaints in these matters assert that the Taylors have "been charged under

Article I 03 of the Japanese Penal Code with enabling the escape of Carlos Ghosn Bichara

('Ghosn'), who was indicted in Japan for financial crimes and had been released on bail pending

his trial."   (Complaint~   5.)

        9.       With respect to the status of Mr. Ghosn at the time of the alleged events, the



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Complaints allege specifically as follows:

       On April 25, 2019, the Tokyo District Court released Ghosn on bond with
       conditions that included, among other things, (i) living in the house in Tokyo
       specified by the bail conditions; (ii) when summoned, reporting to a designated
       location or notifying the court, in advance, of the reasons that he is unable to
       report; (iii) not hiding or fleeing; (iv) obtaining advance approval for the court for
       any domestic trips lasting three days or more; and (v) not taking any overseas
       trips. By fleeing Japan pending trial, Ghosn violated his bail conditions.

(Complaint~   7(b).)

       10.        Violating one's bail conditions, such as those alleged in the Complaint, or

''jumping bail," as Mr. Ghosn is alleged to have done, is not a criminal offense in Japan. Articles

97 (titled "Escape") and 98 (titled "Aggravated Escape") of the Japanese Penal Code make it a

criminal offense for a person who is confined on a judge's order (or, under Article 98, held under

a subpoena) to escape, but these statutory provisions apply to persons who are confined or

detained in a prison, jail, or other such detention facility. These statutes do not apply-nor have

they ever been applied-to individuals who are released on bail.

       11.        The fact that ''jumping bail" is not a crime in Japan has been widely recognized

by Japanese officials, legal commentators, and the Japanese media. In fact, in the wake of Mr.

Ghosn's departure from Japan in December 2019, there have been a number of articles on this

very subject, discussing the fact that bail jumping is not illegal in Japan and that the Japanese

government is considering adopting new laws that would make bail jumping a criminal offense.

I have attached as Exhibits B through F examples of articles on this subject, from both before

and after Mr. Ghosn's departure, all of which clearly acknowledge that bailjumping is not a

crime in Japan.

       12.    Article 103-the provision that Japan apparently alleges that the Taylors

violated--makes it a crime to harbor or enable the escape of another person who has either

committed a crime punishable with a fine or greater punishment or has escaped from
                                                  3
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confinement.

        13.    To my knowledge, prior to the arrest warrants issued for the Taylors, the Japanese

government has never attempted to apply Article 103 to any situation involving violation of bail

conditions. Article 103 has never been interpreted or understood to encompass such a charge.

Indeed, I have not been able to identify a single prior case where Japanese prosecutors charged a

person (successfully or unsuccessfully) with enabling another person to violate his or her bail

conditions.

        14.    Article 103 does not apply to assisting a person to violate the terms of his bail

conditions. It only applies to harboring or enabling a person to escape from either confinement

(that is, like Article 97, confinement within a prison, jail or other detention facility) or being

arrested by the police, or harboring or enabling a person to avoid arrest after they have escaped

from confinement.

        15.    Article 103 simply does not prohibit assisting someone to violate his bail

conditions. That is not within the scope of the "escape" which Article 103 prohibits harboring or

enabling, which follows from the fact that bail jumping is itself not prohibited by Article 97 or

any other provision of the Japanese Penal Code. It would be Illogical to criminalize assisting

someone to do something that is not criminal. It would also be inconsistent with Article 63 of

the Japanese Penal Code, which provides that an accessory to a crime must receive a lesser

punishment than the principal. Simply put, it would be incongruous for the law to impose a

criminal punishment on the Taylors for assisting Mr. Ghosn in doing something for which he

could not personally be held criminally liable.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.



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                                                       ~
Executed on May 25, 2020
                                   William B. Cleary




                                     5
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                                                                                          EXHIBIT
                                       William Bernard Cleary
                                                                                               A
                       Education

Ph.D. (1990 March). Japanese Public Law-Hokkaido University. Three-year course in Japanese Public Law
under the direction of the late Dr. Hiroyuki Nose; major field of study - Japanese criminal procedure, minor
field of study - Japanese civil law and comparative law. Title of dissertation: "The Law of Criminal
Procedure in Contemporary Japan."

LL.M (1987 March). Japanese Public Law-Hokkaido University. Major research: The law of negligence,
both criminal and civil; professional negligence, products liability, and industrial accidents.

J.D (1978 May), California Western School of Law, San Diego, California.
Apprentice for the Appalachian Research and Defense Fund, Charleston, West Virginia; major field of
practice - mental health law and the right to treatment for mental patients in West Virginia.

B.A (1975 June). United States International University, Diversified Major, San Diego, California.

                       Teaching Experience

Hiroshima Shudo University, Tenured Professor of Comparative and Foreign Law, April 2008 to present.
Subjects taught: Comparative Law, Foreign Law, and American Law (in Japanese).

Iwate University, Tenured Associate Professor of Comparative Law, April 2004 to March
2008.
Subjects taught: Japanese Criminal Procedure (in Japanese).

College oflnternational Studies, University ofTsukuba, Ibaraki, Japan; Visiting Professor of Law, April of
1993 to March 2000. Subjects included Introduction to Law and U.S./Japan Comparative Law. Also taught
Debating, Discussion Seminar 11, International Political Economy, and Human Rights and Refugees, Also,
conducted seminars on Japanese Law, and student advisor for foreign and Japanese students.

                       Attorney Experience

2000 to 2012 Blakemore & Mitsuki, Tokyo, Japan. Handling international corporate matters, contracts,
securities, securitizations, litigation, and labor related matters.

2000 to 2002 USFJ-Yokota Air Force Base-Japanese Law Expert providing in depth research and
reporting to the Command.

1993 to 2000, Tokyo City Law and Tax Partners; Of Counsel, providing international legal support for a
variety of international business transactions, including: real estate matters, business matters, international
licensing agreements, personnel and litigation issue, and motion picture production matters.

1991-93 Associate Attorney, Klemm, Blair, Sterling and Johnson, Agana, Guam. Specialized in real estate
transactions and construction law matters for several major Japanese construction companies and banks. In
addition, worked as consultant to Sumitomo Construction Company on various corporate matters, including
employment discrimination, recruitment and termination issues, and government relations and public
relations.

1990-91 Associate Attorney, Fried Frank Harris Shriver and Jacobson, N.Y.C. Worked with Japanese
companies on various real estate transactions and development projects in the New York area. Assisted
          Case 4:20-cv-11272-IT Document 59-5 Filed 11/06/20 Page 231 of 358
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officials at Japan Airlines Inc. concerning negotiating a long term lease with the Port Authority of New York
& New Jersey for a state of the art cargo handling facility at John F. Kennedy International Airport.

1981-83 Assistant-Attorney General, Civil Division, Government of Guam. Served as an administrative
hearing officer and adviser to several government agencies, including the Contractor's Licensing Board and
Civil Service Commission.

1979-81 Legislative Counsel, Kosrae State Legislature, Federated States of Micronesia, and advisor to the
Honourable Gaius F. Nedlic. Duties included the drafting of new legislation dealing with a variety of local
matters, writing committee reports, and organizing the State and National Leadership Conference for the
Federated States of Micronesia.

Attorney Qualifications
       California, New York, FSA1 -Micronesia, & Guam

Public Presentations-Conferences

July 1999, Tokyo, Japan; The Kabuto Y ama Case; a comparison of Japanese and
U. S. criminal procedure with particular emphasis on racial discrimination and racial hoax. (In
Japanese)

January 1999, Osaka, Japan, The Kabuto Yama Case; a comparison of Japanese and U.S. criminal procedure
with particular emphasis on the right of prosecutorial appeals. (In Japanese)

November 1997, The 24th International Student Seminar at Inter-University Seminar House (Hachioji,
Tokyo); title of conference, "The Expected Role of the United Nations in the 21st Century," - co-chaired
with Dr. Hideo Sato a three-day discussion seminar focusing on United States - Japan relations in the United
Nations system.

May 1997, Tsukuba Institute, lbaraki, Japan; conducted a three-hour lecture on United States and Japanese
patent law with a detailed comparison ofrecent trends and landmark cases. (In
Japanese)

June 1996, Sandoz Pharmaceuticals, Ltd., Tsukuba Research Institute; delivered a two-hour presentation
concerning cross-cultural differences to a group of 40-50 physicians, pharmacologists, toxicologist, and
biologists, etc.

August 1996, The European Institute of Japanese Studies, Stockholm, Sweden; Title of conference,
"Japanese Influences in Asia." Invited as a guest participant to deliver a paper entitled," The Legal System
of Japan and Its Influences in the Region," which described in detail the historical influence of the Japanese
legal systems on other Asian countries, particularly South Korea, Taiwan, and China.

February 1995, Tokyo Bar Association; made a two-hour presentation to a group of Japanese attorneys on
attorney ethics and matters related to attorney discipline in the United States. (In Japanese)

January 1995, Sapporo Bar Association; made a two-hour presentation to a group of Japanese attorneys on
attorney ethics and matters related to attorney discipline in the United States. Included in the presentation
was a discussion of engagement letters, declination letters, fees, and areas of legal specialization. (In
Japanese)

               Publications (Articles) -in English
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                                                                                                           3

1. The Use ofGPS Tracking Devices for Criminal Investigations in Contemporary Japan. Hiromira Law
    Review, Hiroshima Shudo University (December 2017)
2. The Law of Liability in Contemporary Japan to Third-Parties for Damages Caused by People with
    Dementia: A Review of the Tokai JR Supreme Court Case of March 1, 2016. Shudo Hogaku (Shudo
    Law Review) Vol. 39 No.2 (February 2017)
3. Parental Kidnapping and Multiculturalism: A Focus on Japan. Shudo Hogaku Vol. 35 No. 2, pp. 127-
    143. February 2013.
4. The Use of Confessions in Contemporary Japan. Shudo Hogaku Vol. 33 No. 1, pp. 39 - 54. September
    2010.
5. The Law of Criminal Negligence in Contemporary Japan, Part III. Artes Liberales No. 79, Iwate
    University, Faculty of Humanities and Social Sciences, June 2006.
4. The Law of Criminal Negligence in Contemporary Japan, Part II; Artes Liberales No. 78, Iwate
   University, Faculty of Humanities and Social Sciences, December 2006.
5. The Law of Criminal Negligence in Contemporary Japan, Part I; Artes Liberales No. 77, Iwate
   University, Faculty of Humanities and Social Sciences, December 2005.
6. The Law of Double Jeopardy in Contemporary Japan; Artes Liberales No. 76, Iwate University,
   Faculty of Humanities and Social Sciences, June 2005.
7. The Law of Entrapment in Contemporary Japan, Part I; Artes Liberales No. 75, Iwate University,
    Faculty of Humanities and Social Sciences, December 2004.
8. Lawyers' Ethics and the Mass Media, August 1, 2003, (Publication in Memorial of Dr. Hiroyuki Nose);
   Shinyama Publishing, ISBN: 4797230711
9. Police, Prosecution, and Violence in Contemporary Japan, International Criminal Justice Review,
    Volume 13, 2003, pp. 181-186.
10. The Law of Criminal Procedure in Contemporary Japan Part III, Hokkaido University Law Review,
       January 1991, Volume 42 No. 1. Pp. 360-404 December 1991.
11. The Law of Criminal Procedure in Contemporary Japan Part II, Hokkaido University Law Review,
       Volume 41 No. 4. March 1991.
12. The Law of Criminal Procedure in Contemporary Japan Part I. Hokkaido University Law Review,
       November 1991, Volume 41- 3. Pp. 454-512. January 1991.
13. Criminal Investigation in Japan, California Western Law Review, Volume 26, Number 1, 1989-1990.
14. Problems with U.S. Jury System and the Americanization of Japan, Comparative Law Journal, Volume
     56, December 1994.

                             Publications-in Japanese

1. Attorneys and the Mass Media ("bengonin no media e no ikenhyomei wa douarubekika?') Quarterly
   Keiji-Bengo, No. 3 1, Autumn. 2002, p. 128.

2. Translation of "Death Row - AIDS is Turning a Prison Term into a Potential Death Sentence," by
   Harmeen Rowe, published by Ushio, October 1988, pp. 136-141.

3. Translation of "Police Taping oflnvestigative Interviews," published in Hanrei Jiho, August 11, 1986,
   No. 1195.

4. Translation of "Euthanasia in the Netherlands," published in the Sapporo Gakuin Law Review, February
   1995, Volume 11-2.

                      Chapters in Books

1. Title of Book: Women in Law, published by Greenwood Press 1996, Edited by Rebecca Mae Salokar and
Mary L. Volcansek. Contributed the chapter on Takako Doi, an account of her life and accomplishments.
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2. Title of Book: Constitutional Systems in Late Twentieth Century Asia, edited by Lawrence W. Beer,
published by University of Washington Press, 1992. A translation of Professor Nobuyoshi Ashibe's
manuscript entitled, "The United States Constitution and Japan's Constitutional Law."

Languages: Japanese
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ALL GENRES
 Evident flaws in system for releasing offenders on bail before prison
 7:56 pm. June 25. 2019                                                                            EXHIBIT

 The Yomiuri Shimbun                                                                                   B

 The latest case of a fugitive criminal must be c1iticized as extremely deplorable. The incident was the fault
 of the prosecution.

 Despite his sentence of imprisonment having been :finalized after he was released on bail, the man in
 question fled to avoid being jailed. The fugitive was arrested by the Yokohama District Public Prosecutors
 Office on suspicion of obstructing the discharge of an official duty. It took as many as four days to
 apprehend him after his flight.

 While he was on the run in Kanagawa Prefecture, public elementary and junior high schools run by local
 governments in areas surrounding the scene of his escape were forced to suspend classes for two days. The
 incident also affected the day-to-day lives of local residents, as shown by the fact that weekend events were
 canceled.

 Public prosecutors must bear a grave responsibility for having caused anxiety among community residents.
 They should seriously reflect on their mistake.

 After his unsuspended prison sentence was finalized in February, the man did not abide by the
 prosecution's demand that he present himself. On one occasion, he attempted to use violence against
 personnel from the district prosecutors office when they came to imprison him.

 Nevertheless, they did not wear knife-proof vests when they attempted to imprison him, and police officers
 accompanying them had no guns with them. It is safe to say that such a lenient attitude allmved the knife-
 wielding man to escape.

 The prosecution's response to the situation following his flight was not at all timely, either.

 More than three hours after the man's escape, the district prosecutors office informed local governments in
 the area. There were also delays in the police authorities' emergency measure of deploying officers, which
 happened during a period of time that coincided with the hour when children go home from school. Local
 residents had every reason to raise their voices in anger.

 Review legislation

 There is also room for controversy over the appropriateness of a court decision to release the man on bail.

 The man had been charged "vith such crimes as theft, bodily injury and a violation of the Stimulants
 Control Law. During his trial in the court of first instance, the man was released on bail. He was given an
 unsuspended prison sentence and was taken into custody. However, he was released on bail again after
 appealing to a higher court.
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From the standpoint of defending their rights, there is a growing tendency to flexibly permit defendants to
be released on bail. Unnecessarily detaining defendants must be avoided as a matter of course. However,
courts should judge whether each defendant deserves to be released on bail by closely examining the
possibility of them escaping or destroying evidence.

This latest case has illustrated institutional problems related to the action of imprisoning people whose
unsuspended prison sentences have been confirmed. As of the end of last year, there were a total of 26
people who had fled to avoid imprisonment.

The administrative work aimed at sending those found guilty to prison is based on the view that human
nature is fundamentally good - that is, it is thought they will abide by demands for them to present
themselves. Even if they go missing, it is not compulsory to inspect related matters such as records of their
incoming and outgoing mobile phone calls.

If defendants or convicted prisoners run away from such institutions as detention houses and prisons, they
are charged with the crime of escape. However, this does not apply to offenders who have escaped before
being imprisoned. There is no penalty for those who have not abided by a demand to present themselves,
either. All of these points can be described as flaws in the legislation.

If offenders whose unsuspended prison sentences have been finalized can avoid the execution of their
penalties, the foundation of criminal justice will be shaken. The Supreme Public Prosecutors Office has
established an inspection team with a view to preventing a repeat of the incident. The team should examine
whether the current system has any problems that must be reviewed.

(From The Yomiuri Shimbun, June 25, 2019)




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            The Asahi Shimbun                          1   Asia & Japan watch



            Ghosn with the wind: Ministry to tighten laws to nix
            bail jumps
            By HIROYOSHI ITABASHI/ Staff Writer
            J anuary 8, 2020 at 18:10 JST



                                                                          The clandestine escape from Japan by Carlos
                                                                          Ghosn was a factor in a decision by the Justice
                                                                          Ministry to accelerate efforts to prevent bail
                                                                          jmnping by making it easier to investigate and
                                                                          charge escapees.

                                                                          The beleaguered former Nissan Motor Co. chief
                                                                          slipped out of his monitored home in Tokyo on
                                                                          Dec. 29 and fled to Lebanon by private jet,
                                                                          apparently by hiding in oversized luggage.

                                                                          It was an embarrassing cap to a string of bail-
            A security camera captures the moment a woman                 jumping incidents last year in Osaka and
            on bail flees in a car to avoid being taken into              Kanagawa prefectmes.
            custody and the car hits a prosecutors office official
            in Kishiwada, Osaka Prefecture, in October.       Justice Minister Masako Mali on Jan. 7
            (Provided by a resident)                          indicated planned legal reforms that would
                                                              expand the application of "crime of escape"
            under the Criminal Law to accused individuals out on bail.

            Under cw·rent law, "crime of escape" only applies to jail or detention facility escapees, not those
            who flee while out on bail.

            Mori said the ministry will soon ask the Legislative Council, an advisory panel to the justice
            minister, to discuss the issue and submit proposals. The ministry plans to submit a bill to revise
            relevant laws to the Diet based on the discussions.

            Last year marked a series of getaways by defendants whose prison terms were finalized or bail was
            forfeited while they were free on bail.

            In one case last June, a man in Kanagawa Prefecture who received a jail sentence while on bail but
            had not been taken into custody for more than four months, threatened officials of the pro~siieii
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            office with a kitchen knife after they arrived at his home and fled in a car.
                                                                                                                EXHIBIT   E
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            Ghosn's dramatic escape also prompted the ministry to strengthen measures to monitor                                         ~1"
            defendants released on bail.
                                                                                                                             ___c___ i

            The Legislative Council is expected to discuss ways to grant authority to law enforcement officials
            to investigate bail jumpers, search their homes and confiscate call logs.

www.asahi.com/ajw/ artides/AJ202001080059.html                                                                                     1/2
5/24/2020             Case 4:20-cv-11272-IT       Document
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            The council is also expected to consider a policy to make such defendants wear a global positioning
            system (GPS) device.

            Ghosn was awaiting trial over alleged :financial misconduct at the time of his disappearance.

            Under the Code of Criminal Procedure, defendants are not required to appear for an appeals court
            decision, making it impossible for prosecutors to immediately detain a defendant even if a prison
            sentence is served.

            Figures show that as of the end of 2018, 26 individuals fled from authorities after their prison
            terms were finalized while they were out on bail.

            In light of this, the Justice Ministry plans to make it obligatory for defendants to be present for an
            appeals court decision.


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www.asahi.com/ajw/articles/AJ202001080059.html                                                                                          212
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Japan :Ministry eyes ways to stop bail ju1npers
by The Yomiuri Shimbun

TOKYO (The Japan News/ANN) - Following a series of escapes by defendants and others while out on bail, the Justice Ministry plans to strengthen
measures to prevent such flights, The Yomiuri Shimbun has learned.

Following a series of escapes by defendants and others while out on bail, the Justice Ministry plans to strengthen measures to prevent such flights, The Yomiuri
Shimbun has learned.

According to sources, the ministry is considering expanding the scope of so-called crimes of escape, which currently apply only to people who flee from jail and other
facilities, and establishing such measures as penalties for accused persons who refuse to obey court summons while out on bail.

The ministry will consult in February at the earliest with the Legislative Council, an advisory body to the justice minister, about revisions to laws including the Penal
Code.

Under the Penal Code, "crimes of escape" apply only to the escapes of suspects, defendants and others who are confined in penal facilities such as jails and detention
facilities at police stations_ The penalty is a maximum of one year in jail.

Since people who run away while out on bail cannot be prosecuted for their crimes, the Legislative Council wil I apparently discuss the application of the crime of
escape to such cases

In addition, the Criminal Procedure Code stipulates that a person who is summoned by the court as a witness but does not appear in court without a justifiable reason
will be punished by imprisonment for up to a year or other penalties. However, there are no penalties for defendants and others who do not respond to court summons
while out on bail.

The Legislative Council is expected to discuss the revision of the Criminal Procedure Code to establish similar penalties for defendants out on bail, the sources said.

On Dec. 31, it was learned that former Nissan Motor Co. Chairman Carlos Ghosn, 65, had fled Japan. If the laws are revised as planned, crimes of escape will apply to
cases like that of Ghosn, who had been out on bail.

However, it is difficult to physically detain a foreigner who has fled overseas. Some say accused persons should be required to wear global positioning system (GPS)
devices, in order to strengthen the monitoring of their movements after being released on bail. The Legislative Council likely will consider such issues.

In recent years, the courts have tended to actively release accused persons on bail. According to the Supreme Court, the percentage of cases in which an accused
person was granted bail by a lower court before the ruling increased from 14% in 2008 to 32% in 2018.

The number of cases in which defendants out on bail were indicted in other cases has been also on the rise. According to a white paper on crime, the number of such
cases increased from 102 in 2008 to 258 in 2018, an increase of about 2.5 times.

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                                     Case 4:20-cv-11272-IT Document 59-5 Filed 11/06/20 Page 243 of 358
In Kanagawa Prefecture, a man whose prison sentence was finalized after being released on bail swung a kitchen knife at officials of the Yokohama District Public
Prosecutor's Office, who had gone to detain him, and escaped in a car in June last year. After that case, the Justice Ministry began considering the necessity to revise
relevant laws.


Photos
No photos has been attached.
                     Case 4:20-cv-11272-IT Document 59-5 Filed 11/06/20 Page 244 of 358



Japan to make escapes by defendants
on bail punishable
07 Jan 2020




                                                                                                                                    EXHIBIT

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              Japan's Justice Minister Masako Mori speaks during a press conference on former auto tycoon Carlos Ghosn after he fled Japan to avoid a
              trial, in Tok-yo on January 6, 2020. (AFP)




Short Url:         https://arab.news/czhrm

                                 TOKYO: Japan will make escapes by defendants out on bail punishable following a
                                 series of such getaways, notably by fom1er Nissan Motor Co. Chainnan Carlos Ghosn,
                                 infom1ed sources said Tuesday.


                                 The Justice Ministry is considering revising the Penal Code to expand the scope of the
                                 crime of escape and take other measures. It plans to consult the Legislative Council,
                                 which advises the justice minister, as early as next month.
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       "It's extremely important to prevent escapes by defendants out on bail," Justice Minister
       Masako Mori told a press conference. "We'll consider so we can consult the Legislative
       Council as early as possible."


       l11e crime of escape covers prison inmates as well as detained defendants and suspects.
       A violator faces a prison tenn of up to a year.


       But defendants out on bail, such as international fugitive Ghosn, are not subject to the
       punishment.


       l11e council will discuss whether it is appropriate for those cases to be covered, the
       sources said.


       Plans to oblige defendants to wear Global Positioning System tracking devices while on
       bail are also expected to be discussed. Other expected topics include how to monitor
       defendants fitted with such devices and how to protect their privacy.


       Also on Tuesday, the ruling Liberal Democratic Party held a joint meeting of its judicial
       and foreign affairs divisions and discussed responses to Ghosn's departure to Lebanon.
       According to a participant, some lawmakers called for using GPS devices.


       l11e ministry was considering preventive measures after a man on bail escaped in
       Kanagawa Prefecture, south of Tokyo, after his prison sentence became final last year
       and defendants fled in Osaka Prefecture, western Japan, after seeing their bail revoked.


       Jiji Press
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ALL GENRES
 Prosecution measures insufficient for preventing recurrence of escapes
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 7:26 pm. August 08, 2019                                                                         EXHIBIT       s
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 The Yomiuri Shimbun                                                                           - - -F- - - i"'
 It can be said that the prosecution as an organization was not up to the task of jailing a defendant whose
 sentence of imprisonment had been finalized after being released on bail.

 The prosecution has compiled a report that examines a case in which a man who, in attempting to avoid
 being jailed, fled ·with a knife from his house in Kanagawa Prefecture.

 He did not abide by the prosecution's repeated demands that he present himself and was expected to be
 resistant to the prosecution . However, the Yokohama District Public Prosecutors Office did not sufficiently
 consider assigning personnel and also did not make any arrangements v.ith the police. Despite receiving
 reports of his flight, the prosecution delayed informing local governments, believing that "the police would
 decide" on the announcement of his escape.

 It is reasonable that the prosecution's report summarized the incident as being caused by insufficient
 measures on the part of the prosecution and its lack of risk awareness.

 To prevent the recurrence of such an incident, the Supreme Public Prosecutors Office cited steps such as
 preparing and improving manuals and equipment for when the prosecution imprisons a defendant, and
 establishing a liaison system ·with local governments. These are all basic measures that the prosecution
 should already have addressed. It is unlikely that it will really be able to prevent such an incident occurring
 only \"\ith these countermeasures.

 In the background of this escape is an increasing number of defendants being released on bail.

 The number of defendants - who, like the man in this case, were released on bail until a ruling in the court
 of second instance was handed do,vn, after being given an unsuspended prison sentence in the court of first
 instance - was 546 in 2013. But the figure was more than double that in 2018 at 1,109. It included
 defendants in such serious cases as murders and robberies resulting in bodily injury.

 Review conventional steps

 There is a view that there is a higher risk of flight if a defendant who has been given an unsuspended prison
 sentence in the court of first instance is released on bail after appealing to a higher court. As a defendant is
 not obliged to appear in the court of second instance, unlike the court of first instance, it is expected that he
 or she could escape and not appear on the date of the ruling.

 Courts should more carefully decide on the appropriateness of and conditions for whether a defendant who
 has been given an unsuspended prison sentence is released on bail. It should also consider obliging a
 defendant to appear on the date of a ruling in the court of second instance, and make it possible to jail the
 defendant on the spot when they are given an unsuspended prison sentence.
                 Case 4:20-cv-11272-IT Document 59-5 Filed 11/06/20 Page 247 of 358
It is problematic that it takes too much time to jail a defendant after they are given an unsuspended prison
sentence. There were 60 defendants in 2018 who were not jailed until more than three months after their
sentences of imprisonment were finalized in a higher court. There were also not a few former defendants
who wer e temporarily missing for reasons such as fleeing overseas .

The longer the period after finalizing a sentence of imprisonment is, the smaller the effect of reflection on
their crime and the higher the hurdles for imprisonment become. The prosecution must make efforts to
swiftly bring defendants into custody.

There is a flaw in the legislation in that the crime of escape in the Criminal Code, which is intended for
convicted prisoners and others, is not applied to defendants released on bail.

Some states in the United States and Canada make it obligatory, as a condition for release on bail, for the
defendant to wear a global positioning system tracking device. In order to prevent escapes, it is hoped that
effective steps will be made with reference to overseas examples.

(From The Yomiuri Shimbun, Aug. 8, 2019)




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                Exhibit 10
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             IN THE UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF MASSACHUSETTS

fN THE MATTER OF THE                            )
EXTRADITlON OF MICHAEL L.                       )     Case No. 20-mj-1069-DLC
TAYLOR                                          )
                                                )
                                                )
IN THE MATTER OF THE                            )     Case No. 20-mj-1070-DLC
EXTRADITION OF PETER MAXWELL                    )
TAYLOR                                          )

       SUPPLEMENTAL DECLARATION OF DR. WILLIAM B. CLEARY


       Pursuant to 28 U.S.C. § 1746, L William B. Cleary, hereby declare as fo llows:

        I.     I write this statement to supplement my earlier declaration, dated May 25,

2020 (ECF No. 18) and in response to the declaration of Public Prosecutor Naoki

Watanabe, which the Government offered in opposition to Michael and Peter Taylor's

motion to quash their arrest warrants or, alternatively, to be released from detention

during the extradition proceedings against them (ECF No. 22-2 ("Watanabe Deel.")).

       2.      My only objective in submitting my declarations is to share my

understanding of Japanese Jaw with the Court. I recognize that this is an important and

complicated case, and I want to assist the Court in understanding the complexity of the

issues at stake.   rf my more than 30 years of experience and education dealing with

Japanese Jaw can be helpful to the Court, I am honored to help.

       3.      The Government's opposition brief and Mr. Watanabe' s supporting

declaration raise important issues under Japanese criminal law that call into question the

legitimacy of the charges against the Taylors under Article 103 of the Japanese Penal
  Case 4:20-cv-11272-IT Document 59-5 Filed 11/06/20 Page 254 of 358




Code.

        4.      Mr. Watanabe's declaration confirms what I stated in my prior

declaration: that Article 103 has never been used to prosecute someone for assisting

another in jumping bail. Rather, in support of his contention that Article 103 applies to

the Taylors, Mr. Watanabe cites three cases that are factually dissimilar to the case at bar.

(See Watanabe Deel. irir 9, 12 (citing cases).)

             a. In Judgment of Tokyo District Court, February 16, 1999, hanj i vol. 1000,

                p. 325 (Watanabe Deel. 9), the defendants-members of a cult group that

                used sarin poisonous gas to kill people-were convicted under Article 103

                because they created fabricated documents that enabled their fellow gang

                members to escape arrest

             b. In Judgment of Supreme Court, March 17, 1960, Kei-Shu vol. 14, No. 3, p.

                35 1 (Watanabe Deel.if 9), the defendant violated Article 103 by helping

                his friend evade arrest.

             c. In Judgment of Osaka District Court, May 10, 2000 (Watanabe Deel. , 12),

                which the Government features in its opposition brief (ECF No. 22 at 28-

                29), the defendant was convicted under Article I03 for aiding a fugitive.

                At the rime of the defendant' s crime, the individual he was convicted of

                assisting had his bail revoked and therefore was subject to arrest.

        5.      Contrary to what the Government submits, the Taylors' prosecution is not

"supported by Japanese caselaw." The cases cited by the Government have nothing to do

with bail jumping. (ECF No. 22 at 28 .) Instead, they stand for the proposition that the



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fi rst part of Article 103--i.e., the clause which Mr. Watanabe asserts the Taylors have

violated- applies to instances where one enables another person to escape apprehension

by law enforcement. To my knowledge, Article I 03 has never been used to prosecute

assisting another in the act of jumping bail- and apparently Mr. Watanabe is not aware

of such an instance either.

        6.      As I wrote in my prior declaration, this is not mere happenstance. Rather,

Japan does not criminalize bai l jumping. It is difficult to comprehend how Japan can

charge someone under Article I 03 for assisting someone with engaging in conduct that is

itself not a crime. Any suggestion that charging the Taylors under Article 103 represents

a typical appl ication of the statute is wrong.

        7.      I am not the only expert in Japanese criminal law that believes that the

Taylors have not violated Article 103.        As recently reported in Bloomberg News, a

professor of criminal law at Hitotsubashi University named Yunhai Wang similarly

concluded that "Helping someone j ump bail isn't a crime in Japan." See, e.g. , Robert

Bumson, Ghosn Alleged Escape Accomplices Deny Commitling a Crime, Bloomberg

Law     (June    9,   2020),     https://news.bloomberglaw.com/whitc-collar-and-criminal-

law/ ghosn-al leged-escape-accompl ices-den y-committing-a-cri m e-2.     That       same

publication identified another person, a former Japanese prosecutor named Nobuo

Gohara, who also doubts the legitimacy of the Article 103 charges against the Taylors. Id.

       8.       T he Government writes, "Notably, the Taylors have not cited any case

where a Japanese court held that Article 103 cannot apply to situations where the

defendant enabled the scape of a person who had been released on bail." (ECF No. 22 at



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                                                                                              '

29.) That is for good reason.        As detailed above, as far as I (and, ostensibly,   Mr.

Watanabe) know, the issue has never been litigated-precisely because this prosecution

is unprecedented.

       I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct to the best of my knowledge and belief.



                    'l   I)
Executed on   June ~          2020




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                Exhibit 11
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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                            DISTRICT OF MASSACHUSETTS

IN THE MATIER OF THE                              )
EXTRADITION OF MICHAEL L.                         )      Case No. 20-mj-1069-DLC
TAYLOR                                            )
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IN THE MATIER OF THE                              )      Case No. 20-mj-1070-DLC
EXTRADITION OF PETER MAXWELL                      )
TAYLOR                                            )

     SECOND SUPPLEMENTAL DECLARATION OF DR. WILLIAM B. CLEARY

          Pursuant to 28 U.S.C. § 1746, I, William B. Cleary, hereby declare as follows:

          1.     My name is William B. Cleary and I provide this declaration as a supplement to

my two previous declarations, dated May 25, 2020 and June 20, 2020.

          2.     I reiterate my great respect for the Japanese legal system and my desire not to be

an advocate for, or against, any party in these matters. I simply want to assist the Court to

understand the Japanese laws, legal principles and cases that bear upon the issues presented by

Japan's request to extradite the TayJors.

          3.     Initially, I note that the issuance of an arrest warrant does not constitute a formal

charge of any kind. Instead, an arrest warrant is part of the investigative stage of a matter. An

individual does not become a "defendant" until he or she is indicted, and it is that indictment that

serves as the formal charge. Tn the Japanese system, it is the indictment that serves to let the

defendant know for what crime he or she is being charged, and the facts which the government

intends to prove in support of that charge. As I understand it, no indictment has been issued

against the Taylors. As a result, under the Japanese legal system, the Taylors have not yet been

charged with any offenses and are not yet even referred to as "defendants" in the Japanese

system.
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        4.      I further wish to clarify the structure and terminology employed in Article 103 of

the Japanese Penal Code so as to explain my previously-stated opinion that Article 103 simply

does not prohibit the conduct that Japan's Requests for Arrest Warrant allege by the Taylors.

        5.      Article 103 has been translated into English as providing for a criminal offense

when one ''harbors or enables the escape of another person who has either committed a crime

punishable with a fine or greater punishment or has escaped from confinement." While this

English translation uses two verbs--"harbors or enables the escape of another"- to describe the

operative conduct, the original Japanese text in fact employs a single verb---~, or "inpi."

This word, "inpi," is translated to mean, alternatively, "harbors or enables the escape of another,"

but it is a single concept that describes working against law enforcement authorities' active

pursuit of a criminal to arrest him.

        6.      While it is translated using the same English word "escape," inpi carries with it a

separate and distinct meaning from the word ~:jE , or "toso." The word ''toso" is the term used

in Article 97 and it is the term used in the latter part of Article 103, which is translated to English

as "has escaped from confinement." This word, ''toso," has a very specific meaning in that it

refers to escape from a place of physical confinement, such as a jail, prison or detention center.

       7.      The Japanese warrants for the Taylors" arrests do not themselves· identify the

offense or offenses for which the Taylors' arrests are authorized. Instead, they reference the

Requests for Arrest Warrant. The Requests for Arrest Warrant in tum begin with a declaration,

as translated to Engl ish, that a warrant is requested "on the alleged harboring of criminals and

accessory.ship of violation of the Immigration Control and Refugee Recognition Act (Article 7 1,

25 II) case." The original Japanese text that is translated to "harboring of criminals" is ID.A.it~ ,

which is the title of Article I 03 though the Requests do not cite to Article I 03. In any event,


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Annex 3 to the Requests for Arrest Warrant, which purports to describe the alleged facts of the

crime, describes the actions of the Taylors with respect to Mr. Ghosn not with the verb    illf!, or

"inpi," but rather using the word ~lE, or "toso." Therefore, as described in the Requests for

Arrest Warrant, it is clearly aJleged that the Taylors committed a crime by assisting or enabling

Mr. Ghosn to JlE:jt, or "toso,'' with the restrictions from which Mr. Ghosn is escaping being

specifically identified as the conditions under which he was baiJed.

        8.     In his declaration, Mr. Watanabe acknowledges that the word ~jE , or "toso,"

"has the same concepts as 'escaped from confinement"' and thus "is irrelevant to the concept of

'escape' used in 'enabJes the escape' in Article 103, which is an English translation of "it!!:"

("inpi'')." I agree with this statement. But the problem is that the Requests for Arrest Warrant

assert that. the Taylors allegedly committed a crime by enabling the ~jE, or "toso," of Mr.

Ghosn in reference to bis bail conditions. This-----the specific conduct alleged to constitute the

crime-does not constitute a violation of Article 103.

       9.      As I explained in my previous declarations, while there is one case where an

individual was prosecuted for assisting a defendant to avoid arrest after ills bail had been revoked

(Judgment of Osaka District Court, May 10, 2000), there is no prior instance in which Japan has

ever even attempted to charge anyone under Article 103 (or any other provision) for assisting

someone to violate their bail conditions.

       10.     Further, even if the Requests for Arrest Warrants had used the verb harboring-

-~. or "inpi"- to describe the Taylors' actions, that also would be an inaccurate use of the

word (as employed in Article 103) because there is no allegation (and no evidence) that law

enforcement auth9rities were actively seeking to arrest Mr. Ghosn when all of this occurred.

       I I.    Accordingly, to the extent the Requests for Arrest Warrant allege that the Taylors

                                                 3
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violated Article 103, the facts which those Requests point to as the basis for that aJlegation

constitute a completely unprecedented application of Article 103 that runs contrary to the manner

in which that provision historically has been applied and interpreted .

       1 declare under penalty of perjury under the Jaws of the United States of America that the

foregoing is true and correct to the best of my knowledge and belief.


Executed on July   J.i, 2020
                                              qJ \
                                              William B. Cleary




                                                 4
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                Exhibit 12
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                              CERTIFICATION




         I, SEKI Yoshitaka, Director of the International Affairs Division,
d'nminal Affairs Bureau, Ministry of Justice of Japan, hereby certificate
that attached each document is the original or certified copy to the
appropriate Legal Authorities in the United States of America made by the
officer of the Government.
        All   the documents submitted herein are duly certified and
authenticated together with certified translations in English.




 July 21, 2020




                                    SEKI Yoshitaka (Mr.)
                                    Director
                                    International Affairs Division
                                    Criminal Affairs Bureau
                                    Ministry of Justice
                                    Japan
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                            CERTIFICATE OF TRANSLATION




         I, KITAJIMA Ryozo, certify that I am competent co translate this document, and that
the translation is true and accurate, to the best of my ability.




Executed on July 21, 2020




                                               KITAJIMA Ryozo
                                               Public Prosecutor
                                               Special Investigation Department
                                               Tokyo District Public Prosecutors Office




          I, SEKJ Yoshitaka, certify that the said officer has sufficient ability to translate this
document.




Executed on July 21, 2020




                                                SEKI Yoshitaka
                                                Director of International Affairs Division
                                                Criminal Affairs Bureau
                                                Ministry of Justice
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                                             Supplemental Declaration




1.    I write this declaration to supplement my prior declarations. This declaration incorporates, by

      reference, the information included in those declarations. The facts stated in this supplem ental

      declaration are true to the best of my knowledge and belief.

2.    Under Japanese law, an arrest warrant and a request thereof must contain, among other information,

      the name of the suspect, the charged offense, and an outline of the alleged facts of the offense, but

      it   ~:loes   not require that the applicable penal article be identified. (Article 200 I of the Code of

      Criminal Procedure and Article 142 I of the Rules of Criminal Procedure). An arrest warrant may

      be prepared by appending the written request for said arrest warrant (Article 145 of the Rules of

      Criminal Procedure). The term "charged offense" in this context means the name of a crime

      applicable to a case which is the subject of criminal investigation, and is the information, in

      combination with an outline of the alleged facts of the crime, for identifying the case which is the

      subject of criminal investigation.

3.    As I mentioned in my previous declarations, it is regular practice in Japan to include in arrest

      warrant requests the name of the Penal Code offense, but not the corresponding article of the Penal

      Code that applies. Such practice is also explained in "Reijyojimu (saiteiban)", a textbook of

      warrant practices supervised by The Training and Research Institute for Court Officials in Japan,

      the institution in charge of training of court officials including court clerks. The pages 6 to 7 of the

      book state, "it does not require that the applicable penal article be identified. However, when it

      comes to violations of Acts other than the Penal Code, it is desirable to clarify the applicable statute



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      by describing as violation of the XX Act, Article XX: because simply describing as violation ofXX

      Act is not clear enough as the name of the offense which should be the name of each specific


      offense." (emphasis added)

4.    An arrest warrant authorize8 a public prosecutor, public prosecutor's assistant officer or judicial

      police official to arrest the suspect for the offense identified in the arrest warrant (Article 1991 of

      the Code of Criminal Procedure).

5.    Consistent with these laws and rules. the two arrest warrants were issued by the judge respectively

      for Michael L. Taylor and Peter Maxwell Taylor for the offenses identified in the arrest warrants:

      enabling the escape of criminals under Article 103 of the Penal Code and accessorysh.ip of

      violation of the Immigration Control and Refugee Recognition Act (Article 71, Article 25 II).

6.    In cases involving international fugitives, it is essential to arrest the fugitive in Japan for the

      purpose of securing his/her appearance at trial in order to conduct criminal trial against him/her in

      Japan. Thus, following the issuance of an arrest warrant in Japan, only after the fugitive is arrested

      on the arrest warrant, a Japanese public prosecutor will prosecute the fugitive by submitting a

      document called "Jt£ii/f:l*" ("ki-so-jo") which contains the name of the accused, the charged facts,

      and the charged offense with applicable statutes (Articles 247 and 256 of the Code of Criminal

      Procedure). This document has not been submitted yet because neither Michael L~ Taylor nor Peter

      Maxwell Taylor has been arrested in Japan yet.

7.    The acts of Michael   ~-   Taylor and Peter Maxwell Taylor constitute "enable the escape" of Ghosn

      by impeding his arrest or detection by government officials. When "the accused has fled or there

      is probable cause to suspect that the accused may flee", " [t]hecourt may... make a ruling to rescind



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               the bail" and the accused may be apprehended (Article 96 1 (ii) of the Code ofCriminal Procedure 1) .

               Therefore, if Ghosn had not concealed himself and tried to openly depart Japan from an airport in

               the regular manner, e.g., by purchasing an airplane ticket with his own name, visiting an airport,

               and using the ticket and his passport, he would have been certainly noticed at the immigration

               inspection and his bail would have been rescinded. However, Michael L. Taylor and Peter Maxwell

               Taylor enabled Ghosn to avoid detection by government officials, to avoid the rescission of bail

               and arrest, and to avoid the criminal prosecution by the series of acts described in the extradition

               requests.

         8.    The Memorandum in support of petitioners' motion for preliminary injunction dated on July 16,

               2020 notes that Article 103 was not mentioned .in the investigation reports included in the

               extradition requests. This is only because the investigation was initiated in response to Ghosn's

               illegal departure. The fact that the scope of the investigation conducted by the Tokyo District

               Public Prosecutors Offi~e covered the suspected "enabling the escape of criminals" under Article

               103 committed by Michael L. Taylor and Peter Maxwell Taylor is evidenced by the charged

               offenses in the arrest warrants dated the January 30, 2020 and February 28, 2020 for Michael L.




    1
      Article 96 I The court may, upon the request of a public prosecutor or ex officio, make a ruling to rescind the bail
    or suspension of the execution of detention when: .
)   (i) the accused has been summoned but does n.o t appear without a justifiable reason;
    (ii) the accused has fled or there is probable cause to suspect that the accused may flee;
    (iii) the accused has concealed or destroyed evidence or there is probable cause to suspect that the accused may
    conceal or destroy evidence;
    (iv) the accused has banned or tried to harm the body or property of the victim, any other person who is deemed to
    have knowledge essential to the trial of the case or the relatives of such persons or has threatened them; or
     (v) the accused has violated the conditions set by the court such as restrictions on the place of residence.



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           Taylor and Peter Maxwell Taylor and all of the infonnation submitted in the extradition requests

           including video surveillance camera images, witness statements, and other documents.

     9.    Annex 3 of the F~bruary 28, 2020 arrest warrant requests for Michael L. Taylor and Peter Maxwell

           Taylor uses both "~iM" ("in-pi" or "enable the escape") and "~'A§:" ("toso'', or "escape"f The

           meaning of"~~" ("toso") is determined by the context in which it is used. When used in A rticles

           973 and 98 4 and used to describe "another person who has ... escaped from confinement" in

           Article 103, it is limited by putting the condition of a certain type of confinement set forth by each

           article. Outs ide that context, e.g., in cases where. the defendant enables the escape of "another

           person who has . .. committed a crime", like in this case, it is not limited in the same way. In Annex

           3 of the February 2~, 2020 arrest warrant requests for M ichael L. Taylor and Peter Maxwell Taylor,

           "~7E" ("toso") used in the phrase "~j;E K. @!:§'. ~ Ej.. .:l"     ( "toso-ni-bengi-wo-atae") ("assisting

           [Ghosn's) escape") means Ghosn's fleeing from the Japan's administration of criminal justice;

           more specifically, to avoid detection by government officials, to avoid the rescission of bail and

           arrest, and to avoid tbe ·criminal prosecution. The usage of "ill;ij§: Ii:~:§'. ~ 1:j. .:l"       ("toso-ni-

           bengi-wo-atae") ("assisting escape") is found in other cases involving the offense of enabling

           the escape of criminals under Article 103 of the Penal Code. For example, in one case, the

           defendant provided cash and SIM cards to the suspect, who was "another person who has ...

           committed a crime" of intimidation and was not under confinement or fleeing from the scene of a



2
  The analysis in this paragraph also applies to the January 30, 2020 arrest warrant requests for Michael L. Taylor
and Peter Maxwell Taylor.
3
  "When a sentenced or unsentenced person confined on a judge's order escapes" (emphasis added)
4
  "When a person who is provided for in the preceding Article or held under a subpoena escapes either by damaging
the facilities or instruments of restraint for confinement, by committing an act of assault or intimidation, or together
in agreement with another person escapes" (emphasis added)

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    crime to evade police apprehension, and for whom an arrest warrant had not been issued yet. The

    court found that the defendant' s acts of "assisting escape"   ("ill7E IC 19!'.i! '!-Jj. .:t" , pronounced

    "toso-ni-bengi-wo-atae") constituted an offense of enabling the escape of criminals under Article

    103 of the Penal Code (Judgment of Nagoya District Court, October 15, 2013, Hanreibisho

    L06850550).




July 21, 2020
                                                    Tokyo District Public Prosecutors Office
                                                    Public Prosecutor




                                                     WATANABE Naoki




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            Start of debate on escape prevention measures Received Gone defendant case- Legal Affairs Committee




             Start of debate on escape prevention measures Received
             Gone defendant case-Legal Affairs Committee
                                                                                                                         17:51 Jun 15, 2020



              The first meeting of the Criminal Law Subcommittee, a legal council (a consultative body of
            the Minister of Justice), was held on the 15th to discuss measures to prevent the defendants
            from escaping on bail. Following the incident of former Nissan Motors President Carlos Ghosn,
            etc., the establishment of new penalties for the escape and the mandatory installation of
            Global Positioning System (GPS) equipment on bail are issues to be considered.
              The current criminal law, "flight offenses," targets inmates in prisons. For this reason , it
            does not apply when in bail such as Ghosn. After the bail , the prison sentence was confirmed
            and disappeared in order to escape from imprisonment, and the legal court will also consider
            the application of escape charges in such cases.
              There was a suspicion that a former US Army Special Forces member was involved in the
            escape of Ghosn, and attendees also pointed out that "it is necessary to consider how to
            stop the escape of those who use professional groups."

            [ To list of so c ial arti c le s] [ To current affairs dot c om top]

                 New Corona Update                       "Kyo-an i" c ase       Gone Defendant

                                                                        COMMENT /VIEW




                                                                    SEE ALL COMMENTS


            Feature
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                Exhibit 14
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Masako Mori, Minister of Justice, expressed his belief in the Legal Committee of
the 201st Diet session
                                                                                            March 6, 2nd year (Fri)




 First, I'm Masako Mori, Minister of Justice. We would like to express our sincere gratitude to Chairman
Midori Matsushima, the directors, and the members of the committee for their continued understanding
and efforts regarding the administration of legal administration.
 At present, the spread of new coronavirus infection is spreading, and a great sense of anxiety is
spreading among the people. The government is working together to protect the lives and health of the
people, and the Ministry of Justice will also take measures to prevent the spread of infection, including
thorough measures against the waterfront.
 It will be March 11th. It has been nine years since the Great East Japan Earthquake and the nuclear
accident. Once again, I would like to express my sincere condolences to the victims of the disaster. I will
share my awareness that "all ministers are ministers of reconstruction", and I will do my utmost to work
closely with the hearts of disaster victims in the recovery and reconstruction of the disaster-stricken
areas and to support their lives.
 Through legal administration, I will seriously work toward the realization of justice, that is, a just society
in which justice is maintained. Based on this determination, the slogan of the 14th United Nations
Conference on Criminal Criminal Justice (Kyoto Congress) held in Kyoto this year was changed to the
slogan
"Peace and Justice for All (Peace and Justice for All). )”
. This is also the 16th goal of the Sustainable Development Goals (SDGs) adopted by the United Nations.
We believe that it is the responsibility of legal administration to achieve a society in which all people can
enjoy peace and justice by sticking to the rule of law.
 In addition, on February 26, as a flame of reconstruction in the disaster area, the Torch Relay will start
from Fukushima Prefecture and the Tokyo Olympic and Paralympic Games will be held. The Ministry of
Justice will do its utmost to realize a safe and secure society by aiming for the success of the Games,
including measures against various crimes, appropriate immigration control, and promotion of human rights
measures, and looking after the Games.


  About approach to problem of legal administration

1 Realization of society without abuse and discrimination


 (strict coping with
 sex crimes ) Sex crimes seriously violate the personality and dignity of victims, and give great pain to
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their minds and bodies for many years. It is a vicious and serious crime that continues, and strict
measures are required.
 The accusations of innocence of sex crimes led to flower demonstrations all over the country, and
sexually-affected parties who could not speak until then are raising their voices.
 The supplementary provisions of the “Law to Partially Revise the Criminal Code” regarding sex crimes
established in 2017, will consider the comprehensive policy regarding sex crimes within three years after
the enforcement. The Ministry of Justice has been working to understand the actual situation of sex
crimes, etc. to contribute to this examination, and is currently working on the compilation. In the future,
based on the results, we will continue to listen to the voices of sexually-affected parties and take
appropriate actions.


 (Child abuse prevention measures)
 In order to eradicate child abuse, it is important to protect children's lives more than anything else, and
to comprehensively work on prevention, early detection, and protection of children who have been
damaged. Based on "Dramatic strengthening of child abuse prevention measures" compiled by the
government last year and "Ministry of Justice Child Abuse Prevention Measures Enhancement Plan"
formulated in February this year, work closely with related organizations such as child guidance centers.
At the same time, we will steadily promote efforts such as support utilizing the specialized knowledge of
psychology at the Legal Juvenile Support Center.


 (Efforts to address human rights issues caused by the earthquake)
 Human rights issues such as discriminatory treatment and bullying of children still exist based on rumors
associated with the Great East Japan Earthquake and the nuclear power plant accident. Discrimination
and slander against the disaster-stricken areas and the victims must not be refused, and we will respond
resolutely through consultation and investigation and relief activities by human rights defenders.


 (Response to various human rights issues)
 Human rights issues concerning women, children and the elderly, discrimination based on disability,
human rights violations against foreigners including hate speech, discrimination issues such as Buraku
discrimination, sexual orientation, etc. In order to resolve various human rights problems such as prejudice
and discrimination based on gender identity, defamation and privacy infringement that abused the Internet,
we will carefully and persistently work on investigation and relief activities etc. for human rights violations
while making full use of individual laws and regulations ..
 As "barrier-free for the mind", we promote human rights enlightenment activities for everyone to
cherish each other's human rights and to support each other in a symbiotic society. Based on the
circumstances in which patients with leprosy, former patients and their families were placed. We will firmly
engage in human rights awareness activities.
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 (Cancellation of unregistered state)
 For parents who have not been notified of their birth by their parents and are unregistered, we will take
measures such as thoroughly grasping the actual situation and giving careful guidance on the procedure,
while also considering further measures, We will work to resolve it.


2 Reinforcement of Civil Law System


 (Civil Law System Responding to Changes in Society)
 We will proceed with the necessary revision of the basic civil law to respond to changes in society.
 Regarding the problem of nonpayment of child support, which is one of the causes of children's poverty,
we will work proactively to eliminate it in cooperation with related ministries and agencies, and will firmly
protect the future of children. In addition, we will continue to steadily examine the current family law
system, including issues related to face-to-face exchanges and problems related to the upbringing of
children after their parents divorce.
 In addition, we will make every effort to prepare for smooth enforcement and to inform the public about
the reduction of the adult age that is coming into force and the revision of civil law in the field of credit
law.


 (Responding to the problem of land with unknown owner)
 In recent years, the problem of land with unknown owner has become a problem in various situations, and
we recognize that countermeasures are important issues that should be addressed by the government as
a whole. To solve this problem, we will steadily implement various measures such as efforts to promote
inheritance registration and work to eliminate land whose title section owner is unknown.
 Furthermore, in order to fundamentally solve the problem of land with unknown owner, the Legislative
Council is currently in the process of deliberation on the revision of the Civil Code and the Real Estate
Registration Law. We will carry out specific examinations for the revision.


 (Recovery/Reconstruction Support from Earthquakes/Disasters)
 We will do our utmost to support the recovery and reconstruction of a large number of large-scale
disasters. Appropriate and prompt response to registration contract cases, loss of registration due to the
expropriation of the registrar of the building that collapsed, maintenance of a map equipped with the
registration office, free legal consultation by "Ho terrace", etc. We will work while grasping it firmly.


 (Enhancement of Litigation Functions) In
 order to protect the rights and interests of the people, it is important for the country to enhance and
strengthen various litigation functions. In addition to properly and effectively exercising command authority
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over litigation related to national interests, we will strengthen the preventive judicial function to prevent
the occurrence of legal disputes both inside and outside Japan. In addition, we will work closely with
related ministries and agencies to strengthen our response to international litigation.


3 Realization of a judiciary that is close and reliable to the people


 (reform of the legal profession training system)
 Regarding the legal profession training system, in addition to advancing efforts to train legal profession
that can meet the expectations of the people, based on the recent revision of the law. By working closely
with the Ministry of Education, Culture, Sports, Science and Technology, we will proactively promote
efforts for more and more talented people to become lawyers.


 (Legal education)
 In anticipation of the reduction of the adult age of civil law in 4th year of Reiwa, we will actively
cooperate with related organizations so that many people have the opportunity to come into contact with
legal education according to the needs of the target generation and field. I will work.


 (Enhancement of comprehensive legal support)
 At "Ho terrace", we have enhanced the efforts to cooperate with welfare institutions and other
organizations to solve comprehensive problems for the elderly and provide services in various languages
such as Japanese legal system. We are working to provide support to meet the diversifying needs of
society. In the future, we will continue to make efforts to disseminate and publicize our efforts on the "Ho
terrace", as well as to implement smooth operations and enhance the system to support the access of
the public to the judiciary.


 (Enhancing the judicial system)
In order to enhance the system of the court, which is the core of the judiciary, etc., we have submitted to
the Diet the "Law to revise a part of the Court Staff Quota Law" that includes the increase in the number
of judges. It was. We ask that you make a thorough discussion and approve it as soon as possible.


 (Active use of new technologies such as AI and ICT)
 Response to rapidly advancing technological innovations such as AI and ICT will streamline operations
and improve the quality of judiciary and legal administration, and improve the business environment. There
is also an urgent need to maintain and enhance Japan's international competitiveness. We will vigorously
promote the utilization of new technologies in the fields of justice and legal administration, including the
introduction of IT in civil trials, and the establishment of a foundation for their realization.
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4 Realization of "Japan's safest country in the world"


 (recidivism prevention measures)
Based on the "Recidivism Prevention Promotion Plan" and the "Recidivism Prevention Promotion Plan
Acceleration Plan" decided by the Crime Countermeasures Ministerial Meeting in December last year,
relevant ministries and agencies. We will further promote cooperation with and local governments.
Guidance necessary for recovery of persons who commit crimes or delinquency, such as securing working
and housing, support for the elderly and persons with disabilities, those who have drug dependence, those
who have completed criminal procedures such as full-term release persons.・Providing appropriate support,
as well as support for the construction of an implementation system for preventing recidivism performed
by local governments, and support for the activities of the private sector, such as guardians, rehabilitation
and protection facilities, and cooperative employers. We will continue to enhance and strengthen it.


 (Protection and support for victims of crime, etc.)
In order to protect the rights and interests of victims of crime, etc. in accordance with the principles of
the Basic Law for victims of crime, etc. We will properly operate the system and strive to provide detailed
support.


 (Strict coping with so-called "driving")
 Considering the actual situation of casualties caused by so-called "drifting", in order to deal with the
actual situation of the case, actions such as stopping in front of a moving vehicle for the purpose of
obstructing traffic are added to the subject of dangerous driving fatal injury I consulted with the Legal
Council about this and received the report. Based on this, we will submit a bill to the Diet to revise a part
of the law on the punishment of acts such as injuring people by driving a car.


 (Development of criminal law to ensure appearance on trial dates and execution of penalties)
 Recently, there have been a number of escape cases involving persons who have been sentenced to
imprisonment, for example, and accused on bail. In light of this, we have recently consulted with the Legal
Council on the establishment of criminal law to ensure the escape of these persons and ensure the
appearance on trial dates and the execution of penalties. In the future, based on the results of the
deliberation, we will proceed with the necessary legislation.


 (Securing security, measures against the threat of national life)
In order to realize a society in which all people can live safely and with peace of mind, we will cooperate
with related organizations and take all necessary measures to ensure security, including dealing with
organized crime. We will take measures.
 In addition, we will endeavor to understand trends related to terrorism in Japan and overseas, and will
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work to strengthen information gathering and analysis functions while working closely with related
organizations.
 Regarding Aum Shinrikyo, which is currently active mainly in "Aleph", "Yamada et al." and "Hikari no
Wa," we will continue to properly and rigorously implement observation and disposal based on the Group
Regulation Law. We will endeavor to alleviate and alleviate residents' anxiety and ensure public safety.


 (Response to foreign threats)
 For North Korea, we will continue to appropriately implement measures to strengthen human traffic
regulations, and also to provide relevant information on trends related to nuclear and missiles, external
trends including the abduction of Japanese people, and domestic situations. We will proceed with
collection and analysis. Also, regarding the Senkaku Islands, we will cooperate with the related
organizations and provide a complete response.


5 Further strengthen immigration control and residence control, realize a multicultural society


 (both strict measures at the waterfront and smooth immigration control)
Awaiting the Tokyo Olympic and Paralympic Games, threatening Japan's safety and security It is
necessary to take resolute immigration control for those who may be in danger. On top of that, in order to
achieve both a high level of smooth immigration control for the promotion of tourism and strict immigration
control, the world's highest level technologies such as face recognition gates are used to further enhance
immigration control. I will proceed.
 In addition, in order to prevent improper departure from the country, we will work in cooperation with
related organizations to further tighten the procedures for departure.
 At the same time, in order to prevent the spread of new coronavirus infectious diseases, we will further
strengthen cooperation with related organizations and make every possible effort to prevent waterfront.


 (Acceptance of foreign human resources and appropriate residency management)
 Regarding the specific skill system, we will strive to operate the system properly so that foreign human
resources can fully exercise their power in Japan, and also for technical intern trainees and international
students. We will continue to work on operational improvements to ensure proper acceptance.
 Regarding the realization of a symbiotic society with foreigners, based on the “Comprehensive
Countermeasures for Accepting and Coexisting with Foreign Human Resources” revised at the end of last
year, the relevant immigration offices will fulfill the overall coordination function. We will work in close
cooperation with and to expand support for local governments related to a unified consultation service, set
up a center for residence support, and create guidelines for using friendly Japanese.
 In addition, regarding the use of medical insurance by foreigners, we will work in cooperation with the
Ministry of Health, Labor and Welfare to ensure proper operation based on the revision of the Health
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Insurance Law.


 (Appropriate and prompt protection of refugees )
Regarding the refugee recognition system, we will continue to give consideration to applicants who really
need asylum, such as giving a stable residence permit in the early stage, and applying for abuse or misuse.
We will strive to ensure proper operation of the system and promptly protect refugees by taking strict
measures such as not permitting residence in accordance with the content of the case.


 (Responding to the issue of deportation refugees' accommodation/repatriation issues) Even if a
 deportation order has been issued, due consideration should be given to proper procedures for those
who are refusing deportation for various reasons. At the same time, we will endeavor to realize prompt
repatriation and steadily resolve long-term accommodation conditions.
 Of course, we will also thoroughly implement proper treatment in consideration of the human rights of
inmates.


6 Active promotion of "judicial diplomacy"


 (UN Crime Prevention Criminal Justice Conference)
 At Kyoto Congress, we will exercise our leadership in strongly promoting to the international community
the universal and basic values such as the rule of law and respect for basic human rights, and the
importance of international cooperation. In addition, at this opportunity, in order to gain a correct
understanding of Japan's criminal justice system, we will actively make international communications and
hold dialogues with the judicial ministers of each country. Prior to the Kyoto Congress, we will hold a
youth forum to raise the interest of the youth of the world, who will lead the future, toward the realization
of a safe and secure society and contribute to the development of global human resources.


 (Activation of international arbitration )
 To revitalize international arbitration in Japan, while fully utilizing the arbitration facility in Toranomon, in
cooperation with relevant ministries and agencies, specialized human resource development such as
arbitrators, We will continue to improve the infrastructure such as public relations and awareness raising in
Japan and overseas.
 In addition, in order to respond more accurately to the internationalization of legal affairs and to promote
the establishment of a foundation for further activation of international arbitration, the “Special Measures
Law Concerning Handling of Legal Affairs by Foreign Lawyers” Bill to revise the department" was
submitted to the 200th Diet session. We ask that you make a thorough discussion and approve it as soon
as possible.
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 (International cooperation on crime prevention, legal system development, etc.)
 Over the years, laws such as drafting basic laws, developing and operating a judicial system, conducting
international training, and developing human resources for judicial personnel have been developed for
developing countries. We have provided system maintenance support. These international cooperations are
initiatives that contribute to the realization of the SDGs adopted by the United Nations, and we will
actively promote them.


 (Promotion of legal foreign language translation maintenance business)
 Amid the rapid acceleration of internationalization of the economy and society, translating and
disseminating important Japanese laws and regulations is a very important effort to improve the national
infrastructure in response to internationalization. Based on the discussion at the "Public-Private Strategy
Council for Promoting International Dissemination of Japanese Law" launched in December last year, we
will work even more toward the international dissemination of Japanese law in cooperation with related
ministries and agencies. ..


7 Establishing an environment in which employees can work vigorously


 (promotion of work style reform and promotion of employment of persons with disabilities)
Based on the “At Houm Plan” by the Ministry of Justice, the slogan is the achievement of women's
professional life and the acquisition of 100% leave Starting with the promotion of male employees to take
childcare leave, employees with various circumstances will strive to maintain a work environment where
they can play an active role and promote work-life balance.
 Regarding the employment of persons with disabilities, we will steadily work on the basis of the basic
policy of the government established last year.


 (Promotion of seismic retrofitting and anti-aging measures for facilities)
In light of recent natural disasters, we are steadily implementing anti-seismic and anti-aging measures for
the Ministry of Justice facilities, including correctional facilities such as prisons and their staff dormitories,
and disasters. At the same time, we will promote the improvement of correctional facilities, which are
expected to function as evacuation shelters, in order to secure the functions necessary to accept
neighboring residents.


  Conclusion In the future, we will continue to work on various issues together with Deputy Minister
Kosuke Yoshie, Parliamentary Vice-Minister Miyahisa Miyazaki, and all the staff responsible for legal
administration. First of all, I would like to ask the directors and committee members for their
continued understanding.
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   ttfil~ l<I: . tJjW~O)J...l'§~~li~?§t.,<~Wl- . -t'0)1(}!)tt:~~t:;bt:; LJ~ *tJ~jl~.!j~~ lt~i5'.el. !t*fJfil~\.'(!;;,LJ , SfiiEfJM~fJ<11H~\.'T.
   ttfil~O)•~*'l~tJ<*11;~~ 't~~c~~c:itJ, 1t1: . ::i?'? -'r'EtJ<~m~tl!!\.'rr:t>n~J:?t:to: LJ . -tn3'\.')l5~.L 1tGnto:tJ,c:it::tttljWlll$~0)1J l.l tJ<p;;~.L 1tn '*T.
    l!llill29~t:Jilltr.l-t::ttmm:ooT~ rlfiJ~O) -$~?$.iET~~ff JO)Sf!J11J\.'1<1: . ~fi~3 ~~ § i!cl-"C. ttmm:MTM'~~wo:~iftO)ff LJ1J~l11a1T~~cc~n n '*T. ~f§1!11
  a1t:l!lT~J:? . ttfil~O)~®Jeli<!i~i!&'>"C~t::c~-:, \.'&:.LJ . ~ff . -t-O)lfll LJ3'c&'>f'F~~rrc:in '*T. ~~ . -t-O)*li~HIJ3'~ . f1tljWlll$~<!iO))l5t:M 1 ~~~1.,c:itJ'LJc!J:~ti 1t
  t}Jt:Mi;t:t., "C3'~ 'LJ3'T.

    <~~lit.llln it.Miff)
   ~~/if.JO)lfl~O)f:;&'>t: 1<1: . jiijJ:LJ-t'fc-tO)Sl;~'<T~~cHi!Ui:cl, "(. -t'0)71!n~~JUl§t~ . tJjWt:&:.c:it:;~~O)jlj\~fJct: . f~~~l:lfllLJ~t;~cfJl!l~\.'T. !If~ .                              i&Jl'ffJllfllLJ;
  ~lit.Jllnit.MiftO)t&~~~itt:?~ '"C J ~ . ~~2Fl1:m~u:: r~f§1!i~~lit.Jllnit.Mift~it:t?::..- Jt:~?~ . ~~m~PJi<!iO)oog;11ooc~\ft:i1~1., ??. ~til1-'~~li-t?::..-$1-t:
  t:MT~~r,~~~~;!fJ,l,f:;~!i<!iO)lfll~~~~t:tti!l-"C3'~ 'LJ3'T.

    (g~1:~fi5JT~J...tlrQ,£D"'-O)lfll~)
   ~ B ~*E~.&Uml§t$~t:W?Ji.~t:~?<. ~UJ~l!llt&~ '~'fc-t"'-0)~ 'C&'><!iO)J...tirQ,£DfJl~ff-ti°fffl- n                              '*T.   tlj~tl!!~tlj~~O);IJ l.lt:MT~1(,-t,;~ '~,j',IJ. <Pla l<l:IJiC "( (!;;,
  t.;~ '{,O)\_'(!;;,LJ, J...tllll~llMt:J:~m~Hfllllt~~i!l!i<!i~ilC . ~~cl, "CMJ;l;l, "(°3'~ 'L)°3'T.


    (tfl.ltJJ...tirQ,£D<!i"'-O)Mi;t:)
   31:tt~.:rc-t. iilir.~~&1><·~;...t1rQ,£D . lltW<!i~J!EllcT~~,j',IJ.         r--< t-At:-7-~~t;~m;...1:MT~J...t1~w . miJ1~,j',IJto:cO)faltorQ,£D . tt~ralol ·tt111Ul~J!EllcT~l.i~ ~~~
  .:t-·;1t-~i5ml-t:: :g ~~m ~:t?-<, ':..--~W<!iO)tf l.l to: J...t1rQ,£D~M;~ TM::&'> . tH1~~.ll.Hl!1tVo: tJ<.; . J...t1~w1:MT~~Jt~~i!l!i<!i l:T~tJ,?*li LJ~<l!ll LJ~O'I- 3'T.
   r 1v0)1 ''JY::i•J-Jcl-"C. a-ttJ<t:>a~ 'O)J...ti~*t}J1:1., .      ~~ ~?~~u~~~~TM::&'>O)J...ti~§ti!l!l~tti!l- .                     , '::..--t?::..-~.e~· 5t!!.~~-t-O)~l.U<t:>tJ'*'- n    't::!ft~Hf3'~
  §t;!lbl:l,c:ifJ'L)clfll LJ~/v\.'°3'~ 'L)°3'T•

    ( l!itiSii~®O)M;~)
   illt:J:c:i"( tf::~O)/itf:: fJl~*1, "Cit:>GT . l!itPiicfJc:in 'Mittt:?~ '"C. latli!U::~®Jeli~T~fJ~~;'jtf1q~T~fJcO)lfll~~fi?cc-tt: .                           J!fJ~1Jift~-tl11a1l- . l!l\pfi~®O)M
  lv\.'°3'~'L)°3'T.




    Oi~O)l'.ftt:Mi;t:T~~$~M>
    ~$~~~1:?~ '"C. U~O)l'.ftt:Mi;t:TM::&'>t:~,~tJ~i!l-~i!&'>"C3'~ 'LJ3'T•
   .:rc-tO)ftli!IO)m\fi5JO) -?\.'&:.~JuiJtO):r-t1rQ,£D1:?~ '"C. oog;111rrcil~Vo:tJ<G .     -tO)M;A1:1oJ 1t't'mtt~1:l!ll LJ~O'I- . .:rc-tO)**~l-c:itJ,LJ"fc:i't'3'~ 'LJ3'T. -tO) littJ,1:-t. i
  rQ,£D<!i. f,lijiJlfJl-~Ql,f:;~O)'fc-tO)J!f'fif O)ff LJ;IJt:MT~rQ,£D~~&'> . ~ff fic:in 'Q~~~M<!il:?~ '"CO)l11a1g 1 ~~~~~t:)!&'>"(°3'~ 'L)°3'T.
    3't:: . ~rr~~~ n 'QJill~~tillO)'.l l r: 1t~ilt1~?J-ffO) ~~<!i0)?$.iEt:?~ '"C 1<1: . Pl iftto:~m:lol 1tt::lJ!.lftcm~"'O)m~1:~ :l:J~Jg<l-3'T.

    <m~~:r-eJl±tl!!rQ,£D"'-O)Mi;t:>
   ili~ . rn~~:r-eJl±tl!!rQ,£DtJ<ttl.lto:~iii'-'rQ,£Dcto:c:i't't:>LJ .   -t-O)Mift1<1: . i&R'f~i*cl- 't'l!ll LJ~t;x.~!t~to:~£Dc&llill- 't't:>LJ3'T.   -t-O)M~t:lol it    . *ll~i'tacO)iii!O)t::&'>O)lfll~
  ~~:r-eJl±tl!!O)M;~f'F~fJcO)~Mift~~~t:~~l, "(°3'~ 'L)°3'T.
   ~Gt: . PJi~~:r-eJl±tl!!rQ,£DO)t&~~tJM~t:loJ It"( . ~ff .              ~1MIHl~t:t:>~ '"C. ~~.&U1'l!i~i'tac~O)?$.iEt:?~ '"CO)~Jt-~~~ 't:;t~~ ' n 'QC~-:, \_'(!;;,LJ , 'l l ~~~oog;111Ji
  "(. ~?$.iEt:lo] ltt::~i*~fJl11a1~fic:i"C°3'~ 'L)°3'T.

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   （震災・災害からの復旧・復興支援）
   相次ぐ大規模災害に対する復旧・復興支援に全力で取り組みます。登記嘱託事件等の適切かつ迅速な対応，倒壊するなどした建物の登記官の職権による滅失登記，登記所備付地図の整
  ラス」による無料法律相談など，被災地の御要望・需要をしっかりと把握しながら取り組んでまいります。

   （訟務機能の充実）
   国民の権利利益の保護を図るためには，国として，多様な訟務機能の充実強化が重要です。国の利害に関係する訴訟に対する指揮権限を適切かつ効果的に行使することはもとより，国内
  紛争の発生そのものを未然に防止するための予防司法機能の強化を図ります。また，関係省庁と緊密に連携して，国際訴訟等への対応も強化いたします。

  ３ 国民に身近で頼りがいのある司法の実現

   （法曹養成制度改革）
   法曹養成制度については，国民の期待に応えられる法曹を養成するための取組を進めることはもとより，先般の法改正に基づき，文部科学省等としっかり連携して，より多くの有為な人材が
  望するための取組をも積極的に進めてまいります。

   （法教育）
   令和４年の民法の成年年齢引下げをも見据え，関係機関とも連携しながら，対象世代や現場のニーズに応じ，多くの国民が法教育に触れる機会を持てるよう，積極的に取り組みます。

   （総合法律支援の充実）
   「法テラス」では，福祉機関等と連携して高齢者等の総合的な問題解決を図る取組や，我が国の法制度等の情報を多言語で提供するサービスを充実させるなど，多様化する社会の要請に
  の支援に取り組んでいます。今後も「法テラス」の取組の周知・広報に努めるとともに，国民の司法へのアクセスを支援するための業務の円滑な実施と体制の充実を図ってまいります。

   （司法の体制充実）
   司法の中核をなす裁判所の体制の充実強化等を図るため，判事の増員などを内容とする「裁判所職員定員法の一部を改正する法律案」を今国会に提出いたしました。十分に御審議の上
  御可決くださいますようお願いをいたします。

   （ＡＩ・ＩＣＴ等の新しい技術の積極的な活用）
   急速に進展するＡＩやＩＣＴ等の技術革新への対応は，業務を効率化し，司法や法務行政の質の向上を図るとともに，ビジネス環境を整備し，日本の国際競争力を高める上でも急務となって
  事裁判のＩＴ化を始めとした司法・法務行政の分野における新たな技術の活用及びその実現に向けた基盤整備を強力に推進してまいります。

  ４ 「世界一安全な国，日本」の実現

   （再犯防止対策）
   「再犯防止推進計画」及び昨年１２月に犯罪対策閣僚会議で決定された「再犯防止推進計画加速化プラン」に基づき，関係省庁や地方公共団体との連携を一層推進します。就労・住居の確
  や障害のある者，薬物依存を有する者，満期釈放者を始めとした刑事手続を終了した者への支援など，犯罪や非行をした者の立ち直りに必要な指導・支援を適切に実施するとともに，地方
  行う再犯防止の実施体制の構築に向けた支援や，保護司，更生保護施設，協力雇用主等の民間の皆様の活動への支援を，より一層充実強化してまいります。

   （犯罪被害者等の保護・支援）
   犯罪被害者の御負担に関する様々な御指摘等を踏まえ，犯罪被害者等基本法の理念にのっとり，犯罪被害者等の権利・利益の保護を図るための各種制度を適切に運用し，きめ細やかな
  めてまいります。

   （いわゆる「あおり運転」への厳正な対処）
   いわゆる「あおり運転」による死傷事犯の実情等に鑑み，事案の実態に即した対処をするため，通行妨害目的で走行中の車の前方で停止する行為等を危険運転致死傷罪の対象に加える
  て，法制審議会に諮問をし，その答申を得ました。これを踏まえ，「自動車の運転により人を死傷させる行為等の処罰に関する法律の一部を改正する法律案」を今国会に提出いたします。

   （公判期日への出頭及び刑の執行を確保するための刑事法の整備）
   近時，懲役等の刑が確定した者や保釈中の被告人等の逃亡事案が相次いで発生していること等に鑑み，これらの者の逃亡を確実に防止し，公判期日への出頭や刑の執行を確保するため
  の整備について，先般，法制審議会に諮問をいたしました。今後，審議結果を踏まえて，必要な法整備を進めてまいります。

   （治安の確保，国民生活の脅威への対策）
   国民の皆様が安全に安心して暮らせる社会を実現するため，関係機関とも連携し，組織犯罪等への対応を含め，治安確保のための万全の対策を講じてまいります。
   また，国内外におけるテロ関連動向の把握に努め，関係機関との連携を緊密にしつつ，情報収集・分析機能の強化に努めてまいります。
   現在，「Ａｌｅｐｈ」（アレフ），「山田らの集団」及び「ひかりの輪」を中心に活動するオウム真理教については，引き続き，団体規制法に基づく観察処分を適正かつ厳格に実施し，地域住民の不
  消・緩和するとともに，公共の安全の確保に努めてまいります。

   （国外の脅威への対応）
   北朝鮮に対しては，今後も人的往来の規制強化措置等を適切に実施していくとともに，核・ミサイル関連の動向，日本人拉致問題を含む対外動向や国内状況等について，関連情報の収集
  進めます。また，尖閣諸島関係についても，関係機関と連携し，遺漏のない対応をいたします。

  ５ 出入国管理と在留管理の一層の強化，多文化共生社会の実現

   （厳格な水際対策の徹底と円滑な入国審査の両立）
   東京オリンピック・パラリンピック競技大会の開催を控え，我が国の安全・安心を脅かす危険な行為に及ぶおそれがある者らに対する，毅然とした入国管理を行う必要があります。その上で
  推進に向けた円滑な入国審査と，厳格な入国管理を高度な次元で両立させるため，顔認証ゲートなどの世界最高水準の技術を活用し，入国審査の更なる高度化を進めてまいります。
   また，不正な出国防止のため，関係機関と連携し，出国時の手続のより一層の厳格化に努めてまいります。
   併せて，新型コロナウイルス感染症の感染拡大の防止に向け，関係機関との連携を一層強化し，水際対策に万全を期す所存です。

   （外国人材の受入れと適切な在留管理）
   特定技能制度については，外国人材の皆様に我が国で十分に力を発揮していただけるよう，制度の適正な運用に努め， 技能実習生や留学生についても，適正な受入れを図るため，運用
  取り組んでまいります。
   外国人との共生社会の実現については，昨年末に改訂した「外国人材の受入れ・共生のための総合的対応策」などを踏まえ，出入国在留管理庁による総合調整機能を果たしつつ，関係府
  に連携して，一元的相談窓口に係る地方公共団体への支援の拡大，在留支援のためのセンターの設置，やさしい日本語の活用に関するガイドラインの作成などに取り組んでまいります。
   また，外国人による医療保険の利用について，厚生労働省と協力して，健康保険法の改正を踏まえた適正な運用の確保に努めてまいります。

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   （適正かつ迅速な難民の保護）
   難民認定制度については，引き続き，真に庇護を必要とする申請者には，早期に安定した在留許可をするなどの配慮を行い，濫用・誤用的な申請者には，事案の内容に応じて在留を許可
  の厳格な対応を行うことにより，制度の適正な運用に努め，難民の迅速な保護を図ってまいります。

   （送還忌避者の収容・送還問題への対応）
   退去強制令書が発付されたにもかかわらず，様々な理由で送還を忌避している者に対しては，適正手続にも十分に配慮しつつ，迅速な送還の実現及び長期収容状態の着実な解消に努め
  す。
   もとより，被収容者の人権に配慮した，適正な処遇につきましても，改めて徹底してまいります。

  ６ 「司法外交」の積極的な推進

   （国連犯罪防止刑事司法会議）
   京都コングレスでは，法の支配や基本的人権の尊重といった普遍的・基本的価値や国際協力の重要性を国際社会に強く打ち出すべく，指導力を発揮してまいります。また，この機会に，我
  司法制度に対する正しい理解を得るため，積極的に国際発信を行うとともに，各国の司法関係閣僚と対話を行います。京都コングレスに先だって，ユースフォーラムを開催し，未来を担う世界
  安全・安心な社会の実現への関心を高めてもらうとともに，グローバル人材の育成に貢献いたします。

   （国際仲裁の活性化等）
   我が国における国際仲裁の活性化に向け，虎ノ門の仲裁専用施設も十分に活用しつつ，関係省庁・関係機関と連携しながら，仲裁人等の専門的な人材育成，国内外における広報・意識啓
  盤整備を進めてまいります。
   また，法律事務の国際化等に，より的確に対応するとともに，国際仲裁の更なる活性化に向けた基盤整備を推進する等のため，「外国弁護士による法律事務の取扱いに関する特別措置法
  正する法律案」を第２００回国会に提出いたしました。十分に御審議の上，速やかに御可決くださいますようお願いをいたします。

   （犯罪防止や法制度整備等に関する国際協力）
   これまで長年にわたり，開発途上国等に対し，基本法令の起草，司法制度の整備や運用，国際研修の実施，司法関係者の人材育成 などの法制度整備支援を行ってまいりました。これらの
  は，国連で採択されたＳＤＧｓの実現にも資する取組であり，積極的に推進してまいります。

   （法令外国語訳整備事業の推進）
   経済社会の国際化が急激に加速する中，重要な日本法令を翻訳して発信することは，国際化に対応した国家の基盤整備として，大変重要な取組です。昨年１２月に立ち上げた「日本法令
  の推進に向けた官民戦略会議」での議論を踏まえ，関係省庁と連携して，日本法令の国際発信に向けて，より一層取り組んでまいります。

  ７ 職員が生き生きと仕事のできる環境の整備

   （働き方改革の推進及び障害者雇用の促進）
   法務省における「アット・ホウムプラン」に基づき，女性の職業生活における活躍や，１００％育休取得をスローガンとする男性職員の育児休業の取得の推進を始めとして，様々な事情を抱え
  生き生きと活躍できる職場環境の整備とワークライフバランスの推進に努めます。
   障害者雇用については，一昨年定められた政府の基本方針に基づき，着実に取組を進めてまいります。

   （施設の耐震化及び老朽化対策の推進）
   昨今の自然災害の発生に鑑み，刑務所等の矯正施設及びその職員宿舎を始めとする法務省施設の耐震化及び老朽化対策を着実に進めるとともに，災害時に避難所としての役割を期待
  施設について，近隣住民の受入れに必要な機能の確保に向けた整備を併せて推進してまいります。

    結び

   今後とも，様々な課題に対し，義家弘介副大臣，宮﨑政久大臣政務官，そして，法務行政を担う全ての職員と一丸となって，全力で取り組んでまいりますので，松島みどり委員長を始め，理
  皆様方には， より一層の御理解と御協力を賜りますよう，よろしくお願い申し上げます。




                                                                                                 ペ




 会見・報道・お知ら 法務省の概要                                   試験・資格・採用   政策・審議会等         申請・手続        白書・統計・
 せ          大臣・副大臣・政務官                              司法試験       省議・審議会等         情報公開・公文書管理   白書・統計
   大臣会見等                     法務省幹部一覧                資格試験       司法制度改革の推進       個人情報保護       予算・決算
   プレスリリース                   組織案内                   採用試験       国民の基本的な権利の実現    行政手続の案内      パンフレット・
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   法務省ソーシャルメディア公                                                                            法務省だよりあか
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   その他のお知らせ                                                    第１４回国際連合犯罪防止刑                キッズルーム
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Case 4:20-cv-11272-IT Document 59-5 Filed 11/06/20 Page 292 of 358




                Exhibit 15
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First meeting to prevent escape during legal bail and bail
Application of escape crime and consideration of GPS attachment                                                                  jomo
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   The Ministry of Justice held the first meeting of the Legal Council Uudge of the Minister
of Justice) sub-committee, which considers measures to prevent escape of bailed
defendants. Th e agendas include the application of criminal escape crimes to those on
bai l and the wearing of satellite positioning system (GPS) on the body.

   While the percentage of bail approved by the cou rts is increasing year by yea r,
defendants' fleeing cases occurred in Kanagawa and Osaka prefectures last year. At the
end of the year, former Nissan Motor Chairman Carlos Ghosn fled to Lebanon, and
there were growing ca lls for legislation.

   At the fi rst meeting, it was said that in addition to penalties and GPS mounting, it is                                        He
necessary to consider measures to prevent flight abroad.



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Related article
First policy decision to strengthen measures against sexual crimes, government considers GPS
for suspension of execution
[2020/06/11]

Considering GPS installation as a measure against sex crimes Government policy, damage
prevention from childhood
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                Exhibit 16
      Case 4:20-cv-11272-IT Document 59-5 Filed 11/06/20 Page 296 of 358




Bring Greg Kelly Home From Japan




My father, Greg Kelly, has been trapped in Japan for the past 15 months, a victim
of Japan’s draconian justice system. There is a significant amount of evidence
proving my father’s innocence, and furthermore, this issue should have been
treated as a civil matter rather than a criminal case. With no end in sight and a
prosecutorial system that assumes guilt, we implore the US government to push
for a resolution that allows my father to return home immediately.

My father spent 30+ years at Nissan working his way up from a corporate
attorney to eventually becoming the first American member of Nissan’s Board in
2012. Along the way, he worked unbelievably long hours for the benefit of
Nissan, often sacrificing time with friends and family.

Nissan rewarded my father’s dedication by luring him to Japan in November 2018
under false pretenses for a business meeting, where he was arrested immediately
upon arrival. The charges were part of a conspiracy between Nissan and Japanese
prosecutors. Even worse, the senior executive who summoned my father to be
arrested knew that my father was scheduled for critically urgent neck fusion
surgery just two weeks later.
      Case 4:20-cv-11272-IT Document 59-5 Filed 11/06/20 Page 297 of 358




My father spent the next 35 days in solitary confinement, sleeping on the floor
with no heat in the dead of winter. The conditions of his incarceration and the
delay in his surgery caused his neck condition to worsen. He still suffers from
shooting pains and numbness in his extremities as a result. My father was also
interrogated several hours per day without legal representation present and was
prevented from contacting his family.

Ultimately my father was indicted on false allegations that he underreported the
earnings of former Nissan chairman, Carlos Ghosn. My father’s arrest and
detainment were based on financial reporting that had no financial impact on
Nissan. In reality, his charges were part of a power grab by Nissan executives to
prevent Mr. Ghosn from merging Renault and Nissan.

The allegations against my father of underreporting Mr. Ghosn’s compensation
are not true and are related entirely to lawful actions that my father and others
considered taking to retain the valuable services of Mr. Ghosn who was viewed as
a retention risk by senior Japanese executives and directors at Nissan. No
agreement was ever executed with Mr. Ghosn and nothing was paid to
him. Japanese executives involved in the efforts to retain Mr. Ghosn were never
arrested.

This matter should have been resolved within Nissan and should not have ended
up in the criminal system. Nobody from Nissan ever asked my father for an
explanation about the actions that were being considered to retain Mr.
Ghosn. Many Japanese scholars and lawyers agree that this is not a criminal
matter. According to published accounts, Japanese Prime Minister Shinzo Abe at
a private dinner earlier this year admitted that this matter should have been dealt
with internally at Nissan. The Prime Minister is correct.

I do not believe that my father can get a fair trial in Japan in large part because
the chief witness in his case, Mr. Ghosn, has fled Japan and won’t be available to
testify. Mr. Ghosn escaped Japan’s so-called “hostage justice” system and is living
in Lebanon. More than 1,000 Japanese academics and lawyers signed a letter
drafted by Human Rights Watch criticizing Japan’s system with a conviction rate
of 99.4 percent. We do not want my father to miss out on years of time with his
friends and family, especially his two grandsons, because nobody is willing to hold
Japan accountable for its archaic justice system.
         Case 4:20-cv-11272-IT Document 59-5 Filed 11/06/20 Page 298 of 358




We request the U.S. government to work with Prime Minister Abe’s
administration to obtain Greg Kelly’s release and allow him to return to his
family in the U.S.

Please help bring my father home!

Kevin Kelly
4822-0175-4057, v. 1
Case 4:20-cv-11272-IT Document 59-5 Filed 11/06/20 Page 299 of 358




                Exhibit 17
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               medical                     >   society   >   Foreigners admitted to corona infection in Tokyo detention center-Ministry of Justice




                             Foreigners admitted to corona infection in Tokyo detention center-
                             Ministry of Justice
                                                                                                                                               08:07 2020 18:58



                                                                                            The Ministry of J ustice announced on the 7th
                                                                                          that a man in his 50s who was detained at t he
                                                                                          Tokyo Detention Center (Katsushika, Tokyo) was
                                                                                          infected with the new coronavirus. T his is the
                                                                                          second infection in a prison inmate since it was
                                                                                          confirmed t here in April. The suspect or defendant
                                                                                          was not disclosed.
                                                                                            According to the ministry, t he man had a f ever
                                                                                          at t h e t ime of admission earlier this mont h, so he
                                                                                          had a PCR test on the 6th and was found to be
                            positive t he next day. Employees wear protective clothing and gloves, and it seems that t here
                            are no heavy contacts.
                             A foreign man in his 50s who was in t he Tokyo Immigration Bureau (Minato- ku, Tokyo) was
                            found infected on the 7th. This is the first time that an inf ection has been confirmed by a
                            resident of an immigration detent ion facility.

                            [To list of social articles] [To current affairs dot com top]

                                   New Corona Update             Typhoon, heavy rain, earthquake information                         IR corruption




                                                                            ~         COMMENT / VIEW




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Case 4:20-cv-11272-IT Document 59-5 Filed 11/06/20 Page 301 of 358




                Exhibit 18
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              medical                      >   society   >   Osaka Detention Center prison officer has new corona infection total 9 people




                             Osaka Detention Center prison officer has new corona infection total 9
                             people
                                                                                                                                              08:05 2020 15:50



                                                                                            The Ministry of J ustice announced on the 5th
                                                                                          that a male prison officer in his twenties working
                                                                                          at t he Osaka Detention Center (Osaka City) was
                                                                                          infected with the new coronavirus. In April, eight
                                                                                          prison officers were confirmed to have been
                                                                                          infected in April, and this is the ninth. All t he eight
                                                                                          previously infected had recovered and had already
                                                                                          returned to work.


                                                                                          Asahikawa infected prison officer in Fukuoka


                             According to the ministry, the prisoner had a fever before work on J uly 30th and was tested
                            positive on August 4th with a PCR test. At this t ime, no other suspects of infection have been
                            identified in other detainees or personnel.

                            [To list of social articles] [To current affairs dot com top]

                                   New Corona Update             Typhoon, heavy rain, earthquake information                         IR corruption




                                                                            ~         COMMENT / VIEW




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                Exhibit 19
                 Case 4:20-cv-11272-IT Document 59-5 Filed 11/06/20 Page 304 of 358



  ~      Harvard '\ 'anguard                                 Concord
                                                             330 BAKER AVENUE
  ~      l\·ledical Associates                               CONCORD MA 01742-2188
        Atrius Health                                        978-287-9350

                                                              www.harvardvanguard.org




July 15, 2020


Michael L Taylor
12 Babbitt Ln
Harvard MA 01451



 To whom it may concern;

My patient, Michael Taylor, DOB 10/21 / 1960, had a partial lobectomy. Due to this
condition, he is susceptible to COVID 19.


Please contact my office with any questions.




Sincerely,



San.deep Jain, MD
lnternallvledicine
Case 4:20-cv-11272-IT Document 59-5 Filed 11/06/20 Page 305 of 358




                Exhibit 20
       Case 4:20-cv-11272-IT Document 59-5 Filed 11/06/20 Page 306 of 358



                 IN THE UNITED STATES DISTRICT COURT FOR THE
                          DISTRICT OF MASSACHUSETTS

IN THE MATTER OF THE                            )
EXTRADITION OF MICHAEL L.                       )      Case No. 20-mj-1069-DLC
TAYLOR                                          )

                   DECLARATION OF DR. M. ANTHONY CASOLARO

       Pursuant to 28 U.S.C. § 1746, I, M. Anthony Casolaro, M.D., hereby declare as follows:

       1.      My name is M. Anthony Casolaro. I am board-certified in Internal Medicine and

Pulmonary Disease. I am the immediate past president of the Medical Staff at Virginia Hospital

Center. I currently am the head team physician/medicine for the Washington, D.C. National

Football League (NFL) franchise. I am also the President of the National Football League

Physician Society. In all of the above capacities I have been actively involved in defining risk in

populations with regards to COVID-19.        I am also a Fellow of the American College of

Physicians and a Clinical Associate Professor of Medicine at Georgetown University School of

Medicine.

       2.      I received my undergraduate degree from the University of Virginia and my

medical degree from Georgetown University. I completed my training in Internal Medicine at

Grady Memorial Hospital and Emory University. I received my Pulmonary Disease training as a

recipient of a National Research Service Award at the National Institutes of Health (NIH).

Following fellowship I became the Clinical Chief of the Pulmonary Branch at NIH where I was

fortunate to spend clinical time with Dr. Anthony Fauci. I have also served as Consultant to the

White House Medical Unit since 1995.

       3.      I understand that the Respondent Michael L. Taylor underwent a partial

lobectomy as a result of a fungal infection caused by Coccidiomycosis, also known as "Valley

Fever." A partial lobectomy is a surgical procedure by which a lobe, or a portion thereof, is
       Case 4:20-cv-11272-IT Document 59-5 Filed 11/06/20 Page 307 of 358




removed from a lung. This, as a result, reduces an individual's lung capacity.

       4.      An individual such as Michael Taylor with a history of Coccidiomycosis, and a

partial lobectomy is at a particularly heightened risk for serious complications if he were to

contract COVID-19. If someone with Mr. Taylor's history contracted COVID-19, he would be

seriously compromised. He would require immediate hospitalization and be at imminent risk of

serious complications and possibly death.

       5.      Michael Taylor is, therefore, at a greatly heightened risk of serious adverse

complications and death in a setting, such as a jail, where social distancing and other measures

are impractical.

       6.      I have not been formally retained as an expert in this case. I am not being

compensated in any way for my time. I am offering this opinion at the request of counsel purely

to assist the Court in making its judgment in this case. I am available to respond to any questions

should the Court believe it necessary.

       I declare under penalty of perjury that the foregoing is true and correct.


Executed on July 16, 2020
                                              M. Anthony Casolaro, M.D.




                                                 2
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                Exhibit 21
       Case 4:20-cv-11272-IT Document 59-5 Filed 11/06/20 Page 309 of 358




                             Cyrus Strategies, LLC
                   5317 Wriley Road      Bethesda, MD 20816 301-785-9900


October 31, 2014


The Honorable Tena Campbell
United States District Judge
District of Utah


RE: Michael L. Taylor


Dear Judge Campbell:
        I am the Principal in a consulting firm and the former Senior Vice President of a large
security company with over 2,500 employees worldwide. I know Michael Taylor because I hired
his firm to represent our interests in several projects in the Middle East. Mr. Taylor acted as our
Program Manager for four years. In addition, I have continued my interaction with Mr. Taylor
ever since, working with him on several other projects oversees.
        I know Mr. Taylor to be a true patriot of the United States. I know his military
background and heroism not from stories he has told, but from the dozens of people he has
worked with over the years who have told me these anecdotes. He is a leader of people and an
inspiration to others. I know these things personally as he was directly responsible for my safety
during several business trips to the Middle East. In one particular instance, we were engaged by
armed criminals who sought to take us hostage. In that instance, Mr. Taylor was smart, decisive
and thoughtful in his direction of the team that caused a very dangerous situation to end safely
without any loss of life. In business dealings with me he has always been forthright, respectful
and fair. He sought adjustments in our arrangement only based on seriously changed and
unforeseen circumstances, yet solely for the welfare of his employees rather than his business.
In yet another situation, Mr. Taylor tireless advocated for the fair treatment of one of my host
country nationals employees who had been injured in our service, eventually bringing that
individual to the United States for treatment.
        I also know Mr. Taylor to be a straight forward partner in achieving specific military and
support objectives. In one instance, where the United States Government was investigating the
mass killing of Iraqi citizens by Saddam Hussein, we were asked to provide a briefing on how to
maintain the safety and security of the forensic scientists, US Deputy Marshals and US DoJ
investigators. Mr. Taylor spoke honestly of the dangers and the limitations of what we could
achieve. Other firms were also considered but had reputations for over promising and under
achieving - we were awarded the assignment. Later, when discussing another mission, the DoJ
senior staff told me they gave us the assignment because of Mr. Taylor’s candid nature and
       Case 4:20-cv-11272-IT Document 59-5 Filed 11/06/20 Page 310 of 358




honest reputation – which according to them he had lived up to and exceeded at every
opportunity. This critical work was successfully completed at a dozen different locations around
the country, without injury or incident and with respect to the local tribal elders, because of Mr.
Taylor’s leadership and personal involvement.
       Additionally, my family and I have also known him as a friend over the last 10 years, and
have met and interacted with his family on many occasions. Mike is a family man and his
incarceration was devastating to them, and to all of us. He is a dedicated father, not only as a
parental authority but also as a mentor to the boys and a comforter to his wife. They have
endured many short separations as he traveled for business, but never one as completely isolating
and long as his extended period of incarceration. He has fought valiantly for his country, he has
taken care of his employees - both US And foreign nationals - and he has always been a guide to
his family and friends.
        I respectfully urge Your Honor to take into account the facts described above and hope
that Your Honor will exercise leniency with respect to Michael Taylor. Specifically, I
understand that he has already served more than fourteen months in confinement at a county jail
and I ask that the Court not require him to serve more time in incarceration.
       Thank you for your consideration.


       Sincerely,




       Robert L. Rubin
       Principal
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                Exhibit 22
       Case 4:20-cv-11272-IT Document 59-5 Filed 11/06/20 Page 312 of 358




                                                    September 2, 2020
Honorable Mike Pompeo
Secretary of State                                  Thomas J. Daly
U.S. Department of State                            Retired FBI Special Agent
2201 C Street N.W.                                  Tel. (978) 852-4722
Washington, D.C. 20520                              tdaly7@verizon.net

       Re:     Michael Taylor


Dear Secretary Pompeo:
        I served as a Special Agent with the Federal Bureau of Investigation (“FBI”) for 29 years
in the Springfield, IL, Boston, MA, and Lawrence and Lowell, MA resident agencies. I am now
retired from government service. I am writing this letter in support of Michael Taylor of
Harvard, Massachusetts who I have known and worked with for over 30 years. Michael is a
great American who has served this country with distinction as a member of the elite U.S. Army
Special Forces, as an important ally of the U.S. law enforcement community, and in his private
security work on behalf of victims through his company, American International Security
Corporation.
       I have been following the travesty which has been unfolding in the U.S. District Court in
Boston as our own Department of Justice has been supporting the effort by an embarrassed
Japanese justice system to extradite Michael and his son Peter back to that country to face
criminal prosecution. I respectfully urge you not to authorize the extradition of these two
upstanding U.S. citizens who have served this country and their fellow citizens. Frankly, it is
shameful that they have been held in detention, in the midst of a pandemic, since their arrest
back in May. There are many reasons why this request for extradition should be rejected, as I am
sure Michael’s counsel will describe for you and your staff. Please allow me to share one such
reason of which I am personally familiar.
         I served as the lead agent for the FBI in a multi-year operation carried out under the
auspices of the New England Organized Crime Drug Enforcement Task Force. This was a multi-
agency investigative and prosecutive effort which began in 1988 and ended in 1993, in which the
FBI worked together with the U.S. Customs Service, the Bureau of Alcohol Tobacco &
Firearms, the Internal Revenue Service, and the U.S. Department of Justice. Through the
intensive and skillful undercover efforts of Michael Taylor, federal law enforcement was able to
infiltrate a Lebanese criminal organization operating in the Merrimack Valley of Massachusetts
headed by a man named Peter Kattar. Given Michael’s knowledge of Lebanon and the Middle
East, his command of the Arabic language, and his familiarity with Lebanese customs, he was
able to become acquainted with and gain the trust of an otherwise careful and secretive Mr.
Kattar. Michael successfully passed himself off as a mercenary with extensive international
contacts. Over many months, Michael acquired evidence through his interactions with Mr.
       Case 4:20-cv-11272-IT Document 59-5 Filed 11/06/20 Page 313 of 358
                                                                            Honorable Mike Pompeo
                                                                                  Secretary of State
                                                                                 September 2, 2020


Kattar that was sufficient to enable the investigative team to obtain Title III electronic
surveillance on various locations, vehicles, telephones and paging devices. For several months
thereafter, federal agents monitored and recorded numerous meetings and calls between Mr.
Kattar and Mr. Taylor, and Mr. Kattar and his criminal associates.
        During this investigation, law enforcement came to learn of the Kattar organization’s
involvement in firearms sales, importation and distribution of narcotics, loan sharking, money
laundering and other offenses. Most notably, the organization planned the importation of over
three (3) tons of hashish from the Bekaa Valley of Lebanon, to be sold and transported to a
criminal syndicate in Montreal. As part of the elaborate plan, the conspirators bribed Lebanese
and Syrian government officials and arranged to conceal the narcotics within over 600 barrels of
olives inside a shipping container that was transported from the Middle East to the United States
aboard a Russian freighter, the G. Gorbatov.
       On August 9, 1991, law enforcement seized the shipping container when it arrived in
Boston Harbor and transported it to Fort Devens for inspection. Inside the container, agents
found 3.2 tons of high-quality hashish with a street value of over $90 million dollars.
Indictments were returned against Peter Kattar and 11 of his co-conspirators and criminal
associates within the United States, Canada and Lebanon. Each defendant before the court was
convicted, with Peter Kattar receiving a sentence of 10 years’ imprisonment and a $500,000
order of forfeiture. Prison sentences were also imposed on several of his co-defendants.
       This was a major success for the law enforcement community, that halted a major
shipment of narcotics into North America and permanently unraveled the operations of a
criminal organization that had been committing serious crimes in New England over many years.
None of this would have been possible without the determined and courageous efforts of Michael
Taylor. He spent hundreds of hours over several years acting in an undercover capacity, at
substantial risk to himself. He should be recognized and credited for these efforts.
        Years after the above-described case was concluded, I became acquainted with Michael’s
family, including his son Peter. I found Peter to be an impressive young man, who was an
excellent student and an outstanding high school athlete. It is my understanding that Peter, who
has no criminal history of any kind, went on to obtain a college degree and start a business.
       In my view, it would be a serious injustice for this country to authorize the extradition of
Michael Taylor and Peter Taylor. I respectfully request that you decline this request by Japan
and order the immediate release of these two fine Americans.
                                                      Sincerely,
                                                      Thomas J. Daly

                                                      Thomas J. Daly
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                Exhibit 23
      Case 4:20-cv-11272-IT Document 59-5 Filed 11/06/20 Page 315 of 358




Honorable Mike Pompeo                                          Anaiss Sebastian
Secretary of State                                             22021 Apache Dr.
U.S. Department of State                                       Lake Forest Ca. 92630
2201 C Street N.W.                                             949-285-7494
Washington, D.C. 20520                                         SebastianAnaiss@gmail.com

                                                               September 1, 2020

Dear Mr. Secretary,

You are holding in your hands the life of a very good man and his son. In my opinion,
Michael Taylor is one of the most extraordinary men in our world. To understand it is to
understand the amount of love that you have for your most loved one, whom you have
lost. Now you are a shell of a person, your senses do not work, you cannot hear or
smell, you cannot walk or talk, you cannot sit or stand, you cannot eat or sleep. You are
done, no one can help you, no one in this giant world of billions of people. You cannot
even die. If you die, who will rescue your loved one?

My 6-year-son was snatched out of Boston, taken to Beirut, a war zone, a chaos of a
city, with soldiers and terrorist blocking every intersection and every road. Gun carrying
militia from different Middle Eastern countries asking for your documents as you are
going to buy groceries.

In September of 1993, the FBI watched helplessly as my young American son was
dragged from Germany to Cyprus, from Cyprus to Lebanon. They could not stop it.
Their hands were tied, I repeat - - the FBI's hands were tied - - and they were
devastated. Dozens of government officials in several countries knew my son had been
kidnapped and was being held hostage in the hands of his crazy father. None of them
could help me.

Then there was Michael Taylor, this remarkable man. He does not need to help, as he is
not going to make any money off this and he does not know me or anyone that knows
me. He is not going to advertise his efforts or get anything out of this situation at all. All
he needs to know is that the FBI has asked him for help, and that I was granted full legal
custody of my son by a U.S. court. Michael fully understood that my son was in an
extremely unjust, unfair and unsafe situation, being used by a mad man with other
agendas, and that law enforcement officials in our country could not help him.

Michael Taylor followed the law to the letter; he checked and rechecked all our
documents. He worked closely with your State Department and the FBI and made sure
that he would not be breaking any laws in Lebanon if he rescued by son, because that
alone could jeopardize his safe return to our home in the United States. Michael Taylor
then went ahead and successfully located and saved my son and returned him to me.
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My son has become an outstanding human being, loved by all. Every word out of his
mouth is kind and true. He owns multiple businesses, contributes to the society, instead
of getting stuck in Beirut and forced to become part of a gun yielding militia.

The only reason I can write this letter is because my son does not have to hide anymore.
We had changed our name and been in hiding for decades. I am sure there are number
of children that have been rescued by Michael Taylor that are still in hiding and he will
never ever expose their identity, betray them, or break their trust the same way he never
betrayed my son, for 27 years. Michael Taylor has been there for us for almost three
decades. Many life-altering situations have come up concerning the man who took my
son, and Michael Taylor has protected my son through every single one of them. He
has pledged to continue to do so for the rest of his life.

Now Michael Taylor, an American patriot, a distinguished U.S. Army veteran, a defender
of children’s rights and human rights, is being betrayed by his own country, not for
breaking any U.S. laws but rather because he may have helped someone who was
being unfairly persecuted to break a yet-to-be written Japanese law.

Mr. Secretary, as you likely know, the Japanese justice system is notorious for its 99.7%
conviction rate, its denial of legal rights, and its cruel and unusual treatment of those
accused of criminal offenses. They do not want the Taylors, they want Carlos Ghosn,
and we all know it. The charges against Mr. Ghosn were blatantly political. They could
not convict Mr. Ghosn so they kept adding new and different charges to just hold him,
and also since they could not publicly acknowledge that they made a mistake by
charging him.

The departure of Mr. Ghosn from Japan was a humiliating episode for the Japanese
government. What do you honestly think will happen to the Taylors back in that country,
short of being dragged down the street to their death? By extraditing Mr. Taylor and his
son to Japan you would be surrendering them to an unjust, unfair and undeserved fate.
You will also be jeopardizing our own country and the rights of its citizens in the
process.

Dear sir, Michael Taylor is an extraordinary man and an American treasure. Please see
the truth about this extradition; they want Carlos Ghosn, and since they cannot have
him, they will take the Taylors instead, in an obvious effort to save face. Mr. Ghosn’s
country saw the truth about Japan and is protecting him. I truly hope that you also see
that same truth about Japan and its legal system and protect this American patriot and
his son.


Thank you,

Anaiss Sebastian
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                Exhibit 24
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                                                                    Kathleen Wall ace
                                                                    13 Howard Street
                                                                    Ayer, Ma 01432


November 9, 2014

The Honorable Tena Campbell
United States District Judge
District of Utah


RE: Michael L. Taylor

Dear Judge Campbell,

I am a public school teacher. I am proud to have 30 years of dedicated service to my profession.
I have always been interested in the well being of the children that have been entrusted to me. It
is an honor and privilege to work with and guide young people. Michael Taylor shares these
beliefs.

Michael Taylor has been a trusted friend for over 30 years. He is always willing and able to help
his community. He has spent numerous years coaching football on many levels. Whether it was
the youth level or high school level, Michael always approached it with his trademark
determination and positive attitude. He has taught many young men the fundamental skills of
football; but, more importantly he has taught them respect dedication and teamwork. These are
lessons that will serve them well in life. I know this firsthand because my son was lucky enough
to have Mike as his coach for several years.

Michael Taylor has supported and helped many individuals, organizations and schools over the
years. He has done this quietly without fanfare or recognition. He helps because he cares.
Many people have benefitted from his knowledge, kindness and generosity. Personally, he has
always been there for my family in both good and bad times. It's easy to be there to share the
high points, the celebrations; but a true friend is someone you can count on when times get
tough. Michael Taylor is that person.

I respectfully urge Your Honor to take into account the facts described above and hope Your
Honor will exercise leniency with respect to Michael Taylor. Specifically, I understand that he
has already served more than fourteen months in confinement at a county jail and I ask that the
Court not require him to serve more time in incarceration.

Thank you for your consideration.



Sincerely,



Kathleen Wallace
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                Exhibit 25
   Case 4:20-cv-11272-IT Document 59-5 Filed 11/06/20 Page 320 of 358



                                   Henry C. Horne
                                6831 Dartmouth Street
                                Forest Hills, NY 11375
                              Henryhome53 @hotmail.com
                                    612.770.7281

                                    October 29, 2014

The Honorable Tena Campbell
United States District Judge
District of Utah
351 So. West Temple, Room 1.100
Salt Lake City, UT 84101

                       Re: Michael L. Taylor

Dear Judge Campbell:

I am Henry C. Horne. I currently serve as the Director of Admission and Enrollment
Management at The Kew-Forest School an independent coed day school in Forest Hills,
NY serving students ages 3 to Grade 12. I have been in independent school education for
35 years as an assistant headmaster, principal of two high schools, and director of
admission at two other schools. I had the pleasure of helping Michael Taylor's three boys
grow and learn when I served as the assistant headmaster at Lawrence Academy from
2005-2010. I came to know Michael and his wife, Lamia, through their active
involvement in the lives of the boys and their generosity to the school. I came to know
Michael even better when he assumed the head coaching position for the football
program at the school.

Mike's commitment to excellence was only matched by his commitment to the students
and the school. I am going to speak to his involvement with the boys in the football
program and the immediate and indelible impression he had on them directly and the
school community indirectly.

Prior to his arrival as coach, the program was not functioning well and was not successful
using any metrics. Had the program been evaluated as an academic course, it would have
received a D+ at best and the " teacher" would have been placed on probation, if not fired.
Mike resurrected this program in three years to league championship and New England
championship status, and he did it by involving and including a broad cross section of
students at the school. He exuded a sense of confidence, calm individual pride, team
p1ide and institutional pride that resonated with the young men in grades 9- 12 at the
school. All caliber of boy signed up to play football, and Mike and his staff undertook the
task of teaching them the physical and mental aspects necessary to play the sport and to
compete. To fulfill the conditioning and training regimen required to be on the team was
challenging on many levels for the boys, but they bonded with his message of teamwork
and camaraderie which sustained their effort and commitment. From a program that
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struggled to field enough players for one team, within three years there was a full varsity
and junior varsity team competing at a high level - and this was done with the same
caliber of athlete as was available earlier.

Regardless of which level a boy played, which position, how well, or how much,
everyone was accorded the respect of full membership on the team. And I should say that
in this age of relentless hazing, there was never any hint of this on the team; and since
many of these boys played basketball, hockey, baseball, and lacrosse in the other seasons,
this ethos permeated throughout the athletic program.

In addition to the message of team camaraderie, Mike and his staff instilled in the boys an
ethos of excellence in all aspects of their lives - academics, social, and emotional. The
boys held one another to high standards of community behavior and academic excellence;
if you were to be a student-athlete on the team, the expectations were clear and high.

And, finally, Mike made it a point to be available each and every boy that wanted/needed
his assistance or advice, day or night. As a boarding school with many boys having their
parents at a distance, it was a gift to the school that the ' football coach' was available to
students in such a positive manner. Because he is a father himself, he understood some of
the issues and difficulties these young people were confronting. While not telling them
what to do, as a good counselor he provided them the necessary ear and perspective so
they could grow and mature with good decisions. Forever patient and nonjudgmental, it
was and still is impressive to see how many of the boys reflect back on their football
experience as a seminal moment in their Lawrence Academy life.

I do not know, nor do I need to know, the circumstances that warrant this letter on Mike's
behalf. I would be able to write the above without reservation regardless. Even years later
and long after their football days are over, he continues to maintain strong relationships
with many of the boys who are now young men. At a time when the academy was
struggling to find an identity, Mike's involvement with the football program provided a
tremendous sense of institutional pride for students, parents, and alums. The boys and the
team comported themselves well and were a direct reflection on the coach and his staff.
The lessons that the boys took away from the involvement with the program were in sync
with those of the academy - excellence and commitment. We all benefited from the
program and the process, and are indebted to Mike for all he brought to the academy and
the boys.

I respectfully urge your honor to take into account the facts described above and hope
that Your Honor will exercise leniency with respect to Michael Taylor. Specifically, I
understand that he has already served more than fourteen months in confinement in a
c nty jail and I ask that the Court not require him to serve more time in incarceration.
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                Exhibit 26
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                                         Francesca Ricci
                                       42 Charles Street #2
                                      Hyde Park, MA 02136


                                         October 31, 2014


The Honorable Tena Campbell
United States District Judge
District of Utah
351 So. West Temple, Room 1.100
Salt Lake City, UT 84101
Re: Michael L. Taylor

Dear Judge Campbell:

         I am a single mother living and working in Boston, Massachusetts, as a non-profit
program manager serving elders and adults with disabilities. I am also a concerned citizen
writing to you about Mr. Michael Taylor, a man who has had a positive impact on the life of my
family, to advocate for him and his case in your court.
         I first had the opportunity to meet Mike while he was a football coach at Lawrence
Academy. My son applied and was accepted to the school, but due to some confusion on the
application our financial aid was not approved. Mike was instrumental in helping sort out the
issues so my son could attend. He did this because he could see we were a family in need of
support and he could also see the potential in my son, both academically and athletically. Mike
continued to coach my son, not just on the field but also about life - being a man, handling
responsibilities and being an upstanding citizen. Mike provided this coaching not only with
words, but by walking his talk and demonstrating positive living through the concept of
community based philanthropy. And my son was not the only one who benefited from Mike's
tutelage; out of the 15 football players in my son's graduating class of 60 students, 9 of thc:>se
boys went on to a NCAA Division I or an Ivy League school to play a sport with either a full or
partial scholarship. For several of the families, including mine, our children's futures would not
have been as secure and as bright without Mike's caring, concern, and support.
        In addition to developing awareness of community and philanthropy, Mike also served
his country well as a member of the military, invoking national pride in his players. He is a
family man, a respected community member, and a role model to many. I respectfully urge Your
Honor to take into account the facts described above and hope that Your Honor will exercise
leniency with respect to Michael Taylor. Specifically, I understand that he has already served
more than fourteen months in confinement at a county jail and I ask that the Court not require
him to serve more time in incarceration. Thank you for your consideration.
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                Exhibit 27
       Case 4:20-cv-11272-IT Document 59-5 Filed 11/06/20 Page 325 of 358




                                   Elizabeth Ann T. Sweeney
                                        15 Babbitt Lane
                                      Harvard, MA 01451



                                                             November 11, 1014


The Honorable Tena Campbell
United States District Judge
District of Utah

RE: Michael L. Taylor


Dear Judge Campbell:


       I am honored and proud to be given the opportunity to share my thoughts about my
neighbor and friend, Michael Taylor.
        I work, volunteer and reside in Harvard, Massachusetts. I am the Assistant Director of
Human Resources for the Harvard Ambulance Service, coordinating 70 members that comprise
our volunteer service. I have held many other positions in Harvard including, assistant manager
of the local general store, PTO president, long-term substitute teacher, appointed member to the
Council on Aging, and soccer coach. I have known Michael and his wife Lamia for 24 years
and I could not ask for dearer friends or better neighbors. Michael and Lamia have three very
fine sons, who have shared their entire childhood with my own three boys.
More than anyone I have ever met; Michael continues to be a strong male role model for so
many boys and young men, including my three sons. He gives his time, he shares his wisdom,
and he tirelessly encourages and motivates. He teaches respect, honor and the value of
teamwork. But even more he has been a role model by his actions, giving so much of himself in
small and large ways, impacting so many individuals and families in our community.
My sons credit him with teaching them not to fear any difficult task, to believe in themselves,
and to work hard as a team to achieve goals. Whether repelling down a cliff together,
challenging them at paintball, or coaching them in football, Michael has been their mentor. One
of my sons even wrote about life lessons learned from Michael for his college essay, that
“anything is possible if you work hard for your goals and believe in yourself”. Michael has also
taught my boys to take care of others in need without being asked – quietly, because it is the
right thing to do. Michael is always the first to help a neighbor whether plowing a driveway of
snow without asking or showing up with tools to jump in and help with a large task. Several
years ago following a devastating ice storm, Michael was the first out in his four wheel drive
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car, taking his sons and my boys along and together cutting up seven huge pine trees that had
trapped our neighborhood while the town remained paralyzed. When thanked for his efforts his
reply is always a shrug of his shoulders and “of course, that’s what neighbors do”.
        Michael is also a role model in what he gives back to his community, especially over the
years in his work as a youth football coach and leader in youth football organizations in Ayer,
and Shirley, Massachusetts. More than a fine coach, Mike has been a builder of fine young
men, teaching them self-respect, teamwork, and a hard-work ethic. He demands excellence from
his players in all aspects of their life, and he would get it through building self-esteem, teamwork
and self-respect. Many of these boys were from dysfunctional families or broken homes
struggling to make ends meet. Michael took special interest in those that needed extra support in
their grades or guidance from making poor choices in their lives, and would give those boys and
their families his time as a mentor. So many of these kids continue to stop by and visit with
Michael and Lamia, sharing their successes and seeking continued guidance.
I am sure others can speak more directly to Michael’s military service, but we know him to a
honorable and true patriot, and have great respect for his service to our country. The discipline
that he demonstrates in his life and that he shares with young men clearly reflects the depth of his
military training. Michael shares his discipline of hard work and achieving goals as a strong
male role model at a time when that is so lacking in our society. My family is very proud and
honored to have Michael as a neighbor and dear friend.
        I respectfully urge Your Honor to take into account the facts described above and hope
that Your Honor will exercise leniency with respect to Michael Taylor. Specifically, I
understand that he has already served more than fourteen months in confinement at a county jail
and I ask that the Court not require him to serve more time in incarceration.
       Thank you for your consideration.




Sincerely,


Elizabeth Ann T. Sweeney
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                Exhibit 28
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                Exhibit 29
     Case 4:20-cv-11272-IT Document 59-5 Filed 11/06/20 Page 331 of 358



                                 Anthony Knight

                              2211 Remington Way

                               Bozeman, MT 58718



       Judge Tena Campbell                                                 March 3, 2015

       United States District Court

       Salt lake City, Utah



       Dear Judge Campbell,



       My name is Anthony Knight and I'm in my junior year at Montana State

University. Growing up I always felt like just another kid, an average kid, a kid who

never really had any big dreams, a kid who was content with being nothing special, a kid

who cared solely about the near future and put no effort toward what he wanted to

become one day. Coming from a lower middle class family and living in a somewhat

segregated middle class town, I never bad the experience of being inspired or possessing

the aspirations of being something bigger than where I came from. Although I had a big

heart, I led a life followed by trouble. Whether it was doing or selling drugs, stealing,

robbing, or fighting, I never felt the need to change. Of course my parents didn't agree

with the life I was living, but unfortunately they never helped me find a substantial reason

that would make me want to change. I was in a mindset that jail wasn't a concern, and

neither was pushing away the people that cared to me the most. I was on a one-way train

heading to disaster.
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       Once high school came my parents broke their backs to get me to this private

school. My older cousin had flourished there, and promising I'd do the same, provided

me enough leeway to get my foot through the door. After arriving to my new school I

was filled with mixed emotions. I became knowledgeable of my knack for sports and my

brainpower in the classroom, but also felt like an outcast because of my background. I

never seemed to find any real friends. Because of this, I always wanted to be back home

and in my comfort zone. Here, I would link up with the same old friends, do the same old

things and fall back into the same old life. My out-of-school antics were only hidden for

so long until they finally became present during school. After being caught stealing I was

expelled and sent back home.

       Following my expulsion I was forced to attend my public school where matters

worsened. I stopped going to most classes and racked up more detention hours than days

attended. I was becoming more self-destructive by the day, until I randomly received a

phone call. A good friend from back home told some football coach about me and this

coach decided to get me on the phone. I'll never forget our first conversation. I was

outside in the rain waiting for a bus when my whole mood shifted. My life up until that

moment had been filled with nothing but proof that I was a problem child. Who would

want to take another chance on me? By the graces of God, this man did. His name was

Michael Taylor.

       Though I had no idea who this man was, I could hear two things in his voice.

First, that he meant everything he said, and second, that he was going to die trying to do

it Within a week I had a scheduled a visit to this new school and found out I would have

the opportunity to attend with a scholarship. As soon as I started school I immediately
     Case 4:20-cv-11272-IT Document 59-5 Filed 11/06/20 Page 333 of 358



had friends who were just like me. Friends who wanted to make it out of where they were

from and become something more than just average. Here is where I blossomed. The first

thing I was taught was how to act professionally. Everywhere I went I wore my jeans

low, rocked baggy shirts, and had poor body language. Coach Taylor was the first person

to ever care about how I presented myself. Every single day he would comment on how I

looked and the way I portrayed my appearance. Though we still didn't know each other

too well, he one day provided me with all the hand me down dress clothes I could have

asked for. Up until that point in time every piece of clothing I had, I had gotten on my

own. No one ever took the time to try and teach me how I was supposed to act in public,

how I was supposed to represent myself, or the fundamentals of talking and being

approachable. Coach Taylor was the first person to actually take the time to constantly

work with me to try and be better. He never gave up on me.

       A year later I was getting looked at from several division one colleges. Schools

that actually wanted me to attend their institution and pay for it. A year prior to this I was

planning on dropping out of school. Literally because of one person my life completely

turned around. Though many things about me had changed, I still wasn't perfect. After

Coach caught wind I was still smoking and participating in certain things he shunned

upon, he yet again took the time out of his busy schedule to get me help. Instead of

jumping to conclusions, he understood that there were other reasons that were

contributing to my behavior. From then on, every week he picked me up from school and

brought me to see a counselor. At first I thought it was a waste of time but after thinking

about and wanting to be more like Mr. Taylor, I was willing to do what ever he thought it

took to better myself. Months on end he brought me to this counselor and never made an
     Case 4:20-cv-11272-IT Document 59-5 Filed 11/06/20 Page 334 of 358



excuse about bringing me, nor did I ever make an excuse about wanting to go. It ended

up being very beneficial and gave me an outlet to be able to express myself and

understand some of the reasons why I partook in certain things I shouldn't have. He never

gave up on me.

       Another football season went by and my grades had been up, I had several

scholarships to colleges, and then yet again I messed up. I broke the rules by having a

female in my room on the weekend without the faculty's permission. This was a big deal

at prep school and again I was sent back to square one without a school to graduate from.

Despite feeling like I had let him and myself down, Coach Taylor again put his reputation

on the line and was going to do anything he could to get me to college. Because I had

always attended private schools, I had never taken the state test. I needed that test in order

to be able to move on to college if I finished out at a public school. Unfortunately it was

too late in the year to take this test and my results would not be back until the following

year and this could have resulted in the loss of my scholarships. Day in and night out

Coach Taylor tried to find a school I could attend where I wouldn't have to take the state

test and could graduate without it. Despite the fact that I would never play for him again,

and no longer attended the school he worked at, for weeks he consulted and vouched for

my true character and found a school that would take me. He never gave up on me.

       Four years later and I am almost done getting my degree in community health

sciences from an outstanding school and so close to becoming more successful than I

could have ever imagined. I will have a college degree and be a productive citizen in my

country because of Coach Taylor. Though I no longer need his help like I used to, he
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never seizes to amaze me. Coach Taylor is always exceeding his expectations and

implementing his positive characteristics on everyone. He' ll never give up on us.

       I could further talk about the endless nights Coach Taylor has let me stay at his

house to keep me from harms way or the numerous inspirational talks he has given me to

keep me going, but it really never ends. I could literally talk all day about the things

Coach Taylor has done for me, but it is more than that. Being close to him for so long has

led me to notice his vigorous work ethic, his positive moral, and his ambition to make the

world a better place. Though he has helped me more than I could write on paper, I have

also seen him do the same things, if not more for other people. He consistently shows his

constructive presence as a citizen, as well as a devout, proud member of his country. I am

respectfully pleading Your Honor to take into account the instances I have explained to

you and express leniency with respects to the man I have grown to love. I beg you to

please keep this man home with the giant family that has been built around him and that

he serves no more time in incarceration.

       Thank you for your time and consideration Your Honor.



       Sincerely,



       Anthony Knight
Case 4:20-cv-11272-IT Document 59-5 Filed 11/06/20 Page 336 of 358




                Exhibit 30
        Case 4:20-cv-11272-IT Document 59-5 Filed 11/06/20 Page 337 of 358



                                         Jeffrey Lark Jr.
                                     University of Wyoming
                                 1615 e Custer Laramie, Wyoming 82070

                                          214-912-5439



                                                                        December 10, 2014


The Honorable Tena Campbell
United States District Judge
District of Utah


RE: Michael L. Taylor


Dear Judge Campbell:
        I am Jeffrey Lark from Dallas, Texas. I am an African American student athlete in my
Junior year at the University of Wyoming. I was raised mainly by my older sister Chrystal who
bas been my guardian. I know Michael Taylor because in high school I was searching for an
opportunity to further my football dreams from high school, so in 2009 I emailed Coach Mike
Taylor in Massachusetts asking him to possibly recruit me to his prep school in Massachusetts. I
e-mailed Coach Taylor because he is known for being a players' coach who really cares about
his student athletics. He is also known as a great coach of the game and for helping student
athletics get in to colleges and get a free education by playing football. From the first time I
contacted Coach Taylor be bas been nothing less than a blessing to me getting me into prep
school and helping me get recruited by some of the top college football programs in the nation.
Although I wasn't able to get into the high school where he was coaching, he did get me into
Cushing Academy in Massachusetts and paid for my full tuition. I needed another year of high
school and Coach Taylor was able to get me admitted to Bridgeton Academy, a post graduate
school in Maine, and again, out of the goodness of his heart, paid for my full tuition.
        All the thing things Coach Taylor has done for me bas not only helped me take my life
into the right direction but it has also made me the person I am today. Coach Taylor is a loving
and caring person that has done nothing but help the people around him. He has personally
helped me and my friends get into the colleges that we dreamed of and helped provide
opportunities to get a college education for life. I could not imagine what my life would be like if
God did not bless me with Coach Mike Taylor.                            ·
        Case 4:20-cv-11272-IT Document 59-5 Filed 11/06/20 Page 338 of 358



        I respectfully urge Your Honor to take into account the facts above and hope that Your
Honor will exercise leniency with respect to Coach Taylor. He has helped so many people like
me that did not have a chance at life and because of him so many people just like me now have a
real opportunity to be something in life. I will have a c.ollege degree because of what Coach
Taylor did to help me and I have learned so much from this man about being a good person. You
simply don't find people like Coach Taylor who helped me, a complete stranger from Texas who
happens to be African American from a broken family. He didn't buy me lunch, he spent tens of
thousands of dollars and his time getting me on the right path to get into college. He even came
to my high school graduation and I have stayed with him and his family on many occasions. He
treats me like his own son as I have seen him do for everyone that comes into contact with him.
I'm just one story and I know of many more.


Thank you for your consideration.
Case 4:20-cv-11272-IT Document 59-5 Filed 11/06/20 Page 339 of 358




                Exhibit 31
        Case 4:20-cv-11272-IT Document 59-5 Filed 11/06/20 Page 340 of 358



                                                                                 November 20, 2014




The Honorable Tena Campbell

United States District Judge

District of Utah




RE: Michael Taylor




Dear Judge Campbell:

       My name is Josh Flannery. Currently I am an athletic trainer at Southeastern University,
a Christian University in Lakeland, Florida. I am responsible for taking care of the 100+ football
players that we have at the university. Prior to holding this position, I was the Head Athletic
Trainer at Lawrence Academy in Groton, MA for 11 years (2002-2013). During my time at
Lawrence Academy, I had the privilege to get to know Michael Taylor in several capacities.
was able to get to know him first as a father, then as a coach, and finally as a friend.




       I met Michael for the first time in 2005 when one of his sons sustained a concussion
while playing for Lawrence Academy.      Because all of his sons attended Lawrence Academy, I
was able to get to know him better over the next couple of years. I know Mike to be a very
loving father and husband and a very loyal friend. I was able to first work with him when he
asked me to do some athletic training coverage for the youth football team that he coached. It
was during this time that I was able to see a side of Mike that I had never seen in the past. He
genuinely cared for every single player on that team as if they were his sons. In my 16 years of
athletic training, I have seen many coaches who care about their players while they are on the
field, but Mike went above just caring for them as players, he cared about them as people. He
was able to connect with every one of the boys on that team on a personal level. It didn't
matter if the boy was a starter or bench player, privileged or underprivileged, he cared about
them all. When Mike was hired by Lawrence Academy to be the football coach, I was excited
for our players and for our school as a whole. During his time coaching at Lawrence, Mike not
only helped his football players, but was able to help student athletes in other sports as well
         Case 4:20-cv-11272-IT Document 59-5 Filed 11/06/20 Page 341 of 358



who were not as privileged as some of our other students. Our school was its own little
community and the things he did to help some of our underprivileged students was amazing to
me. Mike never wanted any credit for it either. I remember one specific instance where a
female hockey player came into the training room in tears one day because her dad had lost his
job and she didn't know if she would be able to return to school. When Mike heard this, he
anonymously covered her tuition for the following year so she could stay at school.

       Mike is the same way with my family. When our son was born, Michael acted as though
Aiden were one of his own. We moved to Florida when Aiden was 4, but he still remembers
Michael and the entire Taylor family because of the way they treated him. We didn't have
family in New England, but Michael invited us over for Christmas Eve every year, so we could be
with "family". When it comes to character and contributing to a community, Michael is as good
as they come. If every community had more people like Michael Taylor, I feel that this world
would be a better place.




       I respectfully urge Your Honor to take into account the facts described above and hope
that Your Honor will exercise leniency with respect to Michael Taylor. Specifically, I understand
that he has already served more than fourteen months in confinement at a county jail and I ask
that the Court not require him to serve more time in incarceration.

       Thank you for your consideration.




                                                    Sincerely,



                                                    j~1:v~V
Case 4:20-cv-11272-IT Document 59-5 Filed 11/06/20 Page 342 of 358




                Exhibit 32
    Case 4:20-cv-11272-IT Document 59-5 Filed 11/06/20 Page 343 of 358



04 March 2015

Don W. Parker
47 Peabody Road
P.O. Box 443
Shirley, MA 01464

The Honorable Tena Campbell
United States District Judge
District of Utah

Re: Michael L. Taylor

Dear Judge Campbell:

I am the former Principal of Ayer High School, Ayer, Massachusetts. I was an
administrator at the high school when Michael was a student. I was principal when
Michael made a number of significant contributions to the school and its students.

Michael was extremely helpful to our athletic department. In a time of tight budgets, he
was very helpful in purchasing equipment, rehabilitating our facilities, and offering
whatever assistance that he could to our athletic department.

Michael also developed a scholarship for our students. During the last few years of my
time at Ayer, a number of students were the recipients of his generosity. This was most
helpful to a number of students and their families.

My relationship with Michael has been very positive.

If I can be of further assistance, please let me know.

Thank you for your consideration.

Sincerely,


             ,.,.
         . . . -... ..,
Don W Parker
Principal (re ti red)
Ayer High School
Case 4:20-cv-11272-IT Document 59-5 Filed 11/06/20 Page 344 of 358




                Exhibit 33
          Case 4:20-cv-11272-IT Document 59-5 Filed 11/06/20 Page 345 of 358


Varden ~                          ~
      TECHNOLOG.ES                                                         www vardentech.com
                                                                            November, 18' 11 2014
   The Honorable Tena Campbell
   United States District Judge
   District of Utah


   RE: Michael L. Taylor


   Dear Judge Campbell:                                                                                   ..
            f am a consultant for Varden Technologies in Boston, and I have known Michael Taylor
   my whole life, as I grew up across the street from him and his family. After my parent's divorce,
   Michael remained a strong father figure and role model in my life.
            Whether by leading rock climbing exercises for the Boy Scouts of America, giving
   troubled youth a sense of belonging through success on the football field, snowplowing for
   elderly neighbors after a heavy storm or helping at-risk teens acquire scholarships to top schools,
   Michael exemplifies a true community leader. From coaching youth soccer, to refurbishing an
   entire pop-warner league's image, Michael has made an enormous impact in the public sphere
   leading by example. He requires no acknowledgment for his countless efforts.
            I will share with you an example of Michael's heart, passion and commitment to those
   around him. One morning a brutal windstorm left the neighborhood with massive power outages
   and numerous trees down over both the street and power lines. Michael woke up early, grabbed
   his chainsaw and began unblocking the road so that emergency vehicles could gain access and
   utility trucks could restore power. As he cleared the road of the downed trees, behind him a line
   of cars began to accumulate. Tree by tree the line grew, and it became evident that these people
   were not coming to help, but were instead commuting to work, relying on Michael to get them
   there. As he cut the last tree, cars sped by him eager to get on their way. Michael simply packed
   up, went home to shower, and left for work himself. You will never find this story in any
   newspaper or publication, and Michael makes a myriad of efforts such as this one, not for the
   sake of recognition, but out of the fondness for the people in his community.
             I respectfully wish Your Honor to take into account the testimony provided above, and I
   hope that Your Honor will exercise the utmost compassion and leniency with respect to Michael
   Taylor. Specifically, T understand that he has already served more than fourteen months in
   confinement at a county jail, and I ask that the Court not require him to serve more time in
   incarceration. Thank you for your time and consideration.


                                                Sincerely,




                                                 Stephen C. Sweeney



77 Franklin Street        Boston, Massachusetts 02110            617.482.5902          Fax 617.482.6043
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                Exhibit 34
      Case 4:20-cv-11272-IT Document 59-5 Filed 11/06/20 Page 347 of 358




                                     Paul G. Giovacchini

                                      8 Meadows Lane

                                     Belmont, MA 02478



                                      November 7, 2014

The Honorable Tena Campbell
United States District Judge
District of Utah
351 South West Temple
Room 1.100
Salt Lake City, Utah 84101

                       Re: Michael L. Taylor

Dear Judge Campbell:

       My name is Paul Giovacchini. I was born and raised in Salt Lake City and I have lived in
the Boston area for the last 27 years. I have a BA degree in Economics from Stanford
University, an MBA from Harvard Business School and I have worked in the private equity
investment industry for over 25 years as a partner with 2 different firms. My wife is Tanya
Giovacchini. Tanya did her undergraduate work at UC Berkeley, has an MBA from Harvard
Business School, and has a distinguished career in management consulting. Currently, she is the
Partner in charge of Marketing for The Bridgespan Group, the pre-eminent consulting firm for
philanthropies and non-profit organizations.

       Our family has known Michael Taylor for 8 years dating back to when our sons attended
high school with Mike's sons. Mike and his family have been great friends since then. We know
Mike to be a tremendous mentor, supporter and friend of many young people whose lives he has
improved. We have felt his influence firsthand as Mike has had a greater positive impact on both
our sons than anyone outside our family.

        Our son Nick first met Mike through Mike's efforts to share his knowledge of the Middle
East through a seminar at the high school campus. Mike took a special interest in Nick and spent
hours with him discussing the intricacies of the politics of the region, and over the subsequent
years Mike introduced Nick to many of his personal contacts with backgrounds in government,
military, the CIA, and international affairs. Mike's influence helped Nick decide to pursue a
degree in political science at George Washington University, and matriculate for a term at
American University in Beirut. Mike made sure Nick was safe during his time in Beirut, keeping
tabs on Nick through his personal contacts in the area and through frequent visits with members
of his wife's family in Lebanon.

       Our son Dan met Mike through football. When Dan' s high school football coach
suddenly left the school at the end of Dan's freshman year, leaving the school without a coach
        Case 4:20-cv-11272-IT Document 59-5 Filed 11/06/20 Page 348 of 358



for the next year, Mike generously volunteered to coach the team until the school could locate a
suitable replacement. Mike coached the team for the next 3 years on a volunteer basis at great
personal sacrifice and gave the players the experience of a lifetime. He taught the boys to work
hard and care for one another like few people can. He used his personal resources to provide
equipment and meals for players in need of financial support. He also provided examples of
leadership like they had never seen before, especially when the team experienced the tragic loss
of a teammate in a car accident.

       Last year, when Mike was staying at the Davis County jail in Farmington, he attempted
to phone me once. You should know that Mike was not calling on his own behalf, but to see if I
could assist him in helping a young inmate at the facility who Mike had ascertained had once
met my brother. That is classic Mike - at a time of great personal need he is trying to help
someone else.
        Mike has contributed tremendously to the welfare of our country - through his
distinguished military career, through civilian services for the government, through his support
of church, school and charitable organizations, and for all he does on a regular basis for people
he meets in daily life. Mike loves his country more than anyone we know and demonstrates this
through the way he lives his life.

        I respectfully urge Your Honor to take into account the facts described above and hope
that Your Honor will exercise leniency with respect to Michael Taylor. Specifically, I
understand that he has already served more than fourteen months in confinement at 2 county jails
and I ask that the Court not require him to serve more time in incarceration.

       Thank you for your consideration.



                                             Sincerely,




                                             Paul G. Giovacchini
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                Exhibit 35
      Case 4:20-cv-11272-IT Document 59-5 Filed 11/06/20 Page 350 of 358




                  TN THE UNITED STATES DISTRICT COURT FOR THE
                          DISTRICT OF MASSACHUSETTS

 TN THE MATTER OF THE                           )
 EXTRADITION OF MICHAEL L.                      )      Case No. 20-mj-1069-DLC
 TAYLOR                                         )
                                                )
                                                )
 IN THE MATIER OF THE                           )      Case No. 20-mj-1070-DLC
 EXTRADlTION OF PETER MAXWELL                   )
 TAYLOR                                         )

                       DECLARATION OF NAO UM TOUBIA FARAH

Pursuant to 28 U .S.C. § 1746, I, Naoum Toubia Farah, hereby declare as follows:


   l. My name is Naoum Toubia Farah. I am an adult resident and citizen of Lebanon, and a
      practicing attomey in Lebanon, registered at the Beirut Bar Association (no. 2694), and
      practicing through the Law Offices ofNaoum Farah, Farrania Building, Said Freyha Street,
      Hazmieh, Lebanon.


  2. 1 am the duly appointed defense counsel for Mr. Michael L. Taylor and Mr. Peter Maxwell
      Taylor before Lebanese jurisdictions.


  3. Mr. Rudy Michael Taylor filed a petition on February l 7tl', 2020 under number
      l l l 5/M/2020 asking the Public Prosecutor of the Lebanese Court of Cassation to proceed
      with the investigation regarding the alleged unlawful departure of Mr. Carlos Ghosn from
      Japan on December 2019, in order to prove the innocence of his father Michael and his
      brother Peter.


  4. Following said petition, I met the Public Prosecutor on February l 71h, 2020, and discussed
      with him the charges alleged by the Japanese authorities and presented all the arguments to
      prove the innocence of Messrs. Michael & Peter Taylor.


  5. Based on the above, the Public Prosecutor decided on February 17 111, 2020 to close the case
      for the absence of a criminal offence in the allegations regarding Messrs. Michael and Peter

      Taylot      ions.
      Case 4:20-cv-11272-IT Document 59-5 Filed 11/06/20 Page 351 of 358




   6. As is the case in preliminary investigations, a Public Prosecutor does not initiate or continue
       a prosecution when he fa ils to meet the burden of proving, beyond a reasonable doubt, the
       elements of the charged offenses.


   7. A true and conect copy of the Public Prosecutor's decision is attached as Exhibit A.


   8. According to the Public Prosecutor's decision mentioned above, Mr. Michael L. Taylor and
       Mr. Peter Maxwell Taylor are considered as not guilty before Lebanese jurisdictions of any
       criminal act in the all cged unlawful depa1ture of Mr. Carlos Ghosn from Japan on December
       2019, or of any other crime.



I declare under penalty of pe1jury under the laws of the United States of America that the foregoing
is true and correct.


Executed on June 81\ 2020




                                                 2
J           Case 4:20-cv-11272-IT Document 59-5 Filed 11/06/20 Page 352 of 358
    R EPUBLIC OF LEBANON
    Ministry of Justice
    Public Prosecution Office a t th
    No.: 1115/M /2020

                                              Certificate

    This is to certify that, after reviewing the records at the Public Prosecution
    Office at the Cou1t of Cassation, on the date of February 1th, 2020, Mr. Rudy
    Michael TA YL OR (American citizen) holder of a courtesy residency
    No. 11 17656428/, valid till September 29tl\2022, residing in Kfarhbab -
    Kesrwan - Main Road - Elie Haddad Bldg., filed a denunciation conce1ning the
    acquittal of his father Mr. M icha el TAYLOR, his brother M r. Peter Maxwell
    T AYLOR, and M r. Georges EL ZAYE K , in the escape of Mr. Carlos
    GHOSN from Japan and being a fugitive from justice. The petition of said
    denunciation was registered on Feb1uary 1th, 2020 at the Public Prosecution
    Office at the Couii of Cassation under No. 1115/M/2020.
    Accordingly, a decision to close the investigation was rendered on February
    17'h, 2020, for the absence of criminal offence.


    In Witness Whereof, this statement was given.

    Beirut, February 271\ 2020
    J udicial Assistant at the Public Prosecution Office a t the Court of Cassa tion
    R awan KANSO (signature and seal)


    with approval of the above mentioned certificate content,
    Beirut, February 27 111 , 2020
    Chief Clerk of the Public Prosecution office at th e Court of Cass ation
    Charles BOU KHEIR (signature and seal)


    T rue copy certified on M arch 10 1\ 2020
    Chief Clerk of the P ublic Prosecution office at the Court of Cassation
    Charles BOU KHEIR (Signature and seal)

                                                                               ~   _..,.._-~
    True and faithful translation
    The Sworn Translator
    Association No. 47 - .dc11az.g_1:@Jgco.com..l'1




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                Exhibit 36
               Case 4:20-cv-11272-IT Document 59-5 Filed 11/06/20 Page 357 of 358




From: Tadashi Inuzuka <tadashi@inuzuka.com>
Date: Mon, Sep 7, 2020 at 1:04 PM
Subject: A request to stop the extradition of the Taylors to Japan
To: <Michelle Richardson@wicker.senate.gov>
Cc: gohara <gohara@gohara-law.com>



                                                                              12:54 PM (0 minutes ago)
                       A request to stop the extradition of the Taylors to Japan


Ms. Michelle Barlow Richardson
Chief of Staff to the United States Senator Mr. Roger Wicker
 cc. Nobuo Gohara, Gohara Compliance and Law Office

The Taylors will face Japan’s Hostage Justice system should they be extradited

Dear Ms. Richardson,

I obtained your contact information from Carol and Carlos Ghosn, with whom I worked closely with
for criminal justice reform in Japan. My name is Tadashi Inuzuka, a former Senator of Japan, and I’ve
been pushing my peers to reform the justice system, primarily through several study sessions in
parliament.
Few of my peers and countrymen have compassion for Carlos Ghosn, Greg Kelly, and countless
others held “hostage” in Japan. Our system, media, and people, judge men and women as guilty at
their arrest and not after a guilty verdict at trial. Unfortunately, the presumption of guilt, though not a
public admission, is very much a reality.
A few facts -


    ·    In Japan, over 99% of the indictments end-up in conviction. This percentage is
    calculated by taking the ratio of # guilty convictions and cases tried

    ·    A special prosecutor uses loopholes in the legal system to detain suspects for an
    indefinite period. Japan’s criminal code stipulates maximum 23-day detention before charges
    need to be brought. However, prosecutors routinely circumvent this by issuing arrest warrants
    (many times while a suspect is still in jail) for minor crimes. Carlos Ghosn was detained for 108
    days via 3 arrest warrants

    ·     While in detention, suspects are tempted with the release in exchange for a guilty plea

    ·    Defense attorneys are not allowed to be present with their clients during
    interrogations

    ·   Prosecutors can delay a trial at their discretion for as long as they choose. They will
    usually use this tactic as a pressure mechanism
                                                         1
             Case 4:20-cv-11272-IT Document 59-5 Filed 11/06/20 Page 358 of 358


Carlos Ghosn was detained for 108 days after his late 2018 arrest. He endured solitary confinement.
He endured repeated interrogations without legal counsel present. He endured trial delay and trial date
uncertainty. And most of all he endured in the knowledge that 99% of cases end in conviction.
Greg Kelly, a former Nissan executive arrested with Ghosn, has also been a hostage of the Japanese
legal system. Kevin Kelly, his son, said “My father’s trial date has been pushed back for the 3rd time
and is now not going to start until this summer, almost 18 months after my father’s arrest. Once the
trial begins, they will only hold court 4–6 days per month meaning that my father will return from Japan
by fall 2021 at the earliest. Michael Taylor and his son Peter Taylor were arrested by US authorities in
May in connection with Mr. Ghosn’ escape from house arrest in Japan. The pair, who have been held
in custody by US authorities since, have been fighting a request for their transfer to Japan, which has
issued warrants for their arrest in connection with their alleged role in helping Mr. Ghosn flee. The US
is one of the few countries that have an extradition treaty with Japan.

I would strongly encourage stopping the potential extradition of the Taylor family to Japan. As U.S.
citizens, the Taylors have a right to a fair trial in a country that practices the presumption of
innocence. They should not be judged guilty prior to a verdict and they will be should they stand trial
in Japan.




                                                    2
